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                          Case 3:25-cv-00347-CL                                  Document 1-1                Filed 02/28/25                  Page 2 of 141
Case# 19-956448- Supplement Report (Clackamas County Sheriffs Office )                                                                                         Pg 1 of 1


 Case# 19-956448 - Supplement Report
 REPORT DATE/TIME                           I   EVENT START DATE /TIME - EVEN TEND DATE /TIME                       PRIMARY REPORTER

 Jul 31, 20~ 9 ~~:33 _____ ~                      I}~2019 ~-0:45 - 11:0~                                            PATRICK BRAY #38260
 SUPPLEMENT TYPE

 Investi gative supp~ment!I
 NARRATIVE
                                                                                                                                            l-
  On 07/30/2019 at approx. 1050 hours I received a phone call from Tammy Jessen. She advised me she
  was the polyg ra ph examiner utilized by attorney Paul Ferder for his client Michael Champagne. Mr.
  Ferder had previously left me a voicemail and advised Mr. Champagne took a polygraph and "passed". I
  calle d him back and left a message I wou ld be interested in this polygraph repo rt, along wit h charts. He
  never called me back.

   Ms.Jessen advised she would mail me the polygraph report and the charts. She was provided the Sheriff'
   s Office mailing address.

   I asked Ms.Jessen what questions were asked of Mr. Champagne during the examination. She indicated
   she asked a total of (14) questions for miscellaneous purposes. Three of those question were
   considered "relevant" questions. I asked her what those three questions were specifically. She advised
   they were:

   1) Have you had physical sexual contact with Avery?

   2) Did you ever touch Avery's bare genital area for a sexual purpose?

   3) Did you ever cause Avery to touch your bare genital area?

   These questions were specific to Avery only. This polygraph and charts will be attached to this case
   upon receipt.

   Action Recommended

   Copied to DA
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__P-lJessen, Ta~~y_ _ _
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 INVOLVEMENT TYPE

 Mentioned




 REPORTING OFFICER SIGNATURE/ DATE                                                                 SUPERVISOR SIGNATURE / DATE

 PATRICK BRAY #38260 Jul 31, 2019 13:38 (e-signature)                                              GEOFFREY ERICHSEN #29524 Jul 31, 2019 14:31 (e-signature)
 PRINT NAME                                                                                       • PRINi NAME

 PATRICK BRAY #38260                                                                               GEOFFREY ERICHSEN #29524
Clackamas County Sherifrs Office 2223 KAEN RD I OREGON CITY, OR 97045 I P: 503,7855000                                                                          Pg 1 of 1
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EXAMINATION

At the completion of this interview, a standard set of questions was prepared and
reviewed with the client prior to beginning the examination. All questions were
discussed before beginning the test.

   1.   Since 2015, have you touched Avery's bare chest area?
        Answer, "No"

   2.   During the time since 2015, have you touched Avery's bare genital area?
        Answer, "No'•

   3.   Since 2015, have you caused Avery to touch our bare genital area?
        Answer, "No"


CONCLUSION

The examination of Mr. Champagne was conducted on a Lafayette Computerized
Polygraph System. I evaluated the charts using a standard numerical method. There
was no significant reaction to the relevant issue questions tested in this exam ..J!....
is the opinion of this examiner that Mr. Champagne was truthful in his response to
the relevant issue questions tested in this exam. Other questions were asked during
the examination; however, they were not evaluated regarding their truthfulness.
They serve only as diagnostic and control functions for the relevant questions.


POST-TEST INTERVIEW

The test results were reviewed with Mr. Champagne. He had no additional
information to report.


Submitted by:




Tamera Jessen-Iverson
Licensed Polygraph Examiner
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                                              d-9
           TMI T est Services, LLC                 Office Location:
                                                      742 NE Hawthorne Avenue
           P. 0. Box 13459 • Salem, Oregon 97309      Salem, OR 97301
                TMI_Testservices@msn.com              (503) 559-3555  FA.,'"{ (503) 769-3114


Paul Ferder
Ferder, Casebeer, French and Stern, LLP
515 High Street SE
Salem, Oregon 97301

June 24, 2019


Client:                    Michael Champagne
Test type:                 Specific Issue Polygraph
Date of exam:              June 24, 2019

BACKGROUN D

Mr. Champagne has been a suspect in a recent investigation by the Department of
Human Services, Child Welfare. A nine year old female has accused Mr. Champagne
of inappropriately touching her and Avery, a second minor relative. Mr. Champagne
denies these allegations and scheduled a polygraph to support his statements.

Mr. Champagne appeared to be in good physical and mental health.

Mr. Champagne reviewed and signed the waiver for TMI Test Services. I reviewed the
polygraphic process with Mr. Champagne. He indicated that he understood these
concepts and we proceeded with t he test.

PRE-TEST INTERVIEW

A pre-test interview was conducted during which Mr. Champagne stated the
followi ng:

Mr. Champagne gave the following information about the current investigation:

 Allegations of inappropriate touch were made by a minor close to Mr. Champagne's
 family. This same minor also reported Mr. Champagne had inappropriately touched
Avery, age 9. Avery is Mr. Champagne's biological granddaughter. Mr. Champagne
denies these allegations and Avery .also denies the allegations. Avery was
interviewed by DHS Child Welfare and the allegations have been dismissed. Mr.
Champagne wanted to take a polygraph to support the findings of the OHS
investigation.


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 EXAMINATION

 At the completion of this interview, a standard set of questions was prepared and
 reviewed with the client prior to beginning the examination . All questions were
 discussed before beginning the test. The term "physical sexual contact" was defined
 as any touch intended for sexual arousal.

    1.   Have you had physical sexual contact with Avery?
         Answer: " No".             ••

    2.   Did you ever touch Avery's bare genital area for a sexual purpose?
         Answer: "No''.

    3.   Did you ever cause Avery to touch your bare genital area?
         Answer: "No".

CONCLUSION

The examination of Mr. Champagne was conducted on a Lafayette Computerized
Polygraph System. I evaluated the charts using a standard numerical method. There
was no significant reaction to the relevant-issue questions tested in this exam.~
is the opinion of this examiner that Mr. Champagne was truthful in his response to .
the relevant-issue questions tested in this exam . . Other questions were asked
during the examination; however, they were not evaluated regarding their
truthfulness. They serve only as diagnostic and control functions for the relevant
questions.

• POST-TEST INTERVIEW

The test results were reviewed with Mr. Champagne. He had no additional
information to report.


Submitted by:


~~-~
Tamera Jessen-Iverson
licensed Polygraph Examiner




CONFIDENTI AL                         Page 2 of 2
     Case 3:25-cv-00347-CL                Document 1-1          Filed 02/28/25    Page 6 of 141
                                                      3;
              TMI Test Services, LLC                        Office Location:
                                                               742 NE Hawthorne Avenue
  .__....,... .._,,_, P.O. Box 13459 •Salem. Oregon 97309      Salem, OR 97301
                   TMI_Testservices(@_.msn.com                 (503) 559-3555  FA.X (503) 769-3114

July 26, 2019

Paul Ferder
Ferder, Casebeer, French and Stern, LLP
515 High Street SE
Salem, Oregon 97301

Client:                          Michael Champagne
Test type:                       Specific Issue Polygraph
Date of exam:                    July 26, 2019

BACKGROUND

Mr. Champagne has been a suspect in a recent investigation by the Department of
Human Services, Child Welfare. A nine-year-old female has accused Mr. Champagne
of inappropriately touching her and Avery, a second minor relative. Mr. Champagne
denies these allegations and scheduled a polygraph to support his statements.

Mr. Champagne appeared to be in good physical and mental health.

Mr. Champagne reviewed and signed the waiver for TMI Test Services. I reviewed the
polygraphic process with Mr. Champagne. He indicated that he understood these
concepts and we proceeded with the test.

PRE-TEST INTERVIEW

A pre-test interview was conducted during which Mr. Champagne stated the
following: •

Mr. Champagne gave the following information about the current investigation:

Allegations of inappropriate touching were made by a minor close to Mr. Champagne's
family. This same minor also reported Mr. Champagne had inappropriately touched
Avery, age 9. Avery is Mr. Champagne's biological granddaughter. Mr. Champagne ·
denies these allegations and Avery also denies the allegations. Avery was
interviewed by OHS Child Welfare and the allegations have been dismissed. Mr.
Champagne wanted to take a polygraph to support the findings of the OHS
investigation.



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            TMI Test Services, LLC                  Office Location:
                                                       742 NE Hawthorne Avenue
           -P. 0. Box 13459 • Salem, Oregon 97309      Salem, OR 97301
                TMI_Testser vices@msn.coni             (503) 559-3555  FA.X (503) 769-3114


 August 14, 2019

Mr. Paul Ferder
Ferder, Casebeer, French and Stern, LLP
515 High Street SE
Salem, Oregon 97301

Client:                 Champagne, Michael
Test type:              Specific-Issue Polygraph
Date of exam:           August 14, 2019

BACKGROUND

Mr. Champagne scheduled a polygraph with me at the request of his attorney, Mr.
Paul Ferder. Mr. Champagne is the focus of an investigation by the.Department of
Human Services, Child Welfare. The investigation stems from allegations made by
Olivia, Mr. Champagne's step-granddaughter. Olivia reported that Mr. Champagne
touched her_incippropriately: .._N>r. _C~amp_
                                            agne denies these allegations and has agreed
to participate i n a polygraph.

Mr. Champagne reviewed and signed the waiver for TMI Test Services.

PRE-TEST INTERVIEW

A pre-test interview was conducted during which Mr. Champagne stated the
following:

Personal Information

Mr. Champagne considers himself to be in good health.        He is taking no medications.

He slept soundly the evening previous to this exam.

Mr. Champagne gave the following information regar ding the allegations made
against him:

Mr. Champagne's son Matt started dating Olivia's mother when Olivia was 2 or 3 years
old; Olivia is now 9 years old. Olivia has been a part of Mr. Champagne's family and



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 has participated in family outings and celebrations. Mr. Champagne has never been
 alone with Olivia, Mr. Champagne has played with Olivia together with h-is other
 grandchildren at the park and at the local pool. Mr. Champagne has never been
 inappropriate with Olivia. He denies having sexual contact with Olivia.

 EXAMINATION

At the completion of this interview, a standard set of questions was prepared and
reviewed with the client prior to beginning the examination. AU questions were
discussed before beginning the test.

    1.   Did you ever physically touch Olivia for a sexual purpose?
         Answer: "No."

   2.    Have you had physical sexual contact with Olivi a?
         Answer: "No."

   3.    Did you ever cause Olivia to touch your bare genitals?
         Answer: "No. "

CONCLUSION

The ~x~mination. Qf Mr. -{;hampagne was conducted on a Lafayette Computerized
Polygraph System. I evaluated the charts using a standard numerical method. There
was no significant reaction to the relevant-issue questions tested in this exam. It
is the opinion of this examiner that Mr. Champagne was truthful in his responseto.
the relevant~issue questions tested in this ~xam. Other questions were asked
during the examination; however, they were not evaluated regarding their ,. _·
truthfulness. Th_ey serve only as diagnostic and control functions for the relevant
questions.

POST-TEST INTERVIEW

The test results were reviewed with Mr. Champagne. He had no additional
informatlon to report.

Submitted by:



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Tamera Jessen-Iverson
Licensed Polygraph Examiner


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          z      n ~ f- I \ ~ ..J2N : 4l.,'1Y)Ge, W' f\ S 'f\Q_ \<2-,1 fH)'t° VY) Jui.r
               \/le,

      I....\ 6 Y (_ 4J f\ 'S (yf"D ~0'S~~ Lv1 £9.<l-V")GQ, 1 ~T W ~-S
      f() f½:9.- rn I Ss ~ b h.- ~pv-s.e, T\~ \-\, ~n\1 r Ni ·, J \L, A\
      ( )   M " v r e . .   u~   T ' . \ ¼ . . . .   .12.u,tfk•()(.,,e, OU t'    l - 0 E - , c , h a JL     ,   ~   ~ro         {l.'"hV
      V A \ u--e.... (P -ro ~(\:'.:> 1~ ~.a.-\.h' &.o\'"'e- -'f\-J-J\-t-- -0 .e ~ -OY\8-~'t\-:r L-vfJS
      • \4Q___ "T~ pe.- 0~ (P{1XSo() ~Y'O {dt:)O'::::.e8-- '-\ OU0j °\, f )~ l.v iS\J \,9_
      "2,y'lc.OJ[~a.- -t'r\-Q__ crU'ftf To &.c.,Jl-0._ , ~ C,.fo S-.e- d'10                                           fl

      ·, m pro~ 'cef:::."i.S.,
       T \:le . J \J'f ~     A 15         \-0.eir 3--    e Nu.or&.. ip\ N fr c-ere s 7 Q+'2( v                        \'\!J.l,J ·; V'\

            \-hc.\t AtJQfv                                                        7b                \\      ~\$     .._ •..,_~,... -12.-S_
                                                                                CT~\ O~D- ~ °I.: £,'/..,;}..Y )
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         T)k, F,r:sr f-our (Pf)-1~.s A~ -1"~--,- fJ ,01wo
    01- 7He (fh'o b fe.11\--5 -rHAY ,He.,, c::,,our-T "2- Y'\t-o l.)()T...O r"'-'P-
    T H'fOJ'J h w t- fY\ 11 "'3- n ¥. ~ T(<..; .fl L €IA- rq ➔ H(t'\ '1 -=f-y u'WJ
    7 N.e. 3"urDt.S 0D1- ~efY\1 t9-~ tQ.. To H,L~, W ,r\--e.
    ~+-f¥·h --~ f>i•"fJ- -=r-a.c2.JLb ~GI<-- Tr\A-'t CA-u- ot9- 6)rob\€yr\'S
     Cu()+1-Y\oos l'-i, 1'-J.le IY' :P6 k itt!4-i-' IAl"i t9 l I ~J.- -ro
    w a fl r m -PJ.. 0 ,---f -rrn (POb-s, ~0 "fcJ(' fn -e..., -ro H- ~ V\Q, ~
     f fH f' TR-i /J i <Q, S (PQ.c..,~ll ~/ w-,+lf T He.. Cur)-n11 Dv-5
    , n¾ r vfff#() ~ T M4 ~ O tU-U re I- ~; 1'1 fflosr of --n-1<2.
                                                              ;I'


     ():r () b\~JS 7 }M,7' W ,Ur ./J..; ~ c,t.J'(JfJl ('08-- ~'('Q.; ,4 )) d(}
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     &-v r Dou) ma,(1--1 .s 1 -t ~ ~ I A ] " ;#.t:t() u() <i$ fore,
    fllso -=r r6)'Y) t--o--vrt' DaG.-u fl'\ orJt5 ~ u t 61..Mr T, (}1.!L, -a:.
    S-€rrt- 7H,.afr1 To , ~ 0uv-t5 An f). '( n9-,-u rcJlu /1l5 5 ff o1v ~~
    T~ -=ff}ilc.Jt'Q..., ~ TH-0.., Ab; li-f'j -W Ni/Jr N il-1n-- 'jlN
    ~ re.f¼f..- An.P- f-.PQ,rr-1'2rlc.e... 7 Ne... t-DY)5tfl'i- 5-1J)ifc.
    ~f)_ F~~/lb!r-c-K 7-Hifo-t- {) evV2.r .)t"(i) fcHl 9- f..lA6)~Q. f\ i >'~-
    '£u~ ::tw, f}lw~ &I- U\J v1>(J)<j of tJ-k, Se-+ ~
    0)/ i)/2._(JYro b\~.:S     :CVJ -rf2..,~J.. tvH@ Z ~ ci·cfl ?bl ,t
    Wt¼-!:, -y ,- m.e., To S H-f>t-e_ Tffi-S ,- n {JaY IY\JN-i=-r) w i+tl
    lfoU ~ W'-0 n 't' TNrov'1 h rrvv;            Ji
                                                 l<B.5 /h'ID- A1Y1 5 ~11--1
    1 He1YI -ro Lf cS\J Y1 vl,,\) ,. ft JJ T >Jt ~ w r ,\J-f-.a n tlfl t -.:5,
    ~ ctn C,l52J( T ·I Jo cu ft\ a OYS i l-!.4-t- ANl.- AvP-d A-b l12_,, TD '-j cV.,
       2_ 0!2_ /i'ON•f!, fJ /"'1,J o F ~ ? ot).S tt'fu+; LJ'(JP> I ~'q m-s-
     ~ r-e .Suve_tl( vJ~DlPi--aJ , n T tf-,s cQY1J-e..v~r--. -a:, Am
    "5,(JfJ   -r-, NifH T Hi.s ff)f+t-k~"f-e. 1Htl- 5+~-.a.s
     JcQ AJ-iflq    w, j, n~ss e- 6 t.0 ttt:, "t »i,, __s +~fQ., \o-a., l f'-O.wt52-
    w 01r- Q,, -ro2-u-e,, ) <b ·;- f1 l5'v 't I -S-e c12, , n £i.. v \uiw 6"¥-
    w H'1-t- z fl' m j{J ~ i)'.'1 To y 0\) & cY)          j         v{J (~   .f.-,

    w mdJ ,+.oJZ- ep-ar<1lJllvJ,
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                    C0-)(r D i-Srup+i11Y1-5 U'{'\                    ~f\'v--(V'q      AY'~ l'D         J ~k)~

 ·1)10,Q, H ,ie,
    (1aurt            A :J"~or , n 7~ ~~(.}::. of T~ wurt0-ovtf\ 1 ~ W>D-l/i1t'1
                    1k \<' f+P,l'\t9-) f'(\ A-~'((\ a, {\5$ ur1\e- TtM--t~ b t c ~
                     ~ '1 C.J\~'t \4Q..~ L-(OV<:.,
'PP4-t. l3d\l).._
     Co0v-'t
PPqQ., )~\l
        p , A.,      '\ our \-\-30 ur w-e., ~'r'(L, -r« '--\,i'0 q To °' ·:t' ,\-\, ~ Wor Keic9
                    Dot, ~ ut W-Or-~ ttPu'..f'GJ ~ \ ~\e, ~ ~                            T-e ~h(\TGP.,\
                    6(,~~iGu \+<i J ·f'\" tf'- '\-\- ~ f¼.\ 'f-Q.C\ll'\(€., ""f~ ~\6-tf)'('ue,
                    o'"f .s D(Yi~ T <Lc.,t-f- 6).ac o~ \e ~ so our s'1 £i i -Qis.+-, \N\ \ ~
                      \\A~ WQ.- \Q,f\u ~ T \-4,5 up ff'~"\\\',e,, P\~~ TA~ cJur h.JV\c~
                    t"e,i.~ 66 ) ~'l\ R '~'\ ,o :+: '<\ v c-e, o u'T \¼vJ , o <\ ·\- \-¼,r
                    b~<.:f\(JS Q,   Y\o+-- ~8-,o l ~ ,{)t)\ '5u{~\ltlll\t'Yt,wQ. MSo '{\,QQS-
                    V7 J.Q. D i
P-Pq~ l33J
   CovrT
ibq Q., \ \ (< 'l
    C ou,t           ~ ov ttf) vQ;. f\ ('~\~of)... ~f'>'<'-8--- ·, "<" '"'1 ¼2.- ~~l'.-~ ~ t~ l-6 u<1'~co\1'\~
 fr11'~'(\ ~                                                                 i
                     \\.\Pt<' f'... ~ <N ~ :r. f(\ \ l\))t b t b Q, s+ V ":)+ y Ci"' I)\ Q.... '\'O
                    ~~e1n- tt .,:c 'Oo(tt- ~v-Q., 0-.J w~ --ro ~\, 1'1 ii'~
p,°'~ 1,~
  Co u r--t    -X. N?. (Y\ CAY\ b CJ.f (P<Jcp\e.., ~ r Q..., \➔;f>-\{-\ f q 7', o0 b \Q... \~f,r ~ <'-c:; ft\e, ~
      D,~ .. Cf\'r -e.,J-0,v~ bobl ~ -P'r vf\Q.,~ At' 9- C,Dv"9- Li 0V \-la...Pir f(\e,
                                         1
               '-D Q, ~ 6{' O'("" cJ,..o ~ f\ Q,,(l, p._ '"Tb ~ ~..Q..f"~
 P0-V1~ 10'-\t      .
  Coo·, 't       lY' -s ~olf\~$). 1~ -ki u-".'1 rn ci T \-\~+ ~e., D ~ --r-~
               LJvlfot ~ f,Q.,O,o 1't# 1b ~ l,J-Qf~ -t\fviY''; ft Mf'f 9--
                     1 , Ov-e. ~Frr 'U' °\ l-\ O\.d
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               ~ ..56('('1• vv \-li'+-\ $ T ~+\ :t- tu....~t ~ \ vJ~S \t.L~r.) .! ~D\ot(lZ-e-
    --
   LJ V\f Di' 2 1'\+\(\K ,~ '1 DH'°) To % {l l ~\Q; NYi>Te dt;~~, '- l-\-- 4J -;+ \"
              1 ~ fl'\ /¥SR l 12)ec-ilV~ '1 D\.)'f' "" D"'"" °\u\ \'\ '1 "1b b SL Pt> 'e✓
              'to ~ ~ ~o'9-vi L--A Y'C\ vJ\- ~e., J ·l-f\-d iP-\ <[)I.. 6)r s~;- 6'(\.S ~

                   ~~ ·H- AV ; Y'4 .s r- 'l5\J ~ (Pf Ob\(l. y-t\..S '\J.a:p,t ·,"G\ l-\ o\) l\) ~ '(\
                  ~      AtQ,,. :f~c...,n9 7' \-\A't' w~ , A.\\i ~ p.r(n \'-lf\v~"<\ ..S~rrb-vs
                  6)r~ \)'4\l\~ ~        "<''11'~ -~ t>\~ i n -r& ~fl-de                ~ covc=tc{X)m~
 <PPoJQ, 59-.9
       CU I A.,     0 'K ~ ) J:... , \.! \ V\ K --n-M·t- ~ v~ H-t,~ ~ \ j-\-\.\,Q, ,~o-J ~ 'e.-
                      ~ , '<'4\ ~5L- ~ -P~t:>h,cf ~~~ f\)\9 ~ ~ l ;-+,\\Q, bi"+
                   C'CY() ~ a ff'-'() IJ-. -r tr('°'-'1 ~ t51)\- T ~ l-Dl}(' ~'€., o'+=- -r 1--\2.. -rR. ~ J:) l
                  tTAA't- Li O\J .P. )I \ 1~1= Pr{\~ c:? f l.\ ~ ~,'{'&. -s.cQr(\ ~·\o\a... w, \l
                  tt-Av-e.. ,~ov ~\"-- \-h.~'<'-i'<'°J Ps~ w'Q- \\ ~~ wft-~ -i~ rn~SK
                   «2-S(?ec,~\l1 10 i'i-\i ""1' \--\Q... f6\ ~'SK. 1


                   ~Q,,        l-J~.y-j f\4 (yr O ~ e (rl S W 1+ 3f      -me. AU&,Z> -;fl () tlf\   l"C::..1r, ~

                  IJi Vi Lu'..t ~ 5--t-f.'t\ ~ ~ ·B vt , ~               ff\D-Si- , rn(p~-tcfn'\'t-
                   ~'°l l)-t- ~\')'\,V ~ ~ w--Q.., \\04R T'-e.c:tt ,
                     ~ o ~ 0\) "fl'd-a J- ~ Q.., ""To °lo =f \ 1' 9- -r"2,(_tt
                    'ue. -s pArt e\ vt, IAJ'<L C-Af) ()bi- G>'d~ .oP- ~~ =F-AM~·--
                   u ofi I vvQ., ~~v'e, @"'='S f6t ~e-.i, l-0 14-t+ 11~ ,4vP.to-et1#.M'c,~~
                   J_ e, 1~.S
·'Peq~ :;..~s-
  C071,,           ~.J-t:0i 1 iWJ+;fl9 .. , rlt-r-e-s A,, (j)o-~()-+if) I M P- S:Jll)'l 6() 6-e 6 5
                    HA-.Y No,~ t>c-fu ll'j -rvr."2P-, , o-to ~f' err~ r ~ urt- (P-odlY', ~
 4-+J-rx ~ tv-e ' cp() J..kLP't P ivJc:, Q, M ll--" 1 (} r l) l:-" 1 ,
    ~ r ZT-5 f1ot' Ju!?r,-·stri<j -ro ~<i
 B+J-0(' 1'4       w e,, IIVIJ~ P- fr~ k_ T}Je, NH-o\o., , , ·(y\Q_, , in ~ TCC,p+ ; n t' -M~
                       r7 62o&n, .!Scnt<2- 6f T)ie..              urcJYs l-W- -P- ~JI--- " ~               \~,\f.<t ~
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                             .:fvSi- ,o t'(\f)~ .$0\("Q.. '16"vf' ~ f \ ~ u"v c9...C\Q, W\..\ ,\e.,
                           WQ. t..vli. r~ -r½,{) \::.~
                                                     ,"<\ ~'<'$1-i-s c,Q..{" fY,'o\e..                              w,o_ ~'0qo, . w<l-r-L
                             ~ '°"°170 f'Q.6 olue fr- T'-Q£-t\ ,ssu~                                         w 1-4'\}- 7'~ "'"t \J_,
q'-@~(l.    y 1 <-)
     LJ uy O('              J: . Cf\)\ t              \4Q_ t\'(' 0\ cJ\)
{++\-D'(' J'\ '°4             ") (5\)            c.~Y"·t- t\-Q.ftr . rr-.e...,\ o~~~
cp~~ y~q
           1) I A~ C fr'(\ ~&~ Pj)t9-i ~ ~'(' fl',e..,
    lJ\J\uf                    n o~
  ~-0... ~-S ~
                    ftV\}j.. ,\-l.A.~ , nS-, s c ,f\: ~\e, w, . f'Q. ~ e ~ 7r-J.-,s,.a(vl,~le,
                    Cp,'D·t l~ ~r av~ rv\ 1' \+W\°\ , -r \-lQ t' (N'£,, u');- 9 ott A                                    i
                     lJ'a 6 S ~ c~v~ T\~ r'-(L oi)'t '1"D \ Y'°l To c9..o tt -,w, e-e
         '\J-11 ~ V ()y'\ i- 6 ve-~ ) 1Q.,i- u -5 ;::: ¥1 6 u..J
(jJ~ ~ lf "":>S:-
 '(rrt'(J( Y' ,JI~    AV\~           c..f\'C\'t                 ~   p\     B-~9-- ~ ➔~ rntu\
                                                                           P   " \   , - a s · - h 0 \   d ' 6 " ' ~ h




                   Jr() ,p\J'ftfDi- lv \.la-(\ ~eop\Q__ f) 'oQ.., ~Sf:1ri °\ 01e.,5+"5Yl-s l'M'"
                   you ~~,.a, 7'0 \-\Q.f"<' TV\Q..\'(" ~~w t .S., w\-he,tt- '~"'
                    \-\~ Q...% <-\ w;-Hi 1' )¼., \"f\ fSt:::. t3'Y\ .. \-tJ)S ...eJJ rl..\ 'au9-\
                   ~ ca (\ ~ b \ Q,, \b \¼., pi, i9JJ2.-c- lhZ>$q e., \ ~ '?-
      CfLJ\f of              ~ ~ Q.,\ '1
 4   T - \ u r   ( '   ~   ·1?)   A   {\Q.. \~   0 ~~ \ l-\- Ar D41r To ~ ( 2 {l~ ~ \Q.. "'-.)                               \ ·h    \   e... W o.,-c Q..,
                           &z.p, Ir0 q            w1t\t C1> vi. B-! \+f)S ~fc.1~Q., ()Q.a() t<Jf<'fl5o\'il~~
                           4J it tt- ~~J+i' wo<e k.1' ~{Q_ "1obl~ Tu \<.Q,a.r . ~
                                                                   1
                           )"(\fS l<- Of) P<r--0-- 1 \'-\Q.. s oct ~ \ -0, ~.,. w6'f. °r .?
     \JV'( o'f              :E rf\l ~ 6 ,e_ Q, ·, {' '\ (j>& ~ \ Q, ~ ~ C,,D 5 I 5 0 <Z_ '1f\ 'i vJ Hi,4-+-
                                                                                            1
                                                                                             ~


                             ~ 'J f' rQ,fl-c:.i,c'\'\~ Ar-..Q.... , 1P.ttPI 'z ¥- (p,e..s.s~1ry,.s ~ f (j\J
                               ~ 7b                re...n9- l'¼.'\r ul.-'\ ~ .s
  trf4sr<' ol<.j               Ct½' 't ·w \l               t-0 H-o:S           6()\i\\)\°1           or ~ 'fcU)ll~'I' °\
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                     0 \..J \ ·f,y,.<J- l..0 ~ \ \ e.., w -l!l r-Q.. (f)\ P~\i ""\ 1¼2.... V, ~ , ~ ou f\ 0-RQ-..
                         Tt.J( (\ 6T"f-           L-\ CU, ffi~ c... 6 (' it IA) ' l\ °'a.:t T.a,~bP~"'


    Cou (+         1 ¼,q-r fn \ 9hi 5 -~ i \¼., ~<ioJJ. b ~t,,\<- , '1At- w O-{ ~ q ~-t-\\[\°I l~
,0{;) C\~ '8)~
                    ·~ l'.'.fov~~ 1ac~ 1' D\oq t{ , ~5 ~ 6 , '1 'F l1 <SV t,~\~ ~ \Q,f\~e.
                   -t0 \ \1)    O ~ =f-    I ke., ("{\ ; l--{ z:, ~ 'f' f'{\, Q.,   \.n-,r '€.- 1


                    J:, W, If ~ \5 o 0 v -te f0 ~ f> u l i°"Y'g_ -, n 0-, c. p-t .o 8- -ro '('(\e., 1 -f<'"\
                    ~'{)t, \o   'f~yz ~ =F « \'\ t:i--t l'-Q. \ \01' <, "-\ lS0 Q., ~\ i.. 19.-<' 1 \-\AT U() -e,
                   tit i'\¼_ iJv'fO< 6              f)'\e.,fr-+-,(S(' 8-. -,. ~          )4-p.c9,.. ~ t\'-fi'{9-- "T, ~
                   ~ f\>(-T~°\ f(\~ $G\f\t'1\'€.Y)6e,b!:.             t,v 9,,o j ' ~ ~ Q'\fl-"\ ·J?i
      f¾,z 7't1
   Cu0 , 't-
                   Wcto \>\.lD{\Q... ~ ~e~'oQ., 1'\.-0..ce,s                        (Y~'t ~\\ ~{)~ {i\t'-

                   oi-\\oc , \t~Y\ 6'f\<l.- i++ ~, t ff' Q, >- so 1' \-1 ~"" IN o-v ~ ~-Q., 6Y)
                     \-\Q., ~ 'D R    ('f\~ (.,   1' \\- f oo~n    e~ t~l'\ \ '(\C\ ~~ 1'"'-a() \ ~
                                                                                            l


                      o\J\8- \-\~ v'Q, l"'o "TU((\ T't Dt"F--
     'Dfa..          A'f\~ ,\-\~0 1 \1 '{ 0 'A- ~ f>C..\'-cJY) -Z
  CovyT              f1v\ 9- T \.\.e(\ ,u rn 11 bfL..I<. cJo1 ·;~ 7'\-\~"\'s w \\~\S
                   C p vs; i)il '1   ,- -\-\ ,Q, T "1- (2$. lu ~t.-\L.,
 Pf9Q, 04¢
        ·U.J\ ..    X- ll5V 91'\i- l-\Q ~ wt\ wt J<SL> b ~, g_ "Pl v<l-Y-v) ~
        DA~          :r_ C ~ (''t' t¼.~~ '--\ W
        f), fL        "':I:-r,'\ 6 "'v'{"f vi ~ e, fW'\ 'i' ?
~~'2.    1-5'}7
    Covy-T          ;;r_ r      ~ 1'~6[\Q.,,       b{l,\ i..Qv-es         ~'f ~°} T~ TR:i p\                 j-\-\iP'l-
                     \.le,'1 f-Q. ~v ("1 ft (y,,fO\o«i \4Q_f\r ,'('°) ~ ~ ·.Q.a.'i "''\ or
                    frt\ '1 {th"'4 \ ,4 T\-\Jrt) s~                             f(\ DV'€,f6'a(\-t' I 0 -t\'\.L.
                    l,O\Ji{t     ~~ LO 6 \/\'9- ~~ \-..ut,\6)~ u \
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                     Tth·~ ,~T\~~,,.~~ -•f<z~~ W1fW ·t\ \\ J'fvj w.,~\
                   -HJrr ;:r_, H~ue.., \-t~IB 5 .,n ,.e., WQ. H~uQ.. ~~() uY'fJ..Qf'
                  Cov , R St1ttu ~i
                     X. W ~a\ 't ~~ o'()e__, ,o ~ <L. W~f\,~ "°l f>r rn f)~ ~
                   !11" Al) T, me~ - , n 1·, oes w;}-H 0P4 .M \¾.J+1+H-
                   ftu+1'or;+is               r e.ci>rnl"'e.09~-lto{) ~ , -Jc>S~ ~Q,c.f\-V&e
                                J..oes()1"" ("r@A () 7\-\~t- ~D\)• B- C,,f)Y"'f
                  {jJ Q, ( Q_ \ () T(2.., f\l

                  k:)e, c~nt- ~ 1(} l'4re-o We w~ ~ f<\ r::.K T \~
                  W tto\e, TH'f\e, i () N"\ ~ ·, f'c9-\··~~ ev-f\~ b\e.,               ,g; i\\ ·, n
                   H,--s ColJ'('+rwm 56)'¥\Q      1              1 "t He.     ~Ufa, ~       ).\P-9- ~
                  l+"'rR T 1 rn e.., ~ftf'i () °1 ! ~
     ~t,qu
     w,A . .        a \-l~B- -a- \1+-\\Q.., \ ~                  Q..,, ~'("'if'C\ l   'So XV¥\ 1v~t-'
                  q o·, Y'~ To         N\f\~ .sot~ a: c.Jri.Q.Qro-\--P r9- i
'vflq Q., }Si
 A-t-k fl ll<.f     :i " <2-o ~c l-u~ ~ T\'\l.- s 0 w D'(\'.:. , :r. (Y\Q,p{) • -z       (' ~-\,, X\" Q..,.. :r.v e.-
                      , '-1   fJ- T o u ~ -r\-t2,se., '\--w.cQ.., , \-\    ~ ( \ - r vJ(S'('~ ~

C00,+           Xve \.-\t+-t9-- Svc..c~s6 S &l)'\Q.,,+ ql\,e 6 , 1: \/'e, ~~ -9 \o-\"
                                                                                  1




               ~ l~t:K. . o·~ s. oLc-e6-S A'4 rn'1 cvrie,£('Y\ ..., ~ -r~-.A-i-\f\nY
                               ~+
                  \'1 ~ Q,, C..\¼ p.\ \-OV'\CfV' °I :fcf' 4 i" G \ ( 0 (\"t°, ~6 t' T'\-\,A,"'t'
               we, \--}J)uQ ,\¼~* ~vzz:; "' C, 6vo Vt&L,
 C\wr't        Sir l c.., Y'\ ~ av ~ftv' '(l)Q.., ~m,u , ~Y\0- ~Y\ l-\OV ~ , ~ ~ \[ ?,-a
f}l9 o'<'if\ 4 vJ g, f\ '1 ) .l ~ f'> \-¼. f'<' 7' \¼... bo-z, z.. wt-to<\ \Je.- -bt 0 ~ :,- <¾l ,
                                                                            »-.
               l-o U E).. ~ °1 ~•~ C'I ~·t 5 '"t -A-\-, L )VQ f' i \00 bY\ av<l.~ C. t¼f {'6\-e..\ ,
  l ''t:>u\ t   \ Q.,i.s. j:::,aap -t~\ N f'<\, T~~ ) T e-.s.T,
    {}the ~      J: \-iQ,f\r ,t TD ~
 __ Cvvr-~      AR.~ W"€.,, H.frV~l'"\ 6 ~                  d'f\ Q.,, -V ,d'(v\. T"2. c\:\ vu~-~"~1
 C lo rK           '1 Q,~ \t,
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?13cic.- \\~9
 Cou,t-         '\ oo \-tP     -R- +1~9- refs QB , n r\{L., 'ofla.<- o-\ T l-\Q., UN-r-trcmm ~
f'-ttix () "20\ 1' ¼M \::- '-\ oU , o rl ~ r, rn \9h-r \J e... bes+ i5 v s t :f o,_ O"a...
                    N..()Q,fn- r-r, .I. ~i-' \1~    ~ w~ 7G ~ \ ,f 1 t-t !

                 We,, will \-t;f\ve., i\-\4({) r,vc'J. So f'V(9Q,~0\l 1 >t\-\f\t wHI
                 re~\\i -en H~l'\?~ 4 C5\.X ~~? \1'-tlJ\ 70 \¼.-~,-r '{}'\, b vT ·~t
                is C tl~\o '1'~ , 1'\ie- 1'f \JD\u (Y' e., 10'19~ To &,o~ off-,

                 l-f ov K'n.::nrv , u Y\ ~ors-+ frl\~ (\ °i , \-\J-\-¾ i \\a ~ c.f\s (/.:':) 11 r-0.....,
                -~ J =F-0(' Al'\~ (\) ~ ~ ~ Jl-0 L\O"V ~-0..\l~ ""t\>,~'\- ~6---V
                f1'te., Si5YT Dr 0'(\1qu e-\y - .., \        t lA) 15v \ R ~ \\             u '2- - -
                     AY\ l-) oV t\o...fi'<"' f'f\ -fl- ~
     Ll\/\6i'    ·s fH.. ~ \ "'{
 '{}14Q, 3
     'D dt Xtl) Sor<V\, w W~-\~ , \\At?
                5 D ~ ~f1J\0'1~ z.e.., ~

                 I      CA n·-;- t-\Q, f , ~cJV) Di=~) "l:, ,H-~x\ ~ 1'\-\Ai- :S-~-e- \-\~g_
                      l,   lQ... Wo1.:1() \ Q,.   ~ ~-•flq    ..So 2      ~ro\o°\,~€- . . 0-A9- 2v\l\
                     l~\10 t~t cai\t-Q.,f\il.9- "t\\'to\)°\&=\-ot.rt 1'                wof5e.,, 6¥-
                  \ , ~ pl 7 .\-\~+ ¥U ft lJ J -; F A¥\L( D~ '1&) ~I 0b.\-SC&,(\1~~
                   ,\l t"\ ;A~ {'R:5u ~lQ..- \-\.Q., ~ -, Y'°j fl S w-e, ll W ;t tr r<'PSk ~rJ..
                   rr\1 -- espe,c.,~\li w\+ \lc 1'\~ f\\~S~ ~

                 :fv~T to fn )Ce,, 5 o f e., l-\DUf ~~Q~ ~o~e..., W H dQ., ~
                     Qr e.. i\-t,(\'(::\(''7 "i ~~ ,scc0, l'\ \ ~\e.., W.Q., es~0 C\o-- W Q r ie__
                1 ~,t'°\ ~          so \u(2; A \'-Q-c_~ i-5.:,t.JQ lJrt"H Th, .:::i "T.V.
                ovv tbf>e... '1~ 1\1A't- w,i l I ~l- ~~\Q..- To ~"01 at 1D b vi\--t
                      ~e, T.\/..S '::>D =fo\[C ~ ·; {) 1' W         Pt.(<.. Cf4Y' 6 eQ... (i)m Q.... C\ ;>c-'l·
                                                                                                     l
                 f\SSurnfV\9 w~ C,p'f\ N\P~                        -r\~ 'T\Qc.,~ w Dt- --
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                                                                                                     '-/ 3




~~4 ~ b
 f\t-+oc (' 4 t\taS «a.W'f'1 bo 0~ b.o.0<1 ~b.\Q, 10 ~ f r &fU'Ov,~ c'(l-£.
   ~ U-CO( ~ f>l'Q.,,\.v\
 ~~1 ~~Q,\~ 1 0 ~:> \-\.~Jar T<J t-~~~--\:<2., W¼il(l
               c\tQ.,.(l h '(\ °\ IN I'i- ~ co \} ~ R '--
    0 u x-o("'  ::t f'C\\~ :5"2-e\ fl'\ (Pe-o~~d.s f"~c-e s, 5-e&,'1 "°\
                 NQ:\, r-Q.-~c...J:i ~~ f}~ 1 .'.ffe, p.l ~ p('Q,~~6Y"~
 f.1i=t~r~      ~+ 7'Q,~\. {.,\) \ Q, 5('(\j \··\r.c, 6f :f,Q\AJ ~--- ~'\
.p~~ ().51-~
 Cou'<'+      ""Tus ¾i'<''\ ,l'"s\--"'°I, ~ <-\ cN ~f'C' '\6'\t.- 0~,,i >-\" 5\-\'9_
  C \G f\<... DD a:. ~* '()\Jt 7't\.P,"\- \ ~ \ ~ \ : q_Y\J C. \-\~'(\6'~\
                                  I


     'D , A _ P)e~ f -ee,l :v--,e.a.✓ -ro c~,~ \ ~~ tec.~r'Q'c'.>9,~ \~ve~-
  C\ f K        d, c~+ ka..oiv- l1&)) bv--r I                    ~ f>lt:>, l)"lr- ;ust-
  --          ~ r \ t'\'f' ~1') s, ~ (l P- ~
 Co L>Y' i-'    We, () Q-abl- l"-<2.,e, t+ f}614 cf ~
,PtJ9a., '~"
       P ,fL 'f DD<' ·\ wo(' w--e, -f)'r'Q., '~'11'<'C\ \' C\Q.,              ,\\,~    w ~
                D lftJ b~Ji- wio~ ~~v,~I\'\ ~ l,-+-\-\IQ.. b ~-+ c,.J{ ~  h0i'--.P\
                ~ i ~~ rc.oH-1 1 ~~ ~+- {)"\ ~ f'e_ °\ v,re \'¼.. ~ss ~-6 '(lc-e....

                O -=f- & ~ ~           tr ~~~l Q ..
 C'ovyt-         ', f i.10\J Wil I t-ell 1'~ffi w<2.... f)r-Q... NL-~-ssr"'1 cQf¾"-\i
                70 Q2Q_ .s O\ v-Q.... T'OL tt V'\ I L-P,\ 6l \ FF, LU l t-, IQ s
?~a..-qb9'
     "D, A... o\f, Pi*       w·\t·;: (Q.,, iv-Q,Q..., (5)\At ,~ ~   -t \\Q.. v1 ~ o Li 6D n a,efl-
                1   Tu,'<\ o~~ <-i &Jt ffi{ c. 6r' ;+ L~J\ \I 9a,,-t- V -e, .eJL~ P.cK,
 ~    o_   iu
     Cvu-i+      f\\"~ :r~       \ fr ·\(\\ ~ ov-z-~ O""l-f> ~lt\ ~u't lv\-\~--t'
               •(;J'e.. t.v~ ) \ J.o ·•~ w Q.,, w, ll q, \t'Q., ~ nv -n~
                cwpaNl>'<l~ TO rn~¥a.... JUt-Q, l'\-t&i- •1                    ,~

                -=fuA cl i'S(\~t'-°l
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 'P 0 qe., <--\ h9
5ch5¥'1'(' s ~ .ss        0 ~A'-\, A-h~ ~9 )\-r , we\\> ~ F '-\ su tuan T \--\.o. ~,
                     ()'\ ~ U Drc.e., A-Y'<JI Tt-1-rs I S 9 0\ "i T o o,o ~c.)("' A\\
                       W f+,➔ 6c(\ Q-,.fs.) Br~ f ~ l.j cNC (N\ , u rurV\ R-\L
                      rer-}-\~s, 1 u u 0 @. 9-- 7t> \<G, u~ J=:Y't:>W ~ '-J 0-U
                     {tc:--tuA \l~, if LJOUC fr l'{\Q..,(Y)\uQ'(' o~ 1\~ Ju,"\, '-fOU
                     f}, C) D"' ~ TO 64 5, -\-{'\\'\q        uST W H-Ql{e.., '-f v0 A\-~      4
                     R'i9t'Yr Y\vv\J ~ AY\ 1'\-\-er-e-~ 9 O '\ V\°\ To Yoo.,,~ w,~!>5
                     ug:    ft I T \-I.e.. WTfoc:ss S t0r,9-- 4 21:Hdt I;;, A\;,0.1'= ~D
                          {Lt A:vJ e                      ~ w e-r-.e..J 0 ~8:: S0q'-e..::\.~<r: s
                     .
                      \                51 =Fr&({) WwN? ~·
                       p e o-p"- coulJ.-o t \ Fir: .....--
 1")~ ')0 o<-iO
  Co u r"t ~           ..L....:..~-\.,£_.J_!_!...:::..l-_j_LL.:_.L....:::+_...!._..L.!..L!.L-..,..~..!..J..L~:.--!..=..l,..;::.L.!....~_____.L.-1-L,.:...:
                                                                                                                                                       :.s~   _


                                                                                                                                                   \~
            ..-4 t'\:i,Q,, {Y)fc V-C Qn 1'{\ Q $ T \-t                                             LOut"'"t        \4sr S. ]:O L)~ e, d'0
             ~                                                                                          \\         u'i\ ¼, 6 f V:{' 7"\::,
                                                                                                                           \
                                                                                                                                      v o,o-e s



             -+rr H:t. f,t T , R._ :r 9ro                                       t- ®?R O C:                  5     4,,) ~±\j: QU'\ T~'\ -,
                     C ()< \ ,'3:        A: &--cfEO) 't:> tr: f r ~ V' 1'" 1 nt' () <.T4J f? ~ (J V t                                           \:k?
                     Q                    "6 _ \              1' ~ -    :i: 1   r      ::>
                                                                                         r          l            Q,c..     ·s.
              Go:o f r B- TMAt W'Q.. ffifuq B e,ro, j)AlD :'.>o ~t S@,)Bn
            ➔ (~ \r\,L9- 'f\ W\-to er £.. wt:.± ~~-; q, ,Jn3 \-LAv,-r-a, @v c:::-'D ~ -s;
            ~ W--Ac-, t\P) ~ D) ' kJ \:;Jgl() YI 6D 0): Q ,~ Af    7 :t \--\-p; \y -~ -
                                                                                                                    1

                                                                 6\Ci{                                               \
                                                               ,
            ~ 0n ft -:I:ty1 :H::AJ 1\:'9, V -e, L\ De C , CSU • ~ ro ~ ~ w,      \.t.Q,. ex:5 N\ ~
                     J,.H-l ~ \[(               Ln 7' \-k 13 ~L- ~ IbR,---'-- ~ ct~ooJ1)__ B'.):£
                     .,S     ~+           ~6 4:-0 ~ w ())')'\on 5 l+:r-~rt:1 -, () -r \.\; h@~ ~00~
                     So 2.. 1u':>'t- LiJ fW,          lb \ e..\- '=1 o ~ ~m.J J HA:t , ~ ', D
                     t9rl, ce,~:s eie:\. rct: '06lfJ . I J0(5:()t l<Di51AI (A,1'--l-Bt ::t)k.
                     Pi 'f\:S '4iiQ,(' ,-S Olf' W H ~T T t-l-~ {? Y\~ W-Q,f ~ 9 i " 'j T D b ~ ~
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                                                                                                   45




                    {Y) ~ 'Sl--\'\ fr\S(\ ~e, -s '~ '-')CN\' c_ \ (-a (lT (Y) '-ss ~
                   ~~ ~ \ ~ J?,Y)'\ ~l)() l\ , <J y,e-5-\-fr\                    \l" fff-\-a0
                    D ..Q..,~ c..+,
                                 ~ "-k..\ ~ t'€-5-\-" ('(\.~q
  A~ ~              \\IL s~,JL tk A-c~t- \4e.-PY' r+ ~ v &C\0
   Caut 'r'        :t,W' Sox--r ~
 -9-~'f\.     ·\   \.\Q... S~\»-. ~&t~(\-\- ~N' t+
   Cour-+           o r\ .
  fa1 e ©
  A,--Hor0~        C~f\ y o"\J Sf(2.~ o~ ~ ~ «' 12- :l:'r() Vi-~'<fJ- ~ \.kl-i\'(";n ~
 _'P~1~ e,
U,qs) Co u .-t ~ ~ ~tA\'--\ ~ \ l Si\:)~ -~ h---,Y"\, , ~"'° SCS\SY\9---,
  •            ,¼~-\5 m ~ \-\-o~e,
     1pqe(@
 Cqbi,) Cou,t Lu l+de, 4uVf p ·) f\V\\ ~~ 7 ~ V '-&.-eo\ ~a0 0ea62- Tu
              \.k(\ Dtf- -r ,\.e CT\, c... 0'(' , + wIl\ q e,,'t * ~e& b ~c.,)(. \
   ~oi~@
[~l5if) ·v, c 0 n 0).Q,nJ\ bo&l-q \-\Q..~"' '°'~ o ~ '-l ) ~ c..A-(\'t-
            AJ                                                                       l)~       ~
                     t'L ro ~\\ 'B<\ e., )f- or SlS)')\ Q_ ,e.,.~ SoY\ it rn-P ~ 1' ½-, ~
                    d2fr, ~\Q, r) D ,~6 -
  '?o~Q,@
f$g 1) Cov~t         +m \-¼..,~<'-'"<\ \o-\~ D"t
        'D..A- -r )'¥L "TeeJl-bPc.K ; ~ 9 n5'tt'\ ('(\Q..
     00:J,t- i,JQ,t( L 1)~ ;- krnv0 T)¼.., fl~~\}.JQ,,
       i)-A ~ 1J             °"''
                                K'0t5VU -r~ .p"' uJ Q{' '2., 'i➔ ~ W Q, l \ O ~
                                                                           1

             \Q..."t ff\Q, 7' #15 ,,. 5 0 c...r0 Ttl-<L "ZIV r D't ~ \-4Q. A-C li\~'> d'.:.
                                 1


                     \- \ °'~ .+ klw \& HQ\~ but-           (J- w   eria(r-lt~ ~-ts 61 f   !
   P~~~ ®
       (:3S>S)V      -:r_ rr);t.9-()T C,,./ii ,e H-0-~r i\~ o'c1Qc_+15'f\ Ju J-~~ ~
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                     °TVY)   Hop ~ul TttA-'t-' T~ \-Q.Gt\- w @         ~ \        flp9-
                     }+Ai w--e, lo'~ ~~u~ bott..e.ir, CJ'{\ T-He..- "f-e-a& bf-)~K-')
  tpf)l1Q,    ~
 (\~\~ J               (r)-s \-+~~ C~'f\ C.,W \~~-f' rn~ P\ ~                                   \"\i' 'S
    l-hA-~          ::t C-Pr'0    He~'(' ~au)
                               S+', l l            V)i-    r, 1'~   1       A     )   7...\4-\-e..   °' ~~ ~
                                                                                                      \j i

 V~ -e..E
 ( 1t 91 ) . 0 ~ , S                  ~ (-}s':xwl"e., -r\tQ; ;v{'"\ ~           "\- \Ja ~ r ,\\~~")
  A-*~"' 4 CJ e,, ::,
 'P-0 Cf Q.., f-
 ( 5 h-n 'P A~        W'€, LJ 'd) \-\ ,P\rQ.,T~ f6"\1c.. 1Jl.,-so ~         vllvt,
                      t\~ kJ ,ti rQ.~\l~ ~ r d·ti)Y'c.-0 y DDf f)~i \l~ 7'o
                    lli~r , ~'1\ l B i-\-s C t-\~\lQ(I ,,'(\ ~ \ \ \.\t2- \J t>\ua\e
                   • "2r61s 7D l)rcp o ~"f,
 ~~c,e G
(11&) t u r~          8Y'bL , f y <Tl.) T 1+\<e.- 1'\--\.L rnt l..--r l?f)~u(\e- Ah~ Yo\Q-
                    ,+ cl OSQ., 7b Cf~ rf\~S K >you \ \ 0c.~\\.~ ~\Q
                    ',-\- e-l ~  W vJ au'f' r(\           k.)-Y t\£2..(\ ~ S\.J w ~\ l ~'0Q,
                     P,D' To \"le. ~ -c £
  (P~qe.., H
(11b )      'D.ft     -=fo\~~ Cf}¥\ L1cN \--icif.)'f' f0<L P \f' -; °l~--c- & t                r\H-:S
                    Vo\ u N\ e } o \:'.'.-~) Bn 9- :l;'Y\ iif:>i- 9 D , ~'11b o s<L mi
                    {Y\'i'c l'o fv or9- T-e ~Jl.hf\cK 1


                      7'\-lttt m~ ~ \-J~v<L, bG4() ~ -'"°' ,\-e.., ~u$2-~e-K
                    lJJ e. fQ, q o i"'t'4\ 1b -tt/rve.., -ro f>. \ o ~ ·) t, ~v.Q.. b..a,a ()
                          v-,", ~ ,aaQ._ b./lt:.k --,0 -t\-lcL covrt-62..ct>"'tl'> -r~ \\- \'\\\ (P\i"Gtt
                     S6DY\           ~"' }2._ w-Q.,, \ ~\"1 p_ ·, 0 , 'wt.. '()"ODY\ ~ O(' \ ( )

                     \-l- A v-e_ ""t \.-l A+ 9 1>'0-e.--
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 ·? A', Q., y ?
 QO' 'd-1r'.a {   0 \-t , \ ~ f\ c fo'l€,,
 Couv"t         0 ~ 1 0 ~ , -, f X. T~\K \\-+"\~ \t:>of)._ C,.fi'0 l-)OU
 m ~c ~~             ~0S
    i)A<E \OD
   ~~                ~ Wou\ >l, f}- \so L \\<l,, tt \ ~ T~ J..oe+a-t' wul9--
                  PE:Se.r VQ.. mR c.. ~f'l'() ~~°\(\Q.., \ -s. ~~'~C\ ":E.'(l\pf'tv:lh
  ?e'1~~3 7
  Courr              .So ~ t+Avt- Co"Y\G-Q,{''O S A ~ 7'm ~bi\ f-!i -m \)e,
                  ~ f\v ~ 'ol-\ --JVYo'f ~ s)--tt\ () ~ .,,n ,¼L 'a~cl<-of ·r \\e,
                  \'"'06Y() 1 .so~ \'\4,nK_ it ffi\qht- ~-Q.., \,\Q,\p o \                     '°
                  Sf>QY\EJ._. ~ C1--k- \IQ.,, ~ ;t-or T , 'G"-~           w r+~ -r\\e..,
                  --he.chf\ otD9 ~ ~ Q ~er Ne.- S-\"';f,-,t' l""\\Q_\'f' ~ ~\,XY'\}\i
                  lv N\ f' KQ.. 5 t.J \'\Q, 1" ~~t t1' S 9 D1°Y' ~ l'O ~ ~~ \IQ., \b
                   r-e,~t-\- &,\\ 1'~ w~ 70 --;~ ~~K..
i)Q~ Q;   ®
 C ourt            l at me. ~u+ m re. coy-~ L0 H~-\- z. w ff' --                          ~   -1(\4

                  y e.~-t-.ar~             ft~ 1'6 A- \w f-h-1 s. rn ~ (S),~c..,hL.Q.. J::..
                  re-pf)_ ,\-\-Q,, an-Yi r "L & OD~t- 'f n ~, 6 ot \.\- ~ -t\NL-
                      Y\-t\      4)1..Yf """f ~,\.e'S T \1,At- ~).Q_ ~~~c< (n Q.,) pry,..,f)._

                  () D-t l(Jt9-- 1'~Q._ kJ ~ S 0 Y'\ fr5~Q. N , 6\f\ "\ f\ fr clo w (Y\O() t'
                  =f d .{}J- t \\,p.'\-- l-\ DI...Yf' C \ f '(\t- w f.) ~ J.,Q,F>i.R A'(\ 8--- ~ Bf 9-
                  (J { \4Q,.~'r i n '1 ✓ ~ ut :£ c9-o r\ o+Q., , \-\A~ w--Q., L-\J\ \ \
                   t\ ~v-e ~ frSS c5ho9- L.,s-k~\t\'1 ~<l.\l \l. ,e_, I f-')\8- ~(Y\
                     t\Q_~'\" \ '{\°I (+ b LJ <--L \f'(\ \ ~ Q, \ ~ , S u w t¾-.A+- w---e.., _ Wli \l
                    ~ ( S i.lv'e- W 1-l I 9 -, v-e.., j cAJ --p\\Q..., or O' ~+u 0 \~ -W
                   ()'\~ )<e_, ._S U\'Q., i' r\A,-t' 17' ~"t"' I ~   t U('c+~     {'\'\
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 rp~q (Z '-/fJ.4.
      D,A., 1. l-tft-£l. P L i+\ le bit o f Tl<,oub'e- ~-I¾-\'<'°\ L-\o0~
   ✓ vy· o'(' 0 H ?
     "'0 B., ~ Jt 9 o't 'N' D~i' D 'f                               ,-+
                                             ! f\ \11 J:. Tu C..\ DSe.-, A~
                     Gf uD D K~ \
    uV'<I.JY'-        '1 Q; {), H \
          ·' D,~. ].. ~;-- wro-t To v',o\Ate, t\)'1 ~c9 Sse>c,~l u,s¼f'ti'ei'\'C{~
f b<:t-e.. ½S O
      U~6Y'          W ,)l T}¼.,         rQ{'6<.."() 1--o~t,~'1\n<\         b -<v r-equ'tr-.tB-\b W-0 1\, {)- llfl fh~
                     ()'{" Wi\ l ~ be., fl~\i., ,o 5Gi                     1'\~5-r ~ ~c~.S?
         D-A, l' HA·t'S A- r1Q.p..\ \~ C\ ~B- q v-e~..\-~ A"'~ 1' ~ ~ ~ 0\ u--Q ~--(co
                     Tt1 A'\"" 2 '()6'<\i kn~ tr ~ \-t~ve. ~ AT'S • IQ'{ To ,,- ~ Q.,"\,
                     T\-Vi"'S. \ ~ f) o ,i' Df l)Y'G\-\ Ar'1~r,ac9 , ..a.rr-;~_ ~ -y~~(\ ~
                     ~r1 ~ DJJq CA'() tp'<'o I+~\"\ U'<' P.Q. rS+f'Y' 9-
  ty~ Ci '2-- Y 7
 A,-t-hs~-'0 v]      0 }( i9--UJ - Prr'-Q..,   Lj IN C<lYY) ~or-t P. b' e ~¥p l P10-i ~ ~ W h Li GT'
                     lvvv\ f:)._   '1 cRJJ ('() f\'1 ~-e, v.,r-e, Gf»_o> °\ ~ v-e. y 0\) A N' t> ~ ~'f' -; \J f\"tQ..
     .::fV '<" o('       ~ C.,f)'(\r N-2. 0'(' G\ 6---U ~
AttC>t"~4                y6\J CAt\T \~ r, '(' m Q.., , o ~fh'\
 (rp1e 7 --1h
      C(.)(..>rl     I 2 <D         c,(\t      )<;-ou\,\.) lv }--h~T 1 ~ C.f) u.$' a) ")
    C \ e..r)\, I t'Q o-e.s ~~ ~ .5 ~ Q., _'f-.€-e.,~~c.~_, , ~ , s. or, ~                             8o\ )   so ;'~
                ~ ov w f)f\ r ,a +as r \ t w h \ \o.. , -\- ~ bf F
    /4)~~0,s- 1J
                     I
        ·D ,A, ·p C.ftJ~ j ),.k, "t e c.h !' D l '\ ~ ·,~Su/!:> 1 ~ f- <-1 c10 t-D ul9- ~ \ i.f>be,
                     ux-(\ o~"t= T ~ ff\~c.,~~ tw0e., Pi---+-t-a'(' ~ h r-i~ ~c:\r~'4n"·~'-o}
    C OLJYf          m<R- o)c5~ ll 1f ~ l\DH'°l To ~ ~ FlY'\5 1.v'Q.r\f'q ~ C\U--0~--\--,'b'()
                                               l


                     I ~ ())\C(ll6)°'1-..6"- Q.... W\\\   (\ Q,<2P- \0 \:)~      -\v.ct\otR. ~ P,c.\<.- a"'(\ $0 i'~
                     re 0f t , -S C \ Q. +ii<'
   P(ThJ-Q.\l ~our corr'€ci'> Liovr R.,'\~"' s orrq ··,t c.i ~\J l.-00,~ ·,v r n
               )~ mi Cf O (P )\z,(\Q., K) ~ lf)') YD'(' oY) Q.., °\ ~:r·\.~~c->YlJ~c,0~n~b.~
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                     C, A"o ~ 50 l t Cf\ Su lS                           (l\)\,V    fG.:> • D6'C\ A ~ .
                          .       C..,         Q..,    Vl--5       '9, 5? , ~
                      ~ e, s           x~ r .Q..e:g-+ ""°I /5:::V T ·-ro -r H-,
                                         I
                                                                                                 l    uc:T(c.Ol5'(Y1
                      ( .l
                       1
                              ~    j     Pr'(\   8= w          &     D Q✓ '2         Tl¾.- ro,c.., r- o 6?·-n v'f:(?, ~
                                                      R ~ :if\      t>•e~~         14 s                       , ~-t
     C \Q,,\<--        O\f'--P<-1 .
    c urt             t¼.\\ o 1 7--e:s±,Y'<\, I -a-!>±>'<'<-\ ,-r-e.s·h'f'\9\ 1 ~
    C \ "2-f\(..      ~\\o
    Co\;-(i-         CJ?(}\ '=i D).) \krrc ffi Q,_, C-Ac \ ~ I I:e :'5'1:', b~
                                                                     1

    c \Q..r \c...     Y> o  a::, C,.,.An t", b t ::t\:t:A± \ ~ ""\'\:\JL Rr9i'<\:t C \-\t'ON. \.. ~
    Couti-            ~ \\ o , t--e..~-\- \ r '"\.. ±-o +ill °'.. :±4? :;::\:-;X) 4 ~
    C \~·f\<-         \:¼,,\~p
        WU'(T        T ¼et- w A5 vex'1 Lo\ u9--
     ;pL--w~U     ~ l,JJ tS{\ (J.. .rvr
    l-ul..Kt   4'<2-6--\-~~, -t-~ Si~~~,
    CPow-eU '}2)€ ,9Se., ""f..e l :fx:-e !k TO C\\:,rn e.. t\ b [f) +e,clAYl(G~~ !5°:>IS€ ,-,, ~
    Cou ·-c }-  -r-a~~"'4l w,s+~c, ;T~~--hrq ( ,wL\ u-e,..1'\f<'.q~J
   -S~ e.AI~    :;f. Cd n ~£It '1 d\..> Y.:> d't- 1:+-,.,s 'i t"l(~b ::-- c-R--coi b\o,, ~
    Co0 -r-+    1'e_ 5 \- \)",, T --e S +\Y'i , 1 -t-e-s+~ ~ ~ 1 ~
    C l-e..r~         k >k- \ Af \.l.Q.c .Sacbl- 1 ]'-< CA'O ~ ' f ~o:u I to1.J1' .
                    t H.sir:-e .s A Iat" o f- ~vs::t A c, n9'1 !' '1 Sw J't9:-- ~
                       W e_, (\ t9- T"2.GH-- 8: ~ It p ~
                                             ~ -{!

                     ~ :e,,;S :E will RR.f¥...l+ QU , ::rn 7:Na. m ,
     Coa,i-        W ou\B-- 14 Ol) ± ,'f\g_ A ~ H (BQ:f i;>oY\ @'f'V--: '()c~P°{ 4-
                  1 W-:m To ffi<L-
     c.. \e..irk.. Q\<-fil.1
0.~. ?o w e, \l,    J v"i>~ 1b -N\ Pk,. ::,u~                                  ~, ~ v
                        W1e,'<' €, 1 \\-~~ t'..."<' 1't\ if"":::. c.Q < (Yi~ e.)    c::...P"f\ - W'O( e, ,
          -->.,,. M ' '1"°} ,o ~ S o\ ve A-- -\~c.,tl- ,<:::>Su~ W ,+'tt T \-\f6 ,Y. . OL/\
            ~ \:k>pe- • ~ T \-t ~ t ~ \ I ~ e,_ p.'t) To '2 t~ ~~-Q ~ ::tO ·13> a:t ti                                 E


                    +\i.e-6e.. T lL s , f\~S- -r \tA-'t" , )./,.. to To ~s <:., AY\ S-t                    I v)\'~ lo(=l\C,¥-.. _
                                                                                                                                "T--E-
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 J>9'7J'1, J.SS
Cvl/tT              i)°iQr~~ fr ~D~() f-" ~l f()R Sc, ~q1 8'(\SeS5 7'\\,Ai- \-\-ai
                                                  1



                   ~L-W,A-~\~ \U(\.fJft- 1Y\to fl'f'0+\4.-e,1[' CDU'( t- 12.otXYJ -~
f¼- l-t-1.)(\\ ~     W~ ~Y\ ~ f\'<' fW\J-1 ~ ~ \1 Jl.C\Q.. \'Y'l&~,'i\°\ ~ ,v h<" c:, ~
  Co0t+              ~~ no-r So(\)""'~\"'°\ 7b ""~
 ft1f5or4            1 ~~ W p ~ R l'5' i)'+\ \SY'1 T¾--:i+~ w fl ~ G\ , ~'\'-\-e9-
                    \b c,00-¼, (\u e,
 cvL)(J            I ~ -0Y0 00 t Cu'()~ (\U\ Y\4 ,~ \ ~ c f ' ~ \ 5 D
                   W fJ 5     \')l)i-' ~01 e..,, :=foR T ~ Ra., G6{' .Q.. l_.
·Poo,Q, 9' ~
 fl~~~               \--kl, A-\~o \..}-A ~ µ,~ \-\C2..~r\4 9 i i W i+ t\- ~, XD , 0 s
                    lPt lJ fr,s A' Y) A5S i':>~Jl L,"5--\o\\ 1 ~~ d--o..\J,c: e. , w-,iU
                   )l ~.oca- To T ·1(\~a<' w ,+H- "t\4e._ \\'::>-+ n"V'C) ·u~u ic.:.Q... \-\e..
                   jW A:S V1-z:>t ~ ~ Q.. To ~~,. L T~~"t' l-\ oU °\                         ~ N''i
                                  1
                    l . . '{'(\ A,\ -es T'"'2.(' Jt Pttj :1v ~ Q.., ~
1)~~e, i 30
        ·D-A.. ") OU(' H00vr,, ~ p f\t+1\(ls PQ{<.J(' ~c5Dl1                             n   (i   oc ():'X)~
                   \-+Pu Q.. b ·{J,e() TA\ K, "'i -A-boo t w H-'2..+ "'2c M no-r-
                    .TY't1~0er-'<'~~leJ A-+,t+ ,s I\ O"e., f}'("o..,,'f\~ A-'t' C-ou ns I
                   T /4 'o \Q., FW' !. ~ ,'+£ .e., 01.)l ✓, ()1-o -r t{Q_ 6) p, ~,Q_ \ D f" - lJY-<5\ 'SI A~
                   r_ J..o n 't Kn 'Sv\) ' ~ ; -t ~ °\ V l fl '1 TO w O'C~ ":f~ T ~ l-Ou ri"
                   oY' () n t , we,' ll l-Jf!-v,e, o v(' t) foc{:-<S. To T \..\Q__ 3' v Q., lout ~
                    Wt)(\ t be. p b \Q.... To S-e. ,Q, T k .:ru(""o'(' s-,
    C0u -r           <t- wou 5) '0<2.vlQ.f An+k., pA -e , \t~i- C)Ov ww1JL
                   \-t ~ V~ ~ cJ\) (' b ~c. jl,S To --n...)e_ <l l)'('c f ' ' ":E w Du I &. 15) n l .f-et('Q.,
                    T H~'\- liau ~'Re. f}-J»~e,.ss·,\\4\ "t\+.O yY) Y\9- l'~ 1.u1-f0<2 ~ses
                    Q.i ce-tar ~, , () ~ lAJ" ~ 1't}f}t 0f Bl.5'(' fl\ i)~i- CtJ'(Y\~zy-tftl~J
                     <\ ~ l urv., A "':) uv--e..., cFin rn ~ ke.. s 0 re.- , -\+f) t ~ ffi.)""'('

                   VD' u ~ P.> r Q., b e:, O)°\ 6> sc;;:.cbl-        vr
                                                                      I 1? ·'Om'T ~ 'f

                    W ~ f Q, ·, () ·T ~ w-0, U y (A) A'rQJ -A nf;- ~ OW l-1 ov
                      fr r-0.- (?OS i' i\ 6)'\ l? 8 1
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·P~q ~      ol
         OA-           Cau\Bnt µe_~~T\-\{}T ~
~P',~5'1'1
          'O f)      -=r. YV\ .s o,--r 1 ).
(y~q Q., 0 03
          <D B :£. ·D r!) n't' ~ ' r -rt\"'+-t:
·'P~tie bol{
         0 A "l, tu\"64'i- \..\Q..f''f' , ~;-1 o ~ ~ I                          n e ~ 9- <-\ ou     '°
       .      I~-e p y C5U'(' U u rce ;
 (YA9 Q, bO<?
           ~+\        a: D , Dot t-\llf>(' ;-\-\~\- !
(ypP, e_ 609
          i)f-),. J\Y\ S&'f v\ u) tt~t ~
       'P~ ·
         D ,ft., Jv Joi e.,. -:t. \ '<'ow ) J2d'0t
                                 1
                                                                tY\r5W , f-    (j nJ,~ c n'\ \~\,Q,,J
                     S ~ $--t"2yY\ b, v-t S'6Y\Q_,--tq'\"2 S f + ~ u ~<\ "°\ , ~ 5t>t:> (\ ~
                                     1

                     La-ve,ls ·; () A I rt:>~ ~\"9- j¼l, 6 0Jvt~ \ev-<2,,\~ 6)') -r~
                     y-e t: O'ft9--, '<' ', wi l 1- Li D tJ G--AY'. ~ '> " ~ f½ S w- e.a-t ~ ~ct-
                     W H...ev-e.,, , + Do ru o't t[) o , \-\ ~ ~
   P0 <:J e, ;). v
         ·)) .A.,          '00'(\--t cl 'i'S-A C\r-<€e, w ,ttt Tl1N., A"~ a'.. , ~,"~ T.\t frt
                      3'...,
              \-\ f,--•-f'.::> A- °I to '9--- , JQ. ~ 1 \o\ 1 6) r ~ (rl At 1 l ol') t'1. ro , S fi)p.~,n,
            ~ vrt,, -r ¼ e c.1 V(' V\ CJ)\{\ & ft<' -r-w. m .,
   CODr 1-'      o'0 e, o f· .,,,-1-L {--SSuQ-.:5 , ~ 1' \-{e__ ~~ii H--1 ~ Tl¼,,
            iv +t'\<256e ,o b~ ~ T\-\r-roi hout- -r~ t-ouYT
            ~om! J:. ·i)oo t Kr> \)\A) 1"1t:Ml i OJ fi1.. T Ho                            c ij\"I~
            CM :S(')~A K. Zl: 1)o{)t K oi~ w ~'\' K,~~ ~
            C,\Y4\\t('9~.s were.. 90,'('4\ 1b \-t~v Q.- "'5fttt 1" \to~e
            e-, au-t-Hs.1 s D o{Yt"' wP'5\--t 70 t)\~'R.- ~ ~ > -:>"i6'(\
             t4 b ov, i '>1 A-'t (K,°\n"t 01>W, ~ 1 l-h X\ K. ~ S ~ ,».-- w v,'f=.
            ou, w-Pvi T ¼-o"'i h Tb TtlA-"t" o)nH\1",5 e.., ~ i-t ~ s!
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p ~Ci\Q. lSb
  Cov("t            60 OZ"ic-; \t)t A \-kc!f+-61- , (n~ Sc..\'\«'2'fl~e s l w f Q,, 90-.."1
                    V  IYY\ q o'n'\°J 1tJ CJ'(T-\-,(\u ,Q, -ro r -Q.«'~,() \...\2.,1{"''2_, \ 0
                         ,#       ...




                 wov-\c cJY'l , J.k. ,ecH ZI:S!i.let .. fl~ 10 ~-P.~ ~
                T'ec.H p-~i- D\ -0,,,---H-'{ 1"-C, i' ~ fl\, t... ~ ph ~a•~ ., ~rive, () UV\)
                \-J.;-8-, mR. 4Sc:, t\lJ)8) S e~ IQBV0 l' Ne.. ~00"6)'\) ""t\¾2. af'~
                ,'S5ue w--e.., W\t1 Jl\seus ~ i ~ -t-~cY\f'v\O°\L\~ ~
                  ~ 6Y) i ~\{' LN"~                               s
 C, \ Qlf \::    ~ -\-\ if} U'QJ)-t 1-+Q..PT£L ~
 CCb{ 't        I~ W"l l\ o+hao Pr b.J r ,-h-..c20 ,-Q Sfb'(I ~ , \\14-~
                ,S ~       d'0 e,, \-¼~s ~ o-S d¥) -r-e..c..:\-\-!  .
'P,s1a Q.C; D
   C lav--K.        "uo ~ 17V () e,eQ_ ~ ~ To =t\n9--t--e.~tt
 _ Ccwv-+ ![),asp ~r➔ !Ll <-f
  C l t2-d<- J., w dl c, o ~--, fl 9- --r\\a.m
  Court' w-e, C.f)'t) f\ u"t ~,oc:..lU>.ll. ~~'1 °¥ Ari"~(' u0·h\ 1.ve.
                \-} J¾,-e.. f\-SSi~ ~ Y) e-(2.., Wr+ H T \ie AtJJ ,r> - a n ,\t~t) c.:\ ~
                JL e, V , c,ie 5 ;
1yp.~ ~~I
  C oo rt-       W ·t<''°- _ l--1 ~v,"9 o)',ob\am         w rl-~ ir\Q. f?rvE-.c o
                ~ -V)H-P()ci                rot
                                   Jle_v ru; 5. fCr'~ ':)-+[4-, <- ;. ft~ w'\Q.,, f\ a~
                  tlfa<2, fY\1crop\\~Gt:5. To Aft'~i,~'1 Vo r6i2.s D~ Cou f\.SQ (
                  yi~ t\-\Q.. lv l+t'\1€ 6Se5 , but' t ~ '(l\o~t- ·,m~~-tf'C\1""                                      ""'' 1~"
                \" 6\A.J is -, ~ p, ,'G . A- comp\, ~n t- 1~c.tt-.

                I W-t~ t·L.J~V•n~ f>e.,,r,&,J S (9rv1b\ a(Y\ ~ w~+\-¾ T\¼,
                     o        \     t== S   ·, I{\ -r k-e,,   b P& t=:.   o   'f- T' ·tie.., CD   u c - 1 6 : o o m   ,   ~t
                    A- ~ $ o ~ ~ 5 (? o l "1 fl             q \~ Pr t9- b~ -r t\e.
                                                                          f.J-Q ~, "

                A---t\-Dr-0 a1 5 A Y'bl-- T \~ A- ··\-h ) f' f\e.'1 S 'o~?,'1 ~ °\ ~~~\rg.
                ~ ~ YY'~ 4J N-aO .~~ r'€1 To cu-s,~°I 7\:5W~r-#-~
                 ~ ~ Ac.k of i \x cov,t- 62-oom !
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                                                                                                                53



,PPqe, \J 3S
          D, fl,         OJ::'..(;}-<-\      0-YI ~  b~eg. crn -r~ ., Ol=6("' l'f\~~.,,~ ,l-iA+ '-Jal)
                       \i .f>J.. ·r e.,c.,r.ev<J8- 6),1K To 7'\¼.. ·i n-1-erv'i ~  o~ ) f))A(i f\J\ ) ~Y'~
                         • q o, ""1 ""to -\u'<" '() yn1 ff\i <., 6o) 7'o, bec-Rv~ J: Wdn~bar
                        ~ e ~\Q,, W'<2.,,-e, µ.p.v·i'"9 -r ~ 0~\e., \~~ r-,(\°\ (o'e,,.,
                        CM ~"~ ba.9-'1 ~ac \o'Q.- ~ A-p9,. l-ou\i:>L '-100 \¼- ~, ~
                       t)c~~,             o"("   c£J.-o 2    '(\ ~ QP- To     ~ ~ p;.
·fPtl)el:53~
          'P , fl.       S O Y- r <-j            H<A{"   _g_ W r1- M A '\l\ ~5 f:..
'H~ ci Q., l'-1 f).q
    Cour-T               A-     SL>-c'i j Y) T he_ ~ Ac.K.      o F T N<z- t.-~u r T 61-ot5(Y) i ~
                       iAf~ V i n a, T tNz,\, \1 p'() G-, {Y\ ~ ~ \'Y1 :r: p =>5om e, "T \t P"\S
                                                                          1


                                                       1
                       ~-Q.-W l l ~ j)-t-.a.~ C...A'('\ T \¾A , 1

      ~~ 1'13 1
          "D ,/1 Ql\f)\:'..Q... Sur 'il,.,, y (J\.) 6)·, v i\Q,~+ y c v o fGQ..,, o kA--'1?
                 0) OUf' °\ e,#~~ °\ E\- \ ,~-e., S ocr+-.e-('
 'Pf<ie 1½3 bl                                                                      _
  Ca<.Y{I              L,p), tQ-.5 f\'0~ b @i\e, (l) a(), ~ ou ~~ntYD't' ~ -e... stb"\.0l\
                       • ~ ViJ..e-o 4t i~\..S if\ 6YY\<2<t't q ·•\J'Q. ¥1 7~ S rr-,~ \t L~~
                       ~ ov P.\ \ w6f\t- ~ fl~\e.- -w ~e- e..- \--\, x'T w·;\J_ \u4 m~
                       ~ v,pTI.A b\ e., To vj 6U, i~Dl..lq h. > cA/r ir"=j lj avr d,.lib'41-r-0-KQ\.S
                        ft~ Z:,v ;JlQnce,
 'f,g.q&.-) LJ bi
          f> ,A-, ro\ t~ Gf}(\ V]OV \-k2.~, (n<l- ,q\l R,<\~'rt,A-Ti \-K:::i. v o\ oO'\Q...
                  0 ¥-4 \ f:>.Ylf)- ~ O)D• "°\ ,o o~-0 ,-\.¼, (Y\~L. TO AvoI9-
                       r~
                      ti'fl-\:) ltc.-\<.. {
fP"1"l~S37I
   Covr-Y- ;p AY' onQ_ b C2- lravos d-ur)-rC\ 1')-\Q__, T~,~\ 1'~\-- - \-~4"\
                     1
           fr'f"~ H ev·J ri°l ~ 6)~o 't)\a if\ -5-e,Q,·i "°'I Of' ~P'f',~ (J(' A~+\\"i~1
                       C", K-Q.. T '1 j'.}t I AY' 8- ~ ~Q.. ft\ Dv-e... rt'\e.~·t- ·;A T~ t-Du, t~ocTY\.
                       Wou\9- ~ ~ \() ~u \ 1w-e, C,t\'0 woe~ iAY;-+-\i ,\-\~'\:
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                      3:, ~i' \-4Q. frX' L-\ CJ\) , C,,(5\;> \ g_ ~Q\j - .. '1 CT\)(" Gv,-.\ \'\'°\
                          , b k.~\ f) 5W ~ oU (' C\Jffin '1 oV't ~ a:, ~ \
                     \+Q f'v '1 l50 -A--\- ~ \ \. f'(\\<- S::.,h 6'l\ 6)16 e ss
·~ q ,g, Jlo 1-3-b
    Cwr-'t            w~:ve ~;- 0'v re.s@~(H~e ~Of() T~ cA+ 1 so 1 1-1>:A-t~
                     ,....-ssu-ie n vmb<2, ~ - . e . - i 1 -.es'fir? ,--r\Jt_s-hra,> -t<?.s+•C'°f ,
     0!¾-1             fin{) -;/?JI q:. j f\8- 1 J; i / °I D f'rn/L f} --/~ctr
             1
  {Ria~ 4 bC/
  fi!_-fur n---4j     (!_ f)Yl ~rlf dV(l., /#:Pr- {n il,, O'f-/JC/j S
   U U'(of'            no
 kFkst'fr4            7 J..Jor9 6 q Dn- CJ 70 ~ tJ\J INN rrG 6~ t,f> l)f' 1'W-- tu rH~1S
                     5fp,rf- 1 wHtcf-1 i -s r9lxnJ T '--J o r-ee't MfJ<f ::PnrfVJ AJhe-
                     OD Ar-Q 1 ~          S~Q.,+11-rnes £9--£0~\.Q; cvv)c9rrr l~flr
    ~ctll t/S i
       Joror          , nJ,.,5c,,u •nit) t -ei 5..rft\~-rl-l,09-s}bv-t Lf-JtiJ..f} H,c,d). Tio-.e
                     i r,,Jli sc..oro>, b l e, ~~+10"#-S ljtSD, tv (J((J.5 &~ l>fF,; ~.J\se-<?r (\1b
    -J0y z:,('        f\y\ ~ j ~-\'S   j f'J}._•'6L r nfblQ., , L.vff-()~.S.SeS   , ,,,62. , ~~,{l)blQ.. C(-}J)°T
                     ~?-, ~       hf--1'~,nCJ, "1Non lv't!., ~vst c:, x,,t,9 qve5S bet.~(/se
                ,t-J.a,/re,, o)Z>"t- ~v/11, To &o ,,+- 1W f t-Q;
        ·-0, A., w Jio ~ r e12 r9-s. 'f) @1 , J-J ~ J/r y ;J1 1 id ,-s cfi sa H-b5 --ro 'ae
                      PblQ., To N2 /i r ,Ne, T-e.s--+ ,?nb,i 1 , tve, WJI J be,, WPrf:-irt CJ Hit td
                     ITo (hA ~ s t1 ~ 1 .¼;A-i- ~tf{po-r -s .
  (?&qt 5?"1 l
         ·D / ft I A 'Yl ~ so > 4 ov (?Di r}i <fJJL fi f' D-- '1 <.AJ s p-r iP- .5m)'lce,-/-~rrt '1
                  b u't :E tDoYl~ ·- t HT n K a: ~ ~ r 67-- cj JV ~
 u)p~l.- I ~d.·
        {'c,oy-'t     /t63e.,, vJ ov J-.Ji~vf" 1 P HA-J- T ,-(oi Q H€-11 r rr q , J9 JJ
                      OGCJh't- JJJ~ w 1Jl 1 7tJAn L lfcN -ror tPJJ"'] -rkJAT
                      51-JoD+•r~ &jc?.Jr 1-J~Y',,Q._. vp •I 11'0 i fJpr WtJ5 rpor)a1..,f
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 ~Q..,     0'<~
          ~J\.
 tpp~ (l,, --,y (:,
  CoDrt                L                rn~ (})D\P.\\ g_ 1 f\9--\l-A,"N',9. \0 ~a,
                             lJ ·,\I ~lso          (\17tie.-

                      n:~~o\ 'D1 a~ t ~ fl c--t "1'e,\\\ °\ L-\ o"'U ,(2,~c- \\ e'(',
                       ~-\- ti)\Q.,         oF I t-\!L ::1u'< cl"'( s        ~ '{)--\-\<() S- , ~     ~ fr
                       ~ 9-"T\ ~ ~ ~~~ '<' ~ ('0 ~ , Sc., :{(\IX).Se,.~S                            ~ 9-,\- o
                       ¼\A+ \~ @\ ~eJl ,

                      So 1'-l1A+ ~ w oul}).. 0ic/}.. \-\+w~ .,..,~ w,+V'\,Q,'55 WV'€..-
                      ).l...Q.. ""1c:n;;i6)h6'<\e.- IJ'()   ~€,C.-At>~   \~!°::. 'OD""t ~ ~R              rn,c.
                      \\er -r\\ Pl'Y\ (f'(\ Q_, ~ "\,-- ~ . . ~ ~ s O -n1.P +- W l'7\J \f).._ ~ Q._.,~ \.\e,
                      0\-                                                I


                       R . ffi ,c. ,'\ttOJq h &u\O..S4,',ol') ,V\°\ ~ '<' 8-- \'\\'1ln ,~U\ wov\9-
          , _.,. . .,. ,.., m 1\)'( \\ i t O.Y-"f -
    -'D.fa 0l'-9- "°t'~() T u { f\ \ i-                         ~e,~ ~?
 Cour+ -Af\9- 1'\\"2() -\v,x'\ ,t ~~L~ d"'() 1-i" , \-\~~ w \1~\s
                  AJS(~1 -t& =f.Q. g_ fc)p..d<..
 ~~e <..t.5r
  (lvr o'C    So 1 \.k..f r-e 9 o·•r' '1 10 ~e w ~ Cr\).,t -r\4.af ~1~ rt>{0
        tu.PL ~ e, ~ P..~ 1'\-\~,--s, ~ \\Qr ,4;;>.sue..; p~f)....-;t trc-tuP\\.'1
                      d.• Bf'> i- w ~ 0-r 7b ·l\"=>~ -~~ l' t\aif Q.. fl l'"\ ~o~ wrb ~
                      ~~r-~4\'1 1essv-e✓s "T\-\~-r ff\'fC\'t\'t y-(U\J\r Q., \J~ To °\~Y
                      yDU fr~E-, 4---z &y\P l \I C \t(\ [)\ t>G·t<·t ..
VP.qQ., 4S J.
   J'uro,
        1) ,-A., "°l/5 at ~0 1 :t WPJ S i th Ot\ r'<"\ fl'\ -,Oi~e, ~-t- W(>i :S ,M-+
    L,Ol.> ( t J:.. f'D l'.5'(\-t t 0vv0 -r~ ~'(\.S~~
       1) -J~ , :t tD~t K'{) 5\.v Tt\.e- {))~~~~(' e,,+--\ta.r) w~ \\ o'rA1p
                 O liv, A, ~Y\9-:tm °}0.-1 (\"\ To \~"\ \ () \P\~ n~\)L\
                  l 6\J 9, 70 1'\-k_ Ll\K0'{"6 .-, () 1 ~ "<:') ~G\<- ~Y\ \-ul,f,(' ()'\e.~
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?t96Je@
(':>78) ftrt1'<~ C\o~Q., '2- (\~u1\-\
                 L 1+t\ B r+~

                      wHt}--t X ""f-a,el T~ f'\0efL ,o c.,\p<'ll~'\ f:>~oo
                      \.\-e- ~CD, c9- W 1-J ~ \+ W f\ S O b "t' C:..\e..,f), .\ f\ , ¼L f)v Q.~ V ~
 "v.oq(l... sq 9-

    Cour T           W 0 s T \"1-etQ.. Soo)",Q,4-\r, (\'\ 0\ av n Q,e 9-'?
        V ,A.         :Y ~V')i- W ~()T TO me~ 5 <.J 0e-.- \ F \ ' ~\\                  '(\1)-\-   cSy)
                      ~ w~ .~
                                           1
                                               ')"\' W0f\i-\b    -+es-+ -t~ p,v ,-o -:f-~
                     A be-,      ef5-Q cc)()f). (_,~c. \-()
    CODrt            l1) O es \~v-<2-, S v(y\Q.., -:f-..e av<l.. bflG K > T +i \ ~ d)' Q,' o"()
                     So ,f: '1 ov wBf'-t- ,o -\-e...s~ ,+ w'l\\l'- ,--\~ on ~

                     :Tvn q 0 '1 r"\°\ 7'Q (\) \'41\ -r~ 6Q-'S't' ~ J...,S>c:..\ t?~u,e., l ~._Qj~1
                     '-1 6U G.A'0 ~ k r➔ ,, t5vt9.qe.., c..P,'C\ 5 \-\Q.. C,- 15'('(\ <Q_, cl.a . ~
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                       o C\ v A-T A~ou't F ,vE'.., ('l\ , i\v-1'Q.5 ~f"t~ cfo\ 0 w;+\\
                      ,\~ l'~tt 1"'SSve~ r -e,,s.o\v~f) . l'\-w\f) w C-AY\ \\t)~Qul½
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                                                                            435                                                                                              436

                  And s o , I wan t t o c aution f olks in this day and ag e                                         MR. SCHMONSEES:      Can ' t tell wh o 's smi l i ng or ~

 2   o f cell phones , I mean, I'll admi t I ' ll l ook at my ce l l ph one                    2   f r ownin g ?

 3   usually every five minutes.          You ca n't do that in a j ury trial.                 3                     PROSPECTIVE JU ROR:      Th at 's right.

     You ' re goi ng t o go severa l hours .                                                                         MR. SC HMONSE ES :   How do you do t hat with witn e sses?

 5                And we c an't r eplay te stimony .        And i t 's reall y                 5   Ha ve you even th ought about th a t?

 6                                                                                             6                     PROSPECTIVE JUROR :      Su re .

                                                 that ea s y with this mask o n .                                    MR. SCHMONSEES:      I don't think I covered this .           You

 8                                               everyone else? , r                            8   are the third group I' ve talked to , but as we ta lked about

 9                 PROS PECTIVE JUROR:      Barely. + , -               _ __ __,:1,.---J-      9   conduct o f a tria l is people ask questi o ns , you are go ing t o
10                MR . SCHMONS EES:    Barel y , okay .     Harder to                         10   hea r from two 9-year o l d s, actual l y f our ch i l d ren of va r ying

11           we 're dealing with Covid ?                                                      11   ages .

12                You're shaking you r head, sir.                                             12                     And it is my ob lig ati on and my job to ask them

13                 PROSPECTI VE JUROR :     I mean, it's frightening t 1S"'see                13   qu e s t i ons.     Is there anybody wh o f inds t hat offensive that a

14   the Covid n □rn~spike everywhere (indi s ce~A ib l e) .                                  14   chi ld should not be sub j ect to c r os s-examina tio n by an adult ?
15                MR . SCHMO~          Has ever yone been comf ortable with                   15                     PROSPECTI VE JUROR:      How does a child, I mea n, how
16   wha t we 've done here today to kee p the mas ks on and th e so cial                     16   does a child make decisions (indi scernible) .
17   distan c in g ?                                                                          17                     MR. SCHMONSEES:      Well, th at'll all
18                PROSPECTIVE JUROR:       I miss see ing p eopl e ' s face s .               18                     PROSPECTIVE JUROR:       Help --
19                MR. SCHMONSEES:      Yeah.                                                  19                     MR. SCHMONS EES:     You're go ing t o hear ev iden ce --
20                PROSPECTIVE JUROR:       Seeing what their reacti ons are.                  20                     PROS PECT I VE JUROR :   The child has t o sign off on
21                PROSPECTIVE JUROR:       Yeah.                                              21   that?      I mean
22                MR. SCHMONSEES:      Fa c ial expressions.                                  22                     MR . SCHMONSEES:     You ' ll --
23                PROSPECTIVE JUROR:       Facial express ions.                               23                     PROSPECTIVE JUROR :      -- does she understand?
24                MR . SC HMONSEES :   Ye a h.                                                24                     MR . SC HMONSEES:    You'll hear eviden c e abou t t hat
25                PROSP ECTIVE J UROR:     You ha ve t o read eyes and       -4--             25   t omo rrow.
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                              . CERTIFICATE OF SERVICE

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cASE NUMBER: (ifknown) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       COMES NOW,        ro   IC b} f}<l l C \-lt)f\p @c1 (\(_ , and certifies the following:

That .I am incarcerated by the Oregon Department of Corrections at .5 (\ P:'EL         62? ~ r:
   Gxr -e     0d: 1)1{\ A\ -;I\0S--b'{t cl: tiS)'.\
       That on the  J. 'i? day of fe b J ftt: ~ , 20 'd-6, I personally placed in the
                                         r
Correctional Institution's mailing service A TR'©E COPY of the following:

             E           f-/ 1£

      I placed the above in a securely enclosed, postage prepaid envelope, to the person(s)
named at the places addressed below:




Page 1 of 1 -Certificate of Service                                              Form03 .015
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                                                                                    429                                                                                               43 0

                      THE COU RT:      Ms. Landers or Mr . Powe ll ?                                      i nto ano th er c at eg or y , I think it 's mos t peop l e fra nk l y, who

 2                    MS. LANDERS:       Tha nk you, Your Honor .                                     2   don ' t want t o be here .

 3                    Good afternoo n , Mr . Poe , how a r e yo u?                                    3                   The y don ' t wa nt    o hear .     They do n ' t want even

                      PROSP ECTIVE JUROR:         Good aftern oon .                                       s omet i mes t o kn ow t hat th in gs l ike this ha ppen in our

 5                    MS . LANDERS:      I had a l i t t l e bit of                                   5   (indiscernible ) .         It ' s incred i bly (ind i s c ern i ble ) .

 6   you - -                                                                                          6                   But the first type of pers on, the type of person who

 7                    PROS PECTIVE J UROR:        Oh.                                                     s i mp l y ca nnot mana ge thi s t ype of c a se is some one who do es n ' t
                                                ==-==-
 8                    MS. LANDE RS :     But gol most of it .                                         8   I indi s cern i ble) .

 9                    PROSP ECTI VE JUROR:        Oka y.                                              9                   The s econd type o f pers on i s some one who maybe ca n

10                    MS . LANDERS :     Am I t oo c l ose.    Are you okay ?                        10   wor k th e ir wa y a nd may be st r uggl ing.            And so , what I' m wh at

11                    PROSP ECTIVE J UROR :       Yeah .                                             11   I ' m t r ying t o figure is are you th e f i r s t type o f person o r a r e

12                    MS . LANDERS:      Okay .    I don ' t wa nt t o v i olat e                    12   you t he s econd t ype ?

13   anybod y' s s oc i a l di st a nc i ng .                                                        13                   PROSP ECTIVE JUROR:          I Indis ce rni ble ) .
                                                                                                                                                       ---=::::::
14                    So , Mr . Poe , I t hink t hat the di ffi cu l ty i s tha t thi s              14                   MS . LANDERS :     Yea h .

15   type o f c a se i s a type o f case where it ' s just hard f o r                                15                   PROS PECTIVE JU ROR :        Sounds li ke th e f irst type
16   i ndividuals t o so r t of conf r ont t he i ssues th at a re present                           16   I i nd i s ce rnible ) .
17   he re .                                                                                         17                  MS. LANDERS :       Oka y .
18                    And o ne of the ways t hat I try to wo r k i t -- work                         18                   PROS PECTIVE JUROR :         (I ndi scer ni ble ) , you know, the

19   t hroug h myself is th at , you kn ow, t here are some people wh o                              19   accus a ti ons just i s overwh e lming .
20   cea))y jus t can ' t be on a j ur y of this type be ca use t he ir                              20                  MS . LANDERS :      Okay .     Okay , t ha nk you .
21   pe rso na l exper i ence is such t hat it overw helms them, the i r own                         21                   No object i on .
22   life experien ce s an d emoti ons ove rwh e l m t hem and t hey ' re unable                     22                   THE COURT :      Le t me make su re I ' m loo king at t he r i ght

23   to pay a tt en t i o n.     Th ey 're un a ble t o se_a rate f rom t hemse l ve s               23   pe r s o n .   I s it Mr. Poe, s ir?
24   e s se nt i al l y .                                                                            24                  MR. SCHMONSEES:         It is.
25                   And the n, we have a who le bunc h o f people wh o fit                          25                  THE COURT:        I 'm going t o ex cuse you , s i r .     Tha nk you
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 2
                 MR. SCHMONSEES :

                  PROSPECTIVE JUROR :
                                         Okay .      Anybody e lse ?   Okay .

                                               I usually that I have no issues
                                                                                -
                                                                                411



                                                                                                  2
                                                                                                                  PROSPECTI VE JUROR:

                                                                                                                  MS . LANDERS:     Okay.
                                                                                                                                            Yes .
                                                                                                                                                                           41 2



                                                                                                                                             You don't need t o tel l us about

 3   about ( i ndi s cernible ) .                                                                 3   i t.

                 MR. SCHMONS EES :       Yea h.                                                                   PROSPECTI VE JUROR :      Oka y.

 5                PROSPECTIVE J UROR:          Medi c al appo intmen t s.                         5               MS. LANDERS :     Your medical .

 6               MR. SCHMONSEES:         0 1:ay.                                                  6               PROSP ECTIVE JU ROR:      It is impo r t an t t o go .

 7                PROSPECTIVE J UROR :         And I think that in terms of                       7               MS . LANDERS:     In that c ase, I think it 's approp ria t e

     (indis cerni bl e) .                                                                             t hat sh e woul d be e xcused f or ca use .

 9               MR. SCHMONSEES :        Oh.       Okay.                                          9               And then, wh o else were we ?

10                PROSPECTIVE J UROR:          But (indiscernible) Thu rsday , s o .             10               MR. SCHMONSEES :     Mr . Gordon's go ing t o miss f our more

11               MR. SCHMONSEES:         Okay , thank you .      Thursday                        11   days o f wor k.

12   appointment.                                                                                12               MS. LAN DERS:     So , Mr. Gordon, I guess the ques tion

13               Anyb ody else?        And did you want to i nquire o n the                      13   would be, you kn ow, is this a hardship that would c rea te a

14   finan c ial hard ships or wa it ?         Ms. Krel ov i ch (pho ne t i c ) has --           14   signifi ca nt finan c ial issu e for your fa mi ly ?

15               THE COURT:         Let me ask Ms. Landers.                                      15               PROS PECTIVE JU ROR:      It would prevent me from be ing

16               Ms. Landers , do you wa nt t o i nquire of Mr. Gordo n                               ab l e t o move int o the apartmen t , beca use I wouldn' t be a bl e to

17

18

19
                    -
     (phonetic) or Ms. Kre lovich?

                 MS . LANDERS:        I had a l it tle t rouble hear i ng .

     j ust goin g t o mak e sure I understand.
                                                                                  So I 'm

                                                                                                 19
                                                                                                      make th e downpayment.

                                                                                                                  MS. LANDERS:

                                                                                                      e xc usin g Mr . Gordon.
                                                                                                                                    Okay.    I don' t -- I'm fine wit h



20               Ms. Krel ovich, wh at I t hin k what your indi cated was                        20               THE COURT:      With it, I'm the j udge that empanels the

21   t hat you ha ve s ome medi c al appointme nts tha t have be en                              21   grand jury eve r y month.      And the way that I ask this of my

22   s c heduled f or a whi le                                                                   22   gr a nd j urors is would it make you unable t o put f ood on your

23               PROSPECT IVE JUROR:           Ri ght.                                           23   ta b le or pay your rent or mortgage if you are ch osen?             They o f

24               MS . LANDERS:        -- t ha t if you miss them, you can ' t get                24   cou rse are chosen for a fu l l month.         So we 're t a lkin g about a

     in until January and this is s omet hing of some urg ency f or you?                         25   much l onger commitment.
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                                                                         3 87                                                                                                 388

                 And s o , if some on e wou ld lik e t o vo lunt ee r, I'd like                                MR. POWELL:          I'm s orry , wh a t 's tha t?       don' t a lwa ys

 2   t o know what is it you're go ing to be listening f or when you're                     2   hea r , s o I a po l ogize .

 3   trying t o determine wheth e r s omeo ne s houl d be belie ved o r t o                 3                  PROSPECTI VE J UROR :          A fe e ling .   Some times you ha ve a

     what e xtent you should be lieve t hem ?                                                   f ee li ng ( in dis c e rn i bl e ) .

 5               And t hat's s omething you probabl y don't think a bout                    5                  MR. POWELL:         Okay , s o just your perc epti on o f how

 6   mu c h i n your day- t o- day life (indis c erni b le ) peopl e you kn ow.             6   they come a cros s to you when they ' re up there.

     Take a moment and really think about when you're li s tening t o                       7                  PROSPECTIVE J UROR:            And that c ertain l y would n 't be

 8   s ome s trang ers up t here pot entia l ly in t he course of five or                   8   t he onl y thing .        Ob vi ously, what he says carry a l ot of wei ght .

 9   six days , what are you go ing t o be listen ing f or t o dec ide                      9                  MR . POWELL:        And if I can try a little b i t dee per,

10   whe t her you believe what they say?                                                  10   when you 're l ooking at s ome one or l i sten i ng t o someone talk,

11               PROSP ECTIVE J UROR:     (Indis ce rnib l e ) subj ec t mat ter           11   t here are a number of things that give you a feeli ng about ,

12   e xper ts that present on a topic .                                                   12   right ?

13               MR . POWELL:    Okay, s o when you' r e ta lkin g about facts             13                  And s ometimes it's e xpressi ons or the way t he y t al k,

14   a nd dat e s , t hings that while s ome may o ffer the ir pe rspec t i ve             14   things like t ha t .         What s orts o f aspe c ts of s omeone's t estimony

15   o r an op ini on , s ome t hin g th at independen t ly verified, so like              15   do you th in k might impact the way you feel about them as t o
16   co rroborat i ng informa ti on (indis cernible) that's s omething.                    16   wh ether you ca n t rust them?

1:               PROSPECTIVE JUROR:       ( Indis cerni ble) as well .                     17        -=-::> PROSPECTIVE JUROR:                I think it ' s go ing t o be a li tt le
18               MR. POWELL:     So by what ?                                              18   more d i ff i c ult with the masks.
19               PROSPECTI VE J UROR:     (I ndi s ce rnible ) o th er pe ople as          19                  MR. POWELL:         Uh-huh .

20   well.                                                                                 20                  PROSPECTIVE JUROR :            Because you 're not going t o         e

21               MR. POWELL:     So if mu tiple pe ople ' s t es timony is in              21   a ble t o see --

22   line, that 's s omethi ng that you woul d lend some wei ght to ?                      22                  PROSPECTIVE JU ROR :           Body la nguage .
23   Okay, I -- wh a t e lse?    Wha t o ther s ort s o f thing s a re you go ing          23                  PROSPECTIVE J UROR:            Yeah .
24   t o be listeni ng f or?                                                               24                  PROS PECTIVE J UROR:           Fa c ial expressi ons .
25               PROSPECTIVE JUROR:      I do a feeling .                                   5                  PROSPECT IVE JUROR:            Facial expressions.
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                                                                            3 41                                                                                         3 42

      t he woman sitting even in the fr ont r ow.                                                              THE CLERK :     Hello?

 2                MS. LANDERS :     Yes .                                                      2               MR. SC HMONSEES :       Speaking .

 3                THE COURT : So I j ust want ed t o let you kn ow that is
                                                                           "\                  3               THE CLERK:      Judge Weber?          was speaking .




                                                                                                                                                                ----
      i n process right now.       I do n ' t kn ow wha t t he a ns wer is and I                               MR. SCHMONSEES:         It's no t amplifying .

 5   ( don 't what the an swer is going t o be .                                               5               THE COURT:      Can you pu l l the microph on e .      Stay where




                                                                                                                             ---
 6                MS. LANDERS :     So may I ask , do these mi c r ophones                     6   you were.    This is excel ~
 7    amplify?                                                                                 7               THE CLERK:      Okay.

 8                THE COURT :     I believe that mi croph on e may ampli f y a                 8               THE COURT:      Pull the microphone down .

 9    little bit if s omeone is very close t o the microp hone.                                9               THE CLERK:      Judge Weber?         Judge Weber?

10                Carly , c an you pretend to be a witness f or us ?                          10               MR. POWELL:      Do we have      he capab i lity t o increa s e

11                THE CLERK:      I believe --                                                11   the volume com ing out o f the se speakers?

12                MR. SCHMONSEES:        I re call (ind i scernible).                         12                        ----- ---------
                                                                                                               THE _OURT :     That I don ' t know .      We have our Tech f ol k

13                MS. LANDERS :     Beca use I know t hat in the court r oom                  13

14    below us, those microph ones do amplify.                                                                 THE CLERK:      He ' s actual ly he re._...

15                THE COURT:      Carly 's goi ng t o be our pretend witness.                                  THE COURT:      -- f ol ks here right now .

16    Can you talk?                                                                                            UNIDENTIFIED SPEAKER :        Hi.

17                THE CL ERK :    Hell o?                                                                      MS. LANDERS :     Hi.

18                MR. POWELL:      Yeah , that ' s amp li fi ed .                                              UN I DENTIFIED SPEAKER:       Oka y, s o that c ame up

19                THE COURT:      Now sit back and ta lk there.                                    specifically t o figure out what work best f o r you guys t oday?
20                THE CLERK :     He llo?                                                                      THE COURT :     What we need and my understanding was

21                THE COURT:      Th at does n't amp lify.      Pull t he                          that the mies that we r e be i ng obtained for coun se l were
22    mi c rophone down .   Does the microphone move?                                              ampli fi cation mies and not d ire c t int o FTR mies and being told

23                THE CLERK :     Yes.                                                        23   ' =:-=--:-==--:::-:::::-"1"'::'""'~
                                                                                                     that they are direct i n FTR =mies-
                                                                                                                                       . ----
24                THE COURT :     Pretend like you ' re a ch ild wh o is very                 24               We 're   av1ng serious p r ob lems with f olks in the back

25    sma ll, speaking quietly .                                                              25   o f t he c ou rtroom that a r e soft spo ken being heard by t he
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                                                                              339                                                                                       34 0

     we need at least - -                                                                                       THE COURT :     Is t ha t co rrec t with th e math ?

 2                  THE COURT:         had a lready started doing the mat h .                  2               MS . LAND ERS:      Ye s.

 3                  MS. LANDERS:       -- two and possibly three.         And I t hink         3               MR . SC HMONSEES:       Yeah.

     Mr . Schmo nsees was in agreement .                                                                       THE COURT:       I think you al l have heard me say I was

 5                  MR . SCHMONSEES:      I ' m fine wi th t hree .    I th in k that          5   an alternate once.           have very st r ong feelin gs that altern at es

 6   makes sense, un less somebody gets Covid.              Or e ve n i f you get a            6   should not know that t hey are alternates
 7   c old , you're no t going t o wa nt t o come in , r ight ?                                                MR . SCHMONS EES:       I ag ree.

 8                  TH E COURT :     I completely agree.      I would no rma ll y do                            THE COURT :     - - given that experience that I had.           So

 9   on e in a normal time, but I think that three is a ve r y smart                           9   they won ' t be t old.      Their se at i ng will be random ized .    We will

10   number .                                                                                      all know ve ry cl ear ly wh o the altern ate s are , bu t the y won ' t

11                  My math then would be that woul d be 12 jurors , 3                             know till the e nd o f t he tri al .

12   alter nates , 6 c ha lle nge s e ach s ide.      So we would then need 15                                 Th e ot her t hing that I have learned this morning

13   pl us 12 is 27 .                                                                       """"",.,,...L we have been proceeding is this . J pe mi ~ e ~~
14                  MS . LANDERS :     But then we ea c h get two -- we ea c h get                 Cou r t has t o use on counse l do not amplify .        They only serve

15   one challenge f or the first two alternates ; is that ri ght?                                 fee d in to th e FT R.

16                  THE COURT:       Oh, we need -- t hank you .                              16               The only way that voices could be amplified I'm
17                  MS. LANDERS:       And then , one challe ng e f or alternates             17     - rin   i s f or ever        - - d eve ry -counsel a----=-=:==.=>
                                                                                                                               juror                     nd every li s ter,e r

18   3 and 4.    And we don't have a 4, s o i t would be f our more .                         18   t o have an aud i o- enhanc i ng devic e t o enhance the FTR .

19   Fou r more ?                                                                             19      ~                     ferring with our tr i al co ur t adminis t rat or
20                  THE COURT :      So 12 j uro rs, 3 alternate j urors , 6                  20   right now about how we c an res olve this is sue, be cause I 'm very
21   c hallenges pe r emp t ory t o t he main pa nel fr om t he p l aintiff                        co nc erned that we may have two soft-spo ken young ch i ld re n, who
22   from t he Sta t e, 6 ch a l l enges fr om the De fense.          Then two                22   a re testi f ying .
23   c hallenges ea c h side f or the alternates f or a t otal o f 12 , 15 ,                  23              _ I ' m having problems hearing you when you are fa c ing
24   15 plu s 12 i s 27 pl us 4 is 31.                                                        24                 And I am having very serious problems hearing t he
25               MS. LANDERS:          Okay.                                                  25   fo l ks in t he back of the courtroom and s of t-s po ken peo l e l i ke
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     1   ~              PROSPECTIVE JURO R:     (No aud ib le r e spon s e . )                         want to I indis c ernible) "Law and Orde r" and some of like ethe

                 ~   ) MS . LANDERS:    What about you, what do you thinl:?                        2   true crime type shows, one o f the types of evidence t hat peopl e

            ~           PROSPECTIVE JURO R:     If I sa w?                                         3   hear a lot about a l ot is f orensic (indi scer nible ) .

/          r\_          MS. LANDERS:    Yeah.                                                                      It is unlikely that you will hear any eviden ce, like

     5    , ~PROSPECTIVE JUROR :                {Indi s c ernible. )                               5   anyt hing about any f orensic eviden ce in this c ase.      Mr.

     6                  MS. LANDERS:    I can't hear you.,.;::                                     6   Schmonsees talked about t he judge will ins t ru c t you that the
                                                                 ....
     7                  PROSPECTIVE JUROR:        would think that it was raining                  7   testimony of any witness i s sufficient to prove any fact in

     8   outside.                                                                                  8   dispute.

     9                  MS. LANDERS:   Okay.    And are you comf orta ble with                     9               And so, for juro rs, the evidence that you r eceive

    10   drawing that co nclusion even though you haven't left the                                10   c omes from what the witness has t old you.        Is there anybody who

    11   courtr oom and gone to a place where the re 's a window and l ooked                      11   feels li ke I c an't rea c h a verd i c t based just on what I feel

    12   outside?       Are you comfortable saying it must be rainin g?                           12   (indisc e rnible ) ?

    13                  PROSPECTIVE JUROR :     {Indiscern i le.)                                 13               PROSPECTI VE JU ROR :   I guess {in discernibl e. )

    14
         ~            ....
                     ,_-- S . LANDERS: Okay , I think that I' ve had a little                     14               MS. LANDERS:     Let's t alk about that.
    15   trouble hearing and I apol ogize.          And I ' m a littl e bit                       15               PROS PECTIVE JUROR:     So (in discernible) one pers on

    16   conce rn ed throug hout the course of the trial that you all, if                         16   will tell you {indis cernibl e ).     And ultimately, if you have one

    17   any o f you (indiscernible) will have trouble hearing as well                            17   pers on (indis c ernibl e) the o t her person, then you ha ve

    18   with masks and with -- especially with the masks.                                        18   (indis ce rnible ) pers onal {indis c ernible).
    19                  Are you all able t o hea r me?       Okay.      And if there's            19               MS . LANDERS :   Well, I think that's
    20   ever a point and you're in this cour t room and you c an't he ar,                        20               PROSPECTIVE JUROR :     (Indis c ernible.)

    21   be su re and let us know, let th e j udge know, or the judge ' s                         21               MS. LANDERS:     I think that's an important thing t o

    22   c lerk know immed ia t ely by raising you r hand or something like                       22   talk about because I know what you're talking about is

    23   that.                                                                                    23   c redibility, right, that some pe ople when they tell you
    24                  So Mr. Schmonsees, I th ink, s ta rted talk in g about t he               24   something, you are evaluating what you hear fr om them and
    25   types of evidence (indisc ern ible).          And one of the types that I                25   making a decision about wh o you find t o be more c redi ble.




                                                                                                                                                                                 (r(
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                                                                           27 5                                                                                      2 76

                                                                                                              An yb ody else wh o f e e ls like th ey woul d be triggere d?

 2   now , yeah ...                                                                          2   Mr. De fid e r (phoneti c) , did I say that r i ght ?

 3                  MS. LANDERS:     Okay , th at was goi ng t o be my next                  3                PROSPECT I VE JUROR:    Yeah.

     questi on .                                                                                              MR. SCHMONS EES :   Yeah , you feel l i ke it ' s a

 5                  PROSPECTIVE JUROR:      Yeah.                                            5   triggering e xperien c e?

 6                  MS. LANDERS:     I don ' t have a ny mo re questi ons for Ms.            6                PROSPECTIVE JUROR :     Yes.

 7   McCormick.                                                                              7                MR. SCHMONSEES :    You're feeling emotional ?

                    THE COURT :    Do you have an object i on t o a c ause                   8                PROSPECTIVE JUROR :     Yeah.

 9   ch a llenge?     Do you have an objection t o a c aus e challenge?                      9                MR . SCHMONSEES :   Feel l ike yo u might -- I had a j uro r

                    MS. LANDERS:     No , Your Honor , I don ' t.                           10   once who said , hey , I could do th is, I ' m a su rvivor and t he n

11                  THE COURT :    All right, ma ' am, th a nk you f or the                 11   she started cryin g duri ng ope ning s tat ement .        So it 's better

12   informat ion you ' ve sh a red.      And at t his time, gi ven t he                    12   that we ge t thi s out o f the way now, right?          So I appre c i ate

13   represent a ti on s you made , I'm go ing t o excu se yo u fr om being                 13   cando r.

14   juror on t hi s ca se.                                                                 14                Your Honor , I chall enge f or c a use .

15                  If yo u could take o ff your -- they used t o be                        15                THE COURT :    Ms. La nders or Mr. Powell?

16   buttons.       Now th ey ' re badges, I gu e ss.    If you can take off t he           16                MS. LANDERS:     Th an k you , Your Honor.

17   badge .    J us t l eave it r i ght on your seat where you're sitt in g .              17                And how do you say your last name?

18   And you ' r e now free to go.                                                          18                PROSPECTIVE JUROR :     Defider_:.-   ~
19                  PROSPECTIVE JUROR:      Thank you.                                      19                MS. LANDERS:     Thank you.     Ms . Defider, I gues~         he

20                  THE COURT:     Than k you ve r y mu c h f or your                            same qu esti on f or you t hat I posed t o th e j ur or t hat we j us t

21   partic i pation.                                                                            l e t go .

22                  MR. SCHMONSEES:      I think Ms . Landers , who 's a D. A.                                You know , unde rsta nd ing that these cases are hard for

23   he re , sh e just used a great wor d and t ha t 's r ea l ly what            wan t          any pe r son , do you believe t hat you are sort o f uni uel y                  it

24   t o f ocus on to f o l ks who don ' t thi nk they can be fair and

     impart ial, if you feel like you wou ld be triggered .                                                   PROS PECTI VE JUROR :
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                                                           J                    263                                                                                              264

           - 1counse l c on f er . )                                                                                  Th i s is Ju dg e VanDyk ' s court r oom, s o I wouldn' t

                    THE COURT:         Thank you very muc h .    Excell e nt.                     2   e xpand that as         normal l y do , whi ch woul d be t o all ow you a ll

                 problems with the aud i o - enhanc i ng devi c es and static.                    3   coffee or tea or whate ver other nonalc oholic beverage o f your

           we ne ed the t h ree mi c roph ones t o amplify voi ces o f co nsel                        c ho i ce , but I will extend it t o wa t er , gi ven t hat we're i n

           the wi tness, but the most important righ t now is the                                 5   tri a l.

     ADA- complian t te c h .                                                                     6                   MR. POWELL :     Tha nk you , J udge .

               (Counsel confer . )                                                                7                   MS. LANDERS :     Thank you .

                    THE COURT:         Couns e l, I wi ll a lso not e it l oo ks like                                  HE COURT:      Test i ng, testing , testing, test in g ,

 9   you ' re loo king t hrough jury questi onnaires a             this po int and                9   tes ti ng .     Can you hear me, sir?

10   someone -- I think I heard someone remark that somebody had n' t                            10                   THE DEFENDANT:       Ye s.

11   been excused .                                                                              11

12                  If you have addi tional stipu l ati o ns ab out f o l ks that                12                   THE DEFENDANT:       Ye s.

13   s houl d be removed f r om your pa nel , please just let me kn ow and                       13                   THE COU RT:     Th a n,: you .    Tha nk you ver y much.         ~hink   I
14

15
     we'll t ake those f olk s o ff the l ist and excuse them .                                  14

                                                                                                 15
                                                                                                      we a r e ready to go at this point .

                                                                                                                      And then again , at some poi nt in the near f ut ure , not
                                                                                                                                                                                               1
                    And I sh ould als o note you have all moved t o the

16   ot her side of c ounsel table, s o you ' re address i ng t he ba c k of                     16   emergent , we just need the three mi c roph ones for counse l to

17   the c ourt r oom, whi c h ma kes complete se nse t o me.           And I                    17   have on them t o amp l if y their voi ces and one f or th e wi tne s:; .

l8   :::or-,p l e te l y validate t hat decis i on and your loc a tions.                         18                   UNIDENTI FIED SPEAKER:           Oka y .
19                  MR. POWELL:         Oh , J udge, one questi on .   In terms of               19                   THE COURT:      So we' l l need thos e three , bu t not

20   wa ter , is it okay if we bring up a wat e r bottle or s omet hing                          20   immed i at e.
21   l i ke th at they can sip from a s oppose d t o hav in g c ups out                          21                   UN I DENTI FIED SPEAKER:         Okay .

     a nd - -                                                                                    22                   THE COURT :     Than >: you .
23                  THE COURT:         I have no p rob lem whats oeve r with counsel             23                   TH E CLERK:     Thank you s o mu ch.
24   ha ving a bottle of water, as long as it has a lid on your                                  24                   THE COURT:      Okay , so I thin k t hat we a re now re ady to
25   tab le.                                                                                     25   go.   The other questi on I would have , counsel , is as it re la tes
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                                                                          25 9                                                                                      260

                    MR . POWELL:    My dad' s hard of hearing an d then he's                    juror.    And th e n , if I have a moti on, I wou l d j ust l e t them go.

 2   an att orney.      And my brother is a pr of ess i onal actor .      And s o ,         2               But is that enough of an a nswe r t o the que sti on?

 3   between the two o f them, I kn ow enough about sound s ystems t o                                      MR . SCHMONS EES:      Ye ah, it's l ike s ome judges don ' t

     figure out a couple of things , but --                                                     want me t o do i t in f r ont o f the jury , l ike c hal len ge f or

 s                  MR. SC HMONSEES:     Do we wan t t o talk ab out how you                5   ca use.

 6   wan t t o t ake perempt ories?       I don ' t remember wha t your r ule               6               THE COURT:     I t h i nk the re has t o be a challe nge f o r

     was .                                                                                      cause i n front o f the ju r y .     I think t hat t here has to be an

                   MS . LANDERS:     ( rn iscernib l e. )                                   8   oppor t uni ty for the other side t o ask questio ns in

 9                 THE COU RT:     Peremptor ies o r c a use?                               9   re ha bili ta t i on and for the Court t o inquire of the juror as

10                 MR . SCHMONS EES :   Sorry , f or cause.                                10   well.

11                 THE COURT:      Given t his type of a ca se ?                           11               If you all have a -- a n op ini on about a differe nt way

12                 MR. SCHMONSEES :     Yea h.                                             12   o f proceeding th r ough that, I will a c cept wha tever stipulation

13                 THE COURT:      If there is s omething that a juror i s                 13   you al l wish t o make.
14   un comf o r t a ble discussing , we wi ll clear t he courtroom o f a ll               14               MR . SCHMONSEES :      I think that's fine , J udge .   And I

15   the i r ju ro r col le agu es and you ca n inqui re o f th at one                     15   j us t s o you kn ow th e number o f pe ople that I mar ked ba s ed on

     indi v idu a l .                                                                      16   the questionnaires is about ha l f , but we sti ll have en ough t o
17           ~     Th e good news is that J udge Rastetter's cour troom is                 17   have a t r ial , not assuming that they're all getting st r uck .

l8   not in use t oday .     So we can shuttl e th em back and forth very                  18               But even if t hey were, I don ' t -- I had a tria l

19   easily, but if we have a ju ro r having any hesi t ancy, we will                      19   (indis c erni b le ) we're sti ll worried about having juror s, but
20   take ca re o f it t hat way.                                                          20               THE COU RT :   Robin ?

21                 If we have a j u r o r , whi c h I sPe freq uent ly on t hi s           21               THE CLERK:     Do you need me t o find Tec h?      ~
22   ki nd o f case and I know you see as we l l, who immediately is                       22               THE COURT:     Desperately . ~

     e xpress i ng deep levels o f emo ti on , fight ing ba c k t e ars , c rying,         23               THE CLERK:     I will go fi nd ~hem .   .<,-
24   and th at kind o f a s i t uati on, I would no t be in cli ned to                     24               THE COURT:     We c annot proce ed any farther until we

     furthe r i nqu ire o f them i f th e y indi cat e they simply c an' t be a            25   have assistance with the audi o- enhan cin g devices f or this

                                                                                                                T ~CH 'PP-- o\) \e{)')S ~ l L
                                                                                                                    Tl-le.- JvJq&. S f .:S ,\e. l
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                           THE COURT:     Someone from Tech is on their way righ t                                                    THE COU RT:   Go r i ght a he ad.      Mr. Schmons ees , we' re
        2      now.                                                                                                 2   going t o       I 'm going t o continue t o r emain here t o work on th e
        3                  MR. SCHMONSEES:        How about now?                                                    3   tech issues -

                           THE COURT:     Tes ting, testing, testing , testinq:        %                                              MR. SCHMONSEES:        Okay .

        5      testing , testing , t esti ng ~ test in , te s ti ng , t est i ng .   The re is                      5                 THE COURT :       and t o speak with Tech about get t ing

               a pot entia l , Mr . Schmonsees, tha t he's a c tually t uned in to                                  6   the microphones . "-:---
               a nother court room .                                                                                7                 MR. SCHMONSEES:        Okay.
                           MR, SCHMONSEES:                                                                                            THE COURT:    If you 're not c omfortab l e wi t h that , I ' l l

               ruling .                                                                                             9   go off the record .
                           THE COURT:        It's not s urpr ising to me.                                          10                 MR. SCHMONSEES:        I am, Judge .
                           MS. LANDERS:        (Indiscern ible,)                                                   11                 THE CLERK:    Let me see if I can ge t them here.
       12                  MR. SCHMONSEES:        There was a motion to continued t hat          Couy-t(2.o<Vr) 12                    THE COURT :   Do they know that we als o need the
       13      was just granted.                                                                                   13   mi crophones?
       14                  THE DEFENDANT:        All r ight .                                                      14                 THE CLERK:    Yes, I (indiscern i ble) .
       1:,                 THE COURT :       I am not con t inuing this case, s o was not                          15                 THE COURT:    Thank you .
       16      me for the record.                                                                                  16                 THE CLERK :   I don't know that they ' l l have them for
       17                  MS. LANDERS :       Tech should be on the way , but I - -                               17   when they arrive.
       18                  THE COURT:        Tech will als o be able t o tell us about                             18                 THE COURT :   We' ve now had Mr . Schmonsee s leave t he
       19      the mi crophones .      Do you all need th ose for your voir dire?                                  19   room .     The on l y issue we wil l d i scuss is the techn ology .      K"'
       20                  MR. SCHMONSEES :       I wou l d like that , please .                                   20                 Are they on their wa y? . , _
       21             (Co unsel confer . )                                                                         21                 THE CLERK:    I have not heard.
                           THE DEFENDANT:        I hea r other court.                                              22                 THE COURT:    Can you do an APB?          ~
       23                  THE CLERK:        Oh, it's still there?      Okay.                                      23                 THE CLERK :   (Indiscernib le . )
       24                  MR. SCHMONSEES:        Judge , can I have a two -minute                                 24                 THE COURT:    Okay .     Have we gotten a respons e that
       25      break?                                                                                              25   someone has eyes on Tech? ~
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     were test if y ing and that chi ld' s parent o r gu ardia n di d not
                                                                                                                                                                            - 250

                                                                                                           plex ig l as f or t he judge a nd the wi tnes s, po ten t i a ll y we could

 2   want them t o have a mask off of their fa c e.                                                  2     move to that c ourtroom if it's an i ssue.

 3               I wo uld be ext reme l y hesitant t o order t hat that                              3                 I f I have a mot i on from one of the pa rtie s th ough, a
                                                                                                                                                                                         -
     c hi ld then remove the mask, g iven the age and gi ven th e med i c al                               r eques t fr om one o f th e parties that one of t he witness e s

 5   problems o f Covid.                                                                             5     e i the r de finitely have a mask removed or defini te ly have a mask

 6               I f t ha t ch i l d 's parent or guardi an ha s made i t very                       6     on, then we'll need to take t hat up at tha t point in the t rial.

 7   c lear that the y are t o a lways be masked when out in publi c , I                             7                 One of t he issues i s the abi l ity of the witnesses to

 8   am not go ing t o ove r r i de that parent's dec is ion due t o t he                            8     be heard t hroughou t the c ourtroom.       I don ' t kn ow how l oud tho se

 9   medi c al co ncerns.                                                                            9     c hildren speak .   When I have an adu lt , I can usually conv in ce
                                                                                                          -------------------------- -
10               MS . LANDERS:     Okay.                                                            10     them t o spea k l oudly.    We c an admonish them over a nd over

11               THE COURT:      I don' t kn ow what has happen ed be tween                         11     aga in .

12   that child and that parent or that ch ild and that gu ardi an .             I                  12                 I don ' t kn ow what kind of c hallenges we're go ing to

13   don' t know if that c hild will be more comf or tabl e without a                               13     have wi th th ose youths.

14   mask.   I don ' t know if tha t c hild wou ld be mo r e comfor tab l e                         14                 Th e ot he r questi on would be a s i t relates to the
15   with a mask .                                                                                  15     microph ones.    Do we onl y have two ?     Do we have more than t wo ?

16               Wha t I'd like to do i s reserve a decision about                                  16     If we ha ve one that we cou l d put on c hild , then her or h i s

17   masking of the child re n.      When they testify , I will note f or                           17     voi ce woul d be able t o be heard better.

18   t he re cord this cou rtroom unlike my cou rtroom and Judge                                    18                 I don't want to make a decisi on ab out that ri ght now

19   Karabeika's cou rtroom has no plexiglas on th e ben ch, has no                                 19     because I th ink th at we need t o work ou r wa y through t o that
20   ple xiglas a ny where, has no plexiglas around the witness stand                               20     point and see how tha t goes.
21   o r between the j udge a nd th e witnes s .                                                    21                 MS . LANDERS:    I do n't disag r ee wi th that.    And I

22              There are diff ere nt courtr ooms , i. e. J udg e                                   22     think that th at' s a good idea.       My pri mary con c ern is making

23   Karabeika 's court room where tha t plex ig l as is in place at least             K~~ .:,,,;i.; , s ure that the j ury c an hear _t:h'lm..
24   for t he Co urt.   I do n't re call if it is f or the witness.                  ~~     24                    THE COURT: Correc t .
25               If we ha ve a cour troom in the courth ouse that has                               25                MS . LANDERS:     And it ' s very diffi cult often f or
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                   And I have r o t heard anyth ' n     fr om Mr. Sc hmons e es                 wearing the i rs , but    hen there are different the o rie s about

 2   that he i s highlighting an y pa rt of ch os e interviews that he                      2   whether the witnesses sh ould wear them o r wh ether the at t orneys

 3   believes should be reda c t e d.      So I i nt e nd t o o ffer t hos e as I           3   sh ou ld we ar them duri ng question in g f r om th e c ounsel table.

     ·re cei ved them.                                                                                      MR. SCHMONSEES:      I want eve ryone to be wearing a mask

 5                 THE COURT:     Mr. Sc hmo ns ees, any t hing in t ha t regard?           5   at all times in li nes with Oreg on Health Au th o r i t y's

 6                 MR. SCHMONSEES:      Not as t o the interviews of Olivia                 6   re commendations .   Just becaus e we're in a trial doe sn ' t mean

 7   and Avery.                                                                             7   that Cov id can't be cau ght in here.

 8                  THE COURT:    As t o the pretext ph on e ca l l , redacted              8               We wore a mask the wh o le time in my (indis c ernible )

 9   version?                                                                               9   trial in th i s courtroom.     Some o f the j urors had a hard time

10                 MR . SCHMONSE ES:    I listened t o it, Judge.      I think it               hearing .

11   was fin e .                                                                           11                 understand Jud e Steele told me after we tal ked

                   MS. LANDERS:     Thank you.                                             12   about after that trial t hat s ome microph ones were obt ained.             3:•

13                 THE COURT :    Thi s is the f i rst trial with a jury tria l            13   I woul d ask be able to use the microphone on my l a pel.

14   t hat I have held since we have been under the Covid status.                          14               THE COURT :
                                                                                                                                               ---
                                                                                                                           Do you know where tho se are ?

15   What have the other judges in our county been doing as i t                            15               THE CLERK :    I don't .

16   relates t o masking of att o rn eys, masking of wi tnesses?           Is              16               THE COURT:     Le t 's find out fr om Te c h, thank yo u .

17   there a consensus that you have seen or are we simply taking                          17               MS. LANDERS:     And if I c ould j ust respo nd ?    I woul d

18   thi s o n a case- y- case ba s is ?                                                   18   s ay that with respect t o the Cov id rules, they typi c ally do not
19                 MR. POWELL:     Judge, maybe I can be helpful in that                   19   apply t o many childr en.

20   regard.       I've had a co uple of trials since the Cov id outbreaf:,                20               So out in the c ommu nity, while adults are re quir ed t o

21   and different judges have different rules as i t relate s to                          21   be masked, c hildren are typically not required t o be masf:ed.

22   witnesses .                                                                           22               THE COURT:     How o ld are the c hildren at issue in th i s
23                  It seems t o be pretty consisten t t hat j urors would be              23   case?

24   wearipg the i r mask s ,     nd that att o rne ys , if t he y 're going t o           24               MS. LANDERS:     They are 10 .
25   a pp,oach the jury for instan ce in c losin g or ope ning, wi l l be                  25               THE COU RT:      would be extremel y hesitant if a c hild
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                                                                          235                                                                                       2 36

       ass i sted lis te nl~g device .    We' ll need t o tinke r with the                                    I do note s ome peop le I' ve s een that have hearin g

 2     l i ste ning devi ce.                                                                2    a ;. ds have a cha lle nge wit h t he combinati on of     he hearina ,id

                     He wa s not able t o hear -- I trust you got my email                  3   and t he assisted li:U,ening de v i c e.
 3
                                                                                                _ . - -=                                  ==So whatever we~-         t o do

       yesterday, J udge?                                                                        t o mak e sure that he can fully here the proceeding, we will

 5

 6
                     THE COURT:   I --
                                  -
                     MR. SCHMONSEES:

                     THE COURT:
                                     .
                                         He was not --
                                                   ----
                                   Let me put on t he reco rd what I was doing
                                                                                            5

                                                                                            6

                                                                                            7
                                                                                                -take c a re o f.
                                                                                                                -==-
                                                                                                             Deputy , let's go ahead and unless th e Sheriff's

                                                                                                 Off ice has conce rns you want to articulate, go right a he ad .

       yesterday afternoon.        As is always my pra cti c e, I read the                                   UNIDENTifIED SPEAKER:        Okay .

 9     e nti r e court file, both of th e entire court files tha t ar e                     9                MS. LANDERS:       Your Hono r, the pa rties be f o r e you

10     before me and noted there was an asser tion in a doc ument filed                    10    ( indisce rnible ) have bee n t alking abou t wh et he r o r not

11     that your cl ient was deaf and hard o f hearing.                                    11    (indi sce rnibl e) at t his t ime around at counsel table and f ac ~

12                   And I was i mmediately ve ry concerned that we make                   12    out i nt o the pa nel o f j uro rs.

13     sure that he has the a bi lity t o hear the entire proceeding,                      13       ~ And I don't know if that's goi,ig t o wo rk f or t he                   I
       i nquired of the parties whether he needed an Ameri can sig n                       14    Cou rt or not.     We'll have our back t o the judge , but we won't
                                                                                                                                                                               I
15     l an uage interpreter or other accommodati ons under the                            15    be able t o see t he juro rs.                                                 i
                                 ----------
16     Ameri c ans with Disabilities Ac t.
                                      -===--==-----
                                                                                           16                THE COURT:     I would never anticipate t ha t you would
                                                                                                                                                                              4---1
                                                                                                                                                                                  ,
            ~ ~                                                                            17    have your backs t o the j uro rs .      I would mu ch prefer th at you
17

18     had tro
               - And the response from Mr. Schmonsees was that he had ;

                    le hearing Judge Rastetter'       ru l i n _, but that if his         18     are addressin g them and the witness es , et cetera , in a way t nat
                                                                                                                                                                               I
19     hearing aid battery is cha rged, th at may res o lve the i ssue.                   19     you ' re most comforta ble .

                     I'm paraphrasing Mr. Sc hmonsees' words and I may be                 20         _,;;;. So I wou ld even encourage you as long as we can ma ke            I
21     do i ng that incorre c tly .    If I am, I ' m s orry, bu t I do not e that        21     sure a nd Ca rly is spectacular about maintain in g a r eco rd, as

22     we have the assisted listening device .                                            22     long as we c an make sure tha t your vo i c es a re being pi c ked up ,

             .---;,. And I 'm hearing a buzz mys e lf.    So what we w~                   23     I don't c are where in t he we ll yo u are or how you are

24
                                             =
       we will give you the opportunity t o make sure that t ha t i s                     24     positio ned.

25     fun ctioning.                                                                                         If e i t her o f you would like, i t l oo ks like we a l s o
     _;;>
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                                                                             15 7                                                                                             1 58

                   MR. SCHMONS EES :      Okay .                                               1                  THE COURT:       Yes.

2                  THE COURT :   -- f o rmat , o kay , but I , you know, if we                 2                  MR. SC HMONS EES :        -- t hat you had?
3    can get it down , then I don ' t have s o much time f or th e jurors                      3                  THE COU RT :     Oh, o kay.

     fil li ng this out.                                                                       4                  MR. SCHMONSE ES :         10 , 22, 23 , 25, 31?

 5                 Keep in mind whe n we bring jurors in , a nd we ne e d to                   5                  THE COURT :      Yes.

 6   ma ke th is, you know, appropria te f or Mr. Champag ne as well , but                     6                  MR . SCHMONSEES:          Okay .

     whe n we bring j urors in, they come in, t hey go out, they l eave .                      7                  TH E COURT:      And 31 on appears t o be the genera l

 8                 We have to clean ou t the room be f ore the next batch                      8   questi ons f or j urors , whi ch may be on our general

 9   comes in.      And s o , it's a hassle , okay?       But we ' re dealing with             9   quest i onnai r e.    We -- if we give a spec i al one like this , we ' re

10   it.     And so, but that 's one of our co nce rns is how l ong it' ll                    10   not go ing t o give the ge neral one.                 So I want t o make su re that

11   take.                                                                                    11

12                 MR. SCHMONSEES:        Your Hon or, can I just co nfirm ?                  12                  MR. SCHMONS EES:          Ri ght.

13                 THE COURT :   Yes.                                                         13                  THE COURT:              we have the same questions there .         And

14                 MR. SCHMONS EES:       I Indiscernible .)                                  14   I don ' t kn ow if it needs to be more expansive th a t , you kn ow,

15                 THE COU RT:   I can ' t hear you .     Could you -- you ' re               15   is on here or not .           I don't know .         You guys t ake a loo k at i t

16   cut ting out.                                                                            16   firs t before I have t o we igh in on that , ok ay?

17

18
     1'
                   MR. SCHMONSEES:

                   THE COURT :
                                          10, 22 --

                                 Okay , now you're cu tting out and I c an ' t
                                                                                     ~~       17

                                                                                              18
                                                                                                                  MS . LANDERS :

                                                                                                                  MR . SC HMONSEES :
                                                                                                                                     Yea h.

                                                                                                                                            Yeah.

19   he ar    ou a t all , Mr. Schmons ees.                                                   19                  THE COURT:       Ye s , Ms. Albr ich , did you have anoth e r

20                 MR. SCHMONSEES :       Sorry.                                              20   quest i on ?

21                 THE COURT:    Okay.                                                        21                  THE JURY COO RDI NATOR:             I think you address ed it.

22                 MR. SC HMONSE ES :     If I can get somewhere rea l quick.                 22                  THE COURT :      Okay .

23                 TH E COURT:   Okay ,                                                       23                  THE JURY COORDINATOR:               My concern i s that we wil l not

24                 MR. SCHMONSEES:        I just want ed t o confi r m the                    24   do our questi onnaire .

25   que sti ons                                                                              25                  THE COURT:       No .
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                                                                                                                                                                            fX'


                                                                    145                                                                                              146

          (Call t o order at 8:45 a.m.)                                                                 MS. LANDERS:       Present in the courtroom in addition t o

 2             MS. LANDERS:     Good morning, Your Honor.                                2   myself, we have Mr . Powell with my office.

 3             THE COURT:

               MS. LANDERS:
                              We're on the record, counsel?

                                We are.
                                                             µQP"'\,--,.
                                                                             ,,          3

                                                                                         4
                                                                                                        THE COURT:

                                                                                                        MS. LANDERS:
                                                                                                                        Uh-huh.

                                                                                                                          We have Mr. Champagne present in

 5             THE COURT:     All right, folks, I'm Judge Steele.         I'm            5   custody and Mr. Schmonsees is appearing by phone.

 6   takin g off my mask so you can hear me.        I understand we have                 6              THE COURT:      Okay, you sho uld know I also have Maria

 7   Mr . Schrnonsees on the telephone and I want him to be able to                      7   Albrich in the courtroom, who is our jury coo rdinator.

 8   hear me as well, but you -- and I'm here and you're out there.                      8              MS. LANDERS:      Okay.

 9   So here we go.                                                                      9              THE COURT:      Okay, so i n case there were procedural

10             You want to call the case, please, Ms. Landers?                          10   issues that we needed to address today, she, you know, is the

11             MS. LANDERS:     Yes, Your Honor, State of Oregon v.                     11   horse "s mouth, as they say in any event.             Okay.     Yes?

12   Michael Wayne Champagne, case number 19CR60073.          This is time              12              MS. LANDERS:      So it's Mr . Schmonsees' moti on, so I

13   set for a motion.                                                                  13   think I'll let him go first.

14             Mr. Schmonsees filed a motion requesting that the                        14              THE COURT:      Mr. Schmonsees, anything you want to tell

15   Court approve of a jury questionnaire for this jury trial that                     15   -- well, let me ask you, does the State have any objection t o

16   is scheduled to start in a little more than t wo weeks .                           16   the Defense filing a juror questionnaire?

17             THE COURT:     Isn't that the 13th, October 13th?                        17              MS . LANDERS:     The State has some objecti ons t o the

                                                                                        18   s pec ific que stionnaire filed.
                                                                                                                                                        ..::::::::::::-
18             MS. LANDERS:     13th.

19             THE COURT:     Yes, 14, something like that.                             19              THE COURT :     Y? u J)'.lGa.n..-1: Q s pec ific pi eces of it --

20             MS. LANDERS:     Maybe right at.                                         20              MS. LANDERS:     __;t.e.al-1-.

21             THE COURT:     Okay.                                                     21              THE COURT:      -- or the f act that the re is one?

22             MS. LANDERS:     And the State was previously                      .     22              MS. LANDERS :     No, the specific qu e stions .
                                                                                                                      _ _ _ _ ___::::::::;:;=-=         c::::_:.::
23   represented by Ms. Vogel.         She is leaving the office, so I' rn              23              THE COURT: Oka y.
                                                                                                                 - - --==,---------
24   taking over at this point.                                                         24              MS. LANDERS: The State is somewhat on the fenc e

25             THE COURT:     Okay .                                                    25



                                                                                             -------
                                                                                             abou t wheth er or not a questionnaire is appropriate or
                                                                                                                      ---- -                       ~
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                                                                       1393                                                                                 1394

                MR. SCHMONSEES:         Yeah, I shouldn't have put that.       I          1   You guys o kay with that?

 2                                                                                        2              MS. LANDERS:      Th at 's fine.

 3              THE COURT:     That's the title.                                          3              THE COURT:      This -- then I still have Defendant's

                MS. LANDERS:     Yeah, that's the title.                                  4   prior conviction, an       ob ' ection?

 5              THE COURT :
                                    _________ -
                               I have special jury instructiof!....JlU!llb.l tL L
                                ...._
                                                                                          5              MR. SCHMONSEES:~

 6   requested by the State.       And I have something titled _                          6              MS. LANDERS:      What's the number on that one?

 7   modifications to State requested Williams instruction as                             7              THE COURT:      1023.

 B   presented by the Defense.                                                            B              MS . LANDERS:     That's s o I can find it .

 9              MS. LANDERS:      I don't have any further argument.                      9   (Indiscernible.)

10              THE COURT:     Okay.      Any further argument, Mr.                      10              THE COURT:      Did you want to see the paper copy, Ms.

11   Schmonsees?                                                                         11   Landers?

12              MR. SCHMONSEES: ~                                                                        MR. POWELL:      No.

13              THE COURT:     Ms . Landers, I frankly agree with Mr.                                    THE COURT :     He said no.

14   Schmonsees .   Special jury instruction number 1 is difficult to
                                                                                                                    -- -
                                                                                                    (Counsel confer.)

15   read and difficult to comprehend.                                                                   MS. LANDERS:      Reading the (indiscernible) Mr. Powell

16              And if I were a juror, even with legal knowledge, I                                          a nd I don't know i f he said that loud enough for the

17   would have a hard time filtering through what it was that I was

18   supposed to do with it .                                                            18   modified Williams instruction, the prior bad acts instruction

19              I think that instruction entitled modifications to                       19   should take the place of that instruction unless of course the
20   State's requested Williams instructions is clear.            And it is a            20   Defendant ends up testifying, in which case that sort of

21   correct statement to the law.                                                       21   broadens the use that the jury can make of the prior

22              We need a different title it for it, though folks,                       22   conviction .

23   that would jot -- it would go along with the other titles that                      23              But that ipstruction speci fically refe r s to the

24   we have.                                                                            24   Defendant's credibilit y , whi c h is not at issue without him

25              MR. SCHMONSEES:

                                        -
                                        How about prior bad acts evicteosa?              25   t estifying.
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                                           COGL I NJ ES E I ReD)                                                                                   COGLI ANESE IRe D)
                                                                                      l2 i l                                                                                                121 2

     t ime .                                                                                                     Ms . Pcla nd that all of my previ ous admo niti o s s Land that they

 2                  THE WITNESS:           Tha n k you .                                                     2   are re lea sed f or l un ch a nd t o have t hem bac k at we 'l l sa y l

 3                  THE COURT :         Tha r, t: you ve r \' much .                                         3   o ' clock ?

                    MS . LAtJ::J ERS:      Wait f o r the ju ry t o c lear be f o r e you                                       MS . LAN DERS:     'fes.

     heod out .                                                                                              C
                                                                                                             J                  THE COURT :      I s that s u ff ic ien t o r do you wa n t t o t hat

               (Rec ess at 11 : 32 a. m. , recommenc in9 at 11 :4 8 a .m. )                                  6   t o happen here i n the courthouse?

                    THE COURT :         We ' r e on the record, 90 ahead.                                                       MR. SC HMONS EES :        That ' s fine .

 8                  MS . LANDERS :         Thank you , Your Hono r .          Your Honor we                                     MS . LANDERS:      Tha t 's fine wit h me.

           t ry in g t o ge t this worked out , bu t we ' r e having a little                                9                  THE COU RT:      Okay .     So , Ms . Pol a nd, i f you wi ll t hem

           t echnical dif fic ulty .               And it ma y require t he assist ance o f                            are r ecess in g ea r ly to res o lve te c hnical di ffi c ul t i e s.            They
                                                                                                 .lJ\..     ll   are        &11 of my prev i ous a dmonit i on! r egarding the r ule s the y

12                                                                                                          12   are gove rn ed by rema in in pl a ce and t hey s hou ld b e ba c k a t t he

13                  MS, LAN [1E RS :       Te ch pe e ce.                                                   13   Holman b ui l ding at 1 o ' clock.

14                  TH E COUfiT :       Ye s. ~                                                             14                  THE CLERK:       Yes.

15                  MS. LA!WERS:           Well, I t hin k it wou ld be myself and                          15                  MS. LANDERS:       Okay .

16   Mr . Powell woul d be t he tech people , but it ' s 11 :4 9.                    Dr .                   16                  THE COU RT :     Anythi ng f urther be f o r e we r ecess

17   Bou r g , her con fli ct has re s ol ved.                                                              17   until --

18                 , 5':l our su     esti on is th at we l ea ve this up maybe , a nd                       18                 MS . LANDERS :      No .

19   take our lun ch r e ce ss , and try t o fig ure out how t o ge t her                                   19                 MR. SCHMONSEES :           No , Ju dge.

     be ca use no t -- audi o is not s uffic i en t.               We also need video .                     20                 THE COJJ!<.T :    So if everybody can be read:; here a :1d

2i                  THE COLIRT:            apprecid~e t hat. .         Gi ven the t i me, that              21   r eady to 90 -t ab ou t fi ve minut es afte r 1 with th e t ech iss ue3

22   make s a lot of s ense .             Ra t her than have the j ury c ome ba c k and                     22   r e s o lvea , then we can hop full y streaml in e          he afternoon .

2)   t .g.;n have them file out aga in .                                                                    23           -,;,. I ' m as sumi ng, given our t imel i ne , th a t we are not
                   c::::::::::_____     :::::==-
                                        _

24                  MR . SCHMONSEES:               Ye ah .                                                       go i ng t o be finishing t oda;?

                    TH E r oul'T :      Would bit t,e s •if f ic i e nt f or me t o direct                                     MS. L~J~ ERS :      I t hin k that ' s a s a f e assump t i o n   7   ~
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                                         BOURG (X)                                                                                         BOURG (X)
                                                                            1321                                                                                              13 22

              Q    Are you spea kin g of poten t ia lly the pre e xt pho ne                                                        WENDY BOU RG (CONTINUED )

 2   ca ll?                                                                                   2                                       DIRECT E:O:AM HJAT ION

 3            A     Yeah , l i ke I sa id , I'd have t o rev iew my -- I do n ' t             3     BY MS . LANDERS:

     know .                                                                                                  Q    Thank you .        Ms . Bourg , do you r emembe r wh ere -- or

 5            Q     Okay , go a head a nd do i t .                                            5     Dr . Bourg , do you r emember wh ere we we re?

 6            A     The -- do we wa nt to t ake a break be cause it ' s 13                    6              A    Yes .       You were a sking wh at my sou r ce of i nformati on

 7   pages, s o ?                                                                             7     f or the c onc ern about the children, Avery and Oli via

                   MS. LANDERS:      I -- Your Hon or , I would as k that we                        ( ind is ce rn ible l .

 9   take a break s o sh e can review he r notes?                                             9              Q    Yes .       Were yo u ab l e to l ocat e that ?

10                  THE COURT:     Lad ies a nd gen tl emen , we' l l us e t his as          10              A    Yes , I was.

11   our afternoon recess .         We'll ta ke 15 minute s .     Pl e as e leave            11              Q    Wh ere di d you -- what is t he in f o rma io n that you

12   you r t abl ets fa c e down on yo ur chairs and we ' l l see you bac k i n              12     were in pos sess i on o f?

13   15 minutes.                                                                             13              A    There we re three s our c es f or th at s tateme nt .        One

14            (Recess at 3:34 p.m., re commencing at 3 : 55 p .m.)                           14     wa s

15                  THE COU RT:    We a r e back on th e record.     Are we ready            15                   THE COURT:         I'm sorry , we ha ve a juror raising his

16   t o br i ng back the ju ry?                                                             16     hand .

17                 MS. LANDERS:      Sure.                                                   17                   Sir ?

18                 MR . SCHMONS EES :    Yes, Your Honor .                                                        UNKNOWN JU ROR :        Uh --

19                 THE COU RT:    All r ight.    I d id appre c iat e gr eatly the                                THE WITNESS :        Oh , s orry , my mi croph one.

20   movemen t that happened wh e n Mr . Trayno r (ph oneti c) j o ined us .                                      THE COURT:         Are you having a hard time hear ing?             All

21   Ms. Ch in (ph one t i c) , for us , I apprec i ated your in vo l vement so                     ri gh , we wi l l --

22   we ke pt socia l d is t an c ing in the back.                                           22                   THE WITNESS :        Okay.

23            (Jury ent e rin g cour troom)                                                  23                   THE COU RT :       Thank you f or doin~ that .        Shooting you r

24                 THE COU RT:    Al l of our members o f tt,e j ury have                           hand up l ike t hat was perfect.

     re t urned.     Go a he ad with your ne xt quest i on.                                  :: s                 THE WITNES S :        : have th re e sources f or that
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                                           BOURG   ( X)                                                                         BOURG   { X)
                                                                       1331                                                                                    1332

           A     Tf. .;st I s co rrec t.                                                             I f you want t o ask me th e experience o f a man penetrating

 2         Q     And you would agre e t hat that i s something that is                    2   a child ' s vagina , is th at outside the range o f unde rstandin9

 3   outs ide of the normal development a l ra nge c f a 9- year- old                     3   you r experie ~ce of a 9- yea r-o ld c hi ld , I would answer yes t o

     c hild?                                                                                  that yes .    And I th ink that's really what you ' r e tr ying t o get

 5         A     Yes.                                                                     5   at .

 6         Q     And would you ag ree t hat it is wel l outside t he                      6          Q     I t hin k that was actu ally my questi on .

 7   normal developmen t a l ran ge ?                                                     7          A     Ye s .

           A     Yes.     As l ong as th e c hild ' s been pr ot ected f rom                         Q     Okay .

 9   inappropri a t e media , it's well out side the ran ge of expe rie nce               9          A     Yes.

10   o f a 9- year - o ld child .                                                        10          Q     So you ide ntifi ed t wo , what you identified a s t wo

11         Q      Protected f rom inappr opr ia te medi a or ind iv iduals wh o          11   countervailir,g biase s in -- particularly rela ted t o Avery?

12   s exually abuse t hem?                                                              12          A     Two co untervailing ?

13         A     Yes.                                                                    13          Q     Biases?

14         Q     And th e n , same wi t h the pen etrat i o n of the c hild's            14          A     Biases.

                                                                                                                                                   ,0
15

16
     vagina wit h a finger , a male finger , that would a lso be outside

     the normal range o f experience for a 9-year ol d?
                                                                                         15

                                                                                         16
                                                                                                     Q

                                                                                                     A
                                                                                                         G :ry , hard with a ma s: )+ ~
                                                                                                           I know .   It 's oka y.                      1
17         A     That's a let te r murkier be caus e kids sometimes probe                17          Q     With respe ct?

18   their own areas and they s ometimes engaged in mutual                               18          A     Most o f what I 'm hearing is fine .

19   expl o ration .                                                                     19          Q     With respe ct t o Avery and I -- wh at I want to talk

20         I don't kn ow tha t you c an say that that i s s o far outside                20   about now is the pro Defendant, the pro Michael Champagne bias?

21   the r ange o f be ha vi or .     ThPre's an instrument th at measures                           A     Ye s .

22    hat by Bill ,riedri ch {p honet i c) .                                             22          Q     And you would agree that that was clea r in the

           So ce rt ain kin ds -- s o wh en you say it r ea lly generall y                    informa tion t hat you re c ei ved that there was a s t r ong bias by

24   the penet ra tio n o f a vagina would be outside o f t he experience                     Avery ' s parents in favor o f the De fendan t?

25   o f a 9- year- o ld child, my an swer's no .                                                    A     A cl ear bia s.   Aga i n , I didn ' t have a measure o f the




                                                                                                                                                                           ..j
                                                                                                                                                                           ex,
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                                           M KOPP (D)                                                                                                            M KOPP (D)
                                                                                1429                                                                                                                                      1430

                   THE WITNESS :       Moll y Me l i nda Kopp , K-0 - P- P.                                         Q         How do you know Mi chael Champag ne?

 2                 THE COURT:       Please be seated.                                                    2          A         I've know Michael Champagne f or 11 years .                                            We were in

 3                 You may inqui r e.                                                                    3   a re l ati onship.

                   MR. SCHMONS EES:        Thank yo u, Your Honor.                                       4          Q _ _c
                                                                                                                         _ a_n_,_y_o_u_ t_r.;:y_ t_o...,:p_r_o_J;..e_c_ t ...;.y_o_u_r_ v_o_i_c_e_ v_e_r..;y~ l- o_u_d_l_y;._
                                                                                                                                                                                                                            ? _ _I

 5                                   DIRECT EXAMINATI ON                                                 5   know there ' s a l ot o f pe op l e in here , but i t helps if everyo ne

 6   BY MR . SCHMONSEES :                                                                                6   c a n hea r      ou and obv i ous ly about 40 feet away from he r e .                                              So

 7          Q      Ms. Kopp , do you know Michael Champagne?                                             7   you said

 8          A      Ye s.                                                                                 8          A         We 'd been a l ong-term rela t ionship.

 9          Q      Ca n you tell the jury how you know Mr . Champagn e?                                  9          Q         Long - term rel ati onship.                        Do you live t ogether or did

10      ~          THE COURT :      A jury in the ba c k of the courtr oom i s                          10   you l i ve t ogeth e r?

11              their hand .      Ma ' am , I a s s ume tha t ' s be ca use they c an't                 11          A         Yes.

12                                                                                                      12          Q         And f or how long ?
                                                                                          ~
                                                                                              ."\'}
13                 There is a microph one righ t in f r ont you .             Ca n you                  13          A         10 yea rs.

14   pi c k t ha t up and hol d i t close t o your mou t h , tal k in t o it.                           14          Q         10 yea rs , okay.                  And do you kn ow Avery Champag;,e?

15   I t 's s ome what a wkwa rd, but we need to ma ke s ur e t r.a t eve r yone                        15          A         I do .

16   ca n Hear you r voice.                                                                             16          Q         Do you know Olivia Alexander ?

17                 THE WITNE SS :      All rig ht.    Yes , I do .                                      17          A         Yes.

18                 THE COURT :      Can you al l he ar her?       Thank you.                            18          Q         Oka y.        Have you spent t ime wi t h them?

19                 MR. SCHMONSEES:         Di d you hear the question?                                  19          A         I 've s pent quit e a bit o f time with Avery , no t s o

20                 THE COURT :      Why don't you star t a gain, Mr .                                   20   mu ch with Olivia .

21   Schmonsees?                                                                                        21          Q         Okay , how about Stryker and As ht on?

22                 MR. SCHMONS EES:        Thank you .                                                  22          A         Yeah , Stryker , but not Asht on , no.

23   BY MR. SCHMONSEES:                                                                                 23          Q         Okay.         And where d id you live wi t h Mi chael?

24          Q      Ms . Kopp, do you know Michael Champag ne?                                           24          A         In Gladst one .

25          A      Yes, I d o .                                                                         25          Q         Okay.         We ' ve hea rd r efe ren ce t o a property in Mul i no?
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                                         M KOP P ( D)                                                                                  M KOPP   (D)
                                                                          14 33                                                                                          14 34

            A      Ne ver .                                                                      startled you?

 2          Q      Okay.      Are you aware that Mr. Ch ampag ne has a prior                 2           A       No, actual l y , when he got home, he was in a real good

 3   co nvi c ti o n?                                                                        3   mood.       We wen t fo r an even i ng ride on -- we had a li t t le

            A      Ye s , I am.                                                                  scooter tha t we wou ld take down and take rides an d go down to

 5          Q      How l o ng have yo u known about that?                                    5   th e r i ver.

 6          A      Sinc e we       e a rly on sinc e shortly af t er we me t.                6           Q       Okay .

            Q      Okay, so it wasn ' t a secret?                                            7                   And --

 8          A      No .                                                                                          Make sure you proj e ct your voi ce, okay?          You 're

 9          Q      Oka y.     Now you downl oa ded or did you downl oad some                                     lit tle softer.

10   video s?                                                                                                    Sorry.    No , it was a normal evenin g .        He was in a

11          A       I did.                                                                                         He said he had a great da y.

12          Q      Can you tell the jury s pec ifi cally what you were                                           Remember not to tel l me what anybody said.

13   dow nl oad ing and th en , we'l l l oo k at pi c tures o f them?                       13           A       Oh, I'm so rry.

14          A      They a r e v i deos ta ke n i n th e summe r or, we l l, s pring,        14           Q       One o f t he rules we have in Court, o kay ?

15   J un e 13 t h I believe i t was , ~019 .                                               15           A       Yes , I'm s or r y.

16          Q      Okay.                                                                    16           Q       So in terms of the videos that you downl oaded, how

17          A      He went to the ri ver with Gemma, Asht on , Olivia,                      17   were you able t o do t hat?

18   Stryker, Ave ry , and the Baby Matthew.                                                18           A       Well, they were -- he up loaded them fr om his c amera

19          Q      An d were you a t the r i ver ?                                          19   to Faceboo k.        So I downl oaded them.          They were in my compu te r.

20          A      No , I was not.                                                          20           Q       And how do we kn ow that Michael t oo k the se videos?

21          Q      Where were you on t hi s day ?                                           21   Mr. Champagn e , exc use me ?

22          A      I was home , ta king c are o f my mot her.                               22           A       Th ey were t a ken with hi s ph one.       I v iewed them on his

23          Q      Okay.      Did you s ee Mi chael that ni ght?                            23   phone and then re co rded them or upl oaded them.

24          A      Yes, I did.                                                              24           Q       And don't te ll me wha t he said, but could you hear is

25          Q      Did an ything happe n t hat was signi fi cant or that                    25   voice?
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                                         COGLI N:ES E (X i                                                                              COGLI ANESE 'XI
                                                                              11 91

     t ried t o pu t o n how do you say t ri e j ?                                                         Q        Wh a t s he t ol d you is tha t gr a ndpa was a t he r house

 2           (Vi de o e nds a t 10: 59 a . m. )                                                 2   babys i tti ng her a nd had as ked her if s he woul d s uc k on hi s

                   MR . SCHMONSEES :       As l ong as your mi c r op hone ' s on , you         3   p r i va t e an d s he s aid no .    And he wa l ked away ?

     c a~ s t ay t he re .   As l o ng a s you ' r e o k3y wi h t hat .   It sh o uld                      Doe s t r,a t r i ng a be ll ?   Tha    ·,,as at d i s cl os ur e o f

     be p i c ked up , I bel i eve .                                                            5   this -- we w· : 1 ca l l that -- we won ' t ca l l it an yt hi ng.             We ' ll

     BY MR . SC HMO:JSEES :                                                                         j us t call i t s omething sh e sa id .

            Q      And can you tel l t he j ury what sh e sa id i n th at ca ll ,                          A        So I don ' t re ca l l her sa ying that he was baby, i : t in g

     t he s e cond d is c l os ure in t his vide o ?                                            8   her, bu t she ha d menti oned t ha t i t ha ppe ned in he r r oom and

            A      I bel ieve s he star t ed sa ying he tried t o mak e me and                  9   tha: sh e -- he aske d he r t o do i t t o su c k his pri va t e a nd she

     I t hink she said t wi ce.          And th e n , s he want ed t o whisp er i t i n        10   said no .

11   rr,y e ar.                                                                                11                   An d ther., you ask ed some f o ll ow up que s ti or.s t o

            And at chat poi nt , I rem inde d her t hat Ms. Pet e r s e n a nd                 12   wo 1       a ss ume t r y t o e stab li sh i f he made a ny a t t empt or

     De tect i ve Bra y were behind th e mi r r or a nd that I woul d ha ve t o                13   su bst an tial s tep t o make th a t ha ppen , ri ght?

     s t ill s ay it , s o t hey heard i t .      An d th e n, I o ffered he r a               14          A        Yes , when a c hild tell s me th at somebody trie d t o du

15   c ha nc e t o wri t e i t down .                                                          15   o r tried t o do s ome thi ng t o t hem or t r ied t o make t hem s ome

16          So she c hose t o write i t down .         And th en , I be lieve t hat            16   make -- I ' m s orry , t ried th em -- tried to make them t o do

17   wa s i nt rodu ced as a n exhib it.           don' t r ec a ll the number.                17   someth ing t o him , I apo l og i ze , I tried t o f o l low up a nd

18          Q      Sorr e c t .    And th e n , do you have a memory o f rr,o r e              18   understand i f tri at wa s an at tempt t hat f a i l ed or an att,;,mpt

19   de t a i ls o f the d i s c l os ure i f I a s k you a f ew q uest i o ns dbout           19   t ha t \·1a s s ~ s f~

20                                                                                             20          Q        Okay , ar.d in thi , c as e , t he dis c l osure was ! nan

21          A      Poss ib ly.      I mi ght re fer t o my --                                  21   att emp t t ha t d i dn ' t go a nywhe re .    It was j ust a questi on a nd

            Q      And you c an go take your sea t f or a second .                             22   you walked away , co rrect?

23          A      Okay .                                                                      23          A        I don ' t recall if she said that he wal ked awa y o r

            Q      We'll p l ay the vi de o in a minu te .                                     24   not , bu t she sa i d she t ol d hi m no .

25          A      Th 2ink you .                                                               25          Q        Okay .   I ' m goi ng t o pl ay th e ne xt s e gme nt .
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                          l 1J$1'1'-y') /.,.GPGLIANESE (D)                                                                                  COGLIANESE (D)
                          ~ _           - }                                      11 35                                                                                              i U6

       m~· mic on t oo , becausg I rem emb er t ha t peo;; ~e ~-J~ r e hn. 11iri g                      a clo se relat i ons h i p .

       t r oub l e hearin g me .                                                                    2         ! t cou ld be because a child mig ht not disc l ose be cau se

                     l1S . LAIJDERS :   Can e ve r -,,b0dy he re me?    And co uld you              3   t hey ' r e worr i e~ about wh at mi ght ha ppe n t o ~hem o r t o the i r

       hear me be f o r e o r do I need t o repea t ?         Okay .   Tha nk you .                     f ami ly if they dis c los e .

  5    BY MS . LAN DE RS :                                                                          5         It - - a nother r eas o n why c hi l d migh t not disc l o se abuse

              Q      So based on t he i nf orma ti on that you have re ceived                       6   wou d be if the y ' ve been t ol d by t he person who was abus in g

  7    prior t o Ave ry comi ng i nt o th e Ch ildren 's Ce nt er, you h-d                              th e m t o keep ic a secret .

  8    rece i ve    info r mat i on that Ave r y had made a d i s cl osu r e?                                 Or i f t ney were in a ny way , sh ape , o r f o rm made t o believe

  9           A      That is co rr e c t .                                                          9   t hat they ' re comp lic i t i n what happe ned , tha t if th1; ch il d is

10                   Ar.d t he n Aver y d id not make a di s c losu r e t o yo u?                  10   cl os e , bo th the ch i l d and t he pe r so n who ' s abused t hem wo~ l d

11            A      Th a t is correc t.                                                           11   get in trouble .

12            Q      Oka y, I want to talk a l i tt le b it abou t the barriers                               The y co ul d a l s o -- a not her barri e r t o dis c l osu re c ou ld be

13     t o a child a nd a ch i l d ' s abili t y to ma ke a d i scl osur e of sexu a l             13   that t hey f ee l s r,ame and th e y f e e l as h.,m d about wh at Lar, pe>r,c d .

       3b use.     :s th e r e •e s ea rch a nd l ite r~ ture a r o und : hat sub jec t?           14         And an other pi ece co uld be tha t t here's what we ca ll                &


l5            A      Yes , i t ' s a ls o A t opi c d i s cus sed : n ou r Or eg on                15   nono ff e nding ca regi ver, wh ic h is t he care g iver who ha s no t

       I nt e r ~iewing Guideli nes , whi ch I wa s t a lk in g about yes t erd ay .               16   perpet ra t ed a buse on th e ch i ld , that if thi s not of f end i ~ J
, ..
'.            Q      And i s t hat s ometh i ng t ha t   a5   a f o ren sic interviewe r           17   caregive r is no t be:ieving the c hi ld , t ha t might be an o ther

18     you a re awa re of an d you kee p up on the l ite rat ur e and re s earch                   19   barrier to disclosure .

19     a r ou nd th a t tc p ic?                                                                   19         Anot her bar r ier is o r co uld be , f or e xa mp l e , th at t he

20           A       Yes .                                                                         20   c hild has made d i sc los ures i n the past and ei the r the s yst em o r

             Q       So tell th1; j ,iry a l i t tl P. b it about wh a t t he barrie r s           21   the family fa i led t o         r ote ct t he child .

       to di s closure are f o r a chil d?                                                                    Q      Oka y.   And s o , are s ome of those ba r rie r s to

             A       Sure.    So t her~ •s seve r al bar r i ~rs to ji sc l osure th a t                d i scl os ure somethin        tha t ca n al so impa c t re can tat i on?

24     we kno1-, about .     One o f t hem could be tha t the person who                           24         A      Ye s , a let o f ~h e se co uld i mpa c t a re c a nta t i o n ,

25     commi tted th e abuse is and th e ch i ld a r e ver y close .            Th e y have             espec ially if a child d i scl oses and t he re i s kind of some kind
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                                                                           1 04 1                                                                                        1 0 42

           A     Of 2019 , c o rrect.        May I have my report in front o f                    a nd fath e r , Steven and J acqu el ine Champa ne.

 2   me just t o make sure?                                                                   2         Q        hnd did her evaluati on f ollow es sen t i ally the same

 3         Q      Yeah.                                                                       3   pr otoco l as all of th e oth er Children 's Ce nter eva luat ion s ?

           A     Than k you.                                                                            A        Ye s , i t did .

 5         Q     And you have it?                                                             5         Q        She ha d an e xaminat i on wi th Ms. Pe tersen?

 6         A      Yes , I do .    It ' s J une 21st , 2 Ul9 .                                 6         A        Yes , she did.

           Q     Of:a y .   Th at was the very ne>:t day aft er Ol ivia ' s                   7         Q        And t he n you did a f orensi c interview of Avery

 8   eval ua ti on?                                                                           8   r::hampagne?

 9         A      Yes.                                                                        9         A        Yes.

10         Q     And wh o brought Ave ry to her evalua i on?                                 10         Q        And do you remember how mu ch - - how l ong that t ook ,

11         A     She was brought by her mot her and fat her, Steven and                      11   how l ong i t is ?

12   Jacqueline Champagne.                                                            0~     12         A        The int e rvi ew itself or the wh ol e evaluation?

13         Q     Oka y .                                                                     13         Q        Th e interview itself?

                 THE COURT :      Ms. Landers , Ms . Pol and is                              14         A        I be l ieve maybe around an hou r, maybe a l,ttle              ess

                of    he jurors repo rted to her                                             15   o r mayb e a little more.         I v iewed a ll si,: int erv iew~   r i o r ':.. o \ .....

                                                                                             16   my te s t ifying.       So I might be getting i t a li ttle mixed up and

                                    Okay .                                                   17   f or that , I apo logize.

18               THE COURT:       So using that portable mi croph one when                   18         Q        No problem , thank you.      An d did the interview occur

19   eithe r of you is question in g mi ght be a prudent idea .                              19   in a similar r oom t o the o ne that you talked t o Oli vi a in?

20               MS. LAJ!D ERS:     Is this bette r?      We ' ll hope f o r the             20         A        Ye s .
21   best with the feedback.                                                                 21         Q        We ' r e going to watch it in just a moment, but I

22   BY MS. LAN DERS :                                                                       22   wanted t o talk abou t a co uple of th i ngs befo re we get st a rte d .

23         Q     So I had j us t a sked you wh o brought Avery t o the                       23   Prior to i nterviewing Avery, you had received some informa ti on?
24   evalua ti on?                                                                           24         A        Yes , tha t is co rre ct.

25        A      Yes, on Ju ne 21 st , she was brought in by her mothe r                     25         Q        And wh at i nformation did you have when the int erview
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                                                                                    961                                                                                                       96 2


            A        ·t e s.                                                                                                  MS . LAlm ERS :         May I ho ld on t o t hese wh i l e she

 2          Q        And so , tha t ' s a way f or t he Ch i ld r en's Cen te r t o                     2

     t r ac k d i ffer e nt par ts , di ff eren t docume nts t hat need t o be part                     3                     THE COURT :           That ' s fine.

     o f a spec i f i c c h i l d ' s f il e?                                                                                 MS .    LAtJ[,ERS :     Tha n): you , You r Hono r .

 5          A        Corre c t .    And i t      lso h ciS kind o f a n S- d i g i t nu m •r            5     BY 1·1S .   LAi,DERS :

 6   ar th e bottom t ha t's speci f i c t o the ch ild .                                               6            Q        ·o at th is time , I woul d l i ke to go a hea d and play

            Q        Oka y .   Lik e a re cord number ?                                                 7     the i nte rview that you d i d wi t h Oli vi a Ale xande r on Oc t ober , or

 8          A        Yes.                                                                                     I ' m s or ry, on J une :Oth oi 2019 .

 9                   MS. LANDERS :        Your Ho nor , I would o f fe r State's                        9            A        Uh - huh .

10   Ex hibit s 12 t o 23 at th i s time?                                                            10              Q        An d I may stop it at va r i ous times and s o we can kin d

                     MR . SCHMONSEES :          No ob jec ti on .                                             o f sh ow s ome o f the d r awir,gs th at Ol iv i a did as best we c an

12                   THE COU PT :       Thos e will be r ece i ve d .                                12       ki nd of ti e them t o s pec ific porti ons of the i nt erview.

13           (State ' s Exhi b i ts 12 t hrough 23 admitted in t o ev ide nce ) .                    13              A        Ok~\ .       Wh ne ve r a c hild wr it es somethi ng o r draws
                                   I
14                   MS. LAN DERS :       And I ' m al s o go i ng to o ff er Sta te ' s             14       s ometh i ng , I t r 1 to na rrate it on video.                So , hopefull y , t r,a •

     S:<hibit 11 , wh i c h i s the vide o , t he DVD o f t he evalu ati on a nd                     15       he l ps , but

16
              ~·
     don ' t be lieve Mr . Schmons ees ha s a ny ob j e ction to tha t.                              16               Q       Okay .

17                   MR . SC HMONSE ES :        No basi s f or a n object i on.     No               17              A        -- vi e' 1 1 see .                      ~~
                                                                                                                                                                                        -
18   obj ec tion .                                                                                   18                       Oh , a nd wh i l e we ' re play i.ng t he v i de o, you need t .:,

19                   THE CO,JRT :       That ' 11 be r ece ived .                                    19       t urn o ff your mi c o r i t wi ll get f eedba ck .              ~
20           (Stat e ' s Exhibit 11 admitted int o evid en ce ) .                                    20              A        01: a y .

                     i·IS . LANDERS :     Thank you .                                                21                       Thece ' s a swit ch on t he ver y end .

     BY   MS .   LANDER S :                                                                          22              A        The on/o ff butt on?

23          Q        I ' m go ing to grab the now you have your own copy o f                         ::,3             Q       Yes .

24   ( ind is ce rni b l e) ; i s that co rr ect?                                                     ::, 4           A       Okay , tha nk you .

25          A        That is co rr ec t .                                                             25              (Vide o pl a ye d a : 1 : 46 p .m. )
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                                                              911                                                                                     912

            Q   And Ms. Petersen, who do you work for?                                 1         Then I went back to school and got a Master's degree

 2          A   I work for the Children's Center.                                      2   specializing in pediatrics.      I worked in primary care for

 3          Q   How long have you worked for the Children's Center?                    3   probably 17 years in a variety of cli nics.     I also taught

 4          A   I've worked for the Children's Center for seven years                      graduate students up at OHSU .

 5   now.                                                                              5         And then, I transitioned into the subspecialty of child

 6          Q   And what do you for the Children's Center?                             6   abuse from my work from primary care --

 7          A   I'm a nurse practitioner , so I provide the medical                    7         Q    Okay.

 8   part of the exams for the children that are referred to us.                       8         A    -- for the last seven years.

 9          Q   And just give us a little bit of information about                     9         Q    Oka y, and I think if you actual ly pick the mic up --

10   what the Children's Center is if you would?                                      10         A    Oh.
                                                                         t-}a ~r;'4
11          A   The Children's Center is a nonprofit organization                                     That mi ght stop that feedback that we're getting.

12   that provides child abuse medical assessments for children that                  12         A    Is that better?

13   are referred into us from a variety of sources with concerns                     13         Q    It is.

14   for child abuse and neglect.                                                     14         A    Okay .

15          Q   And you've been there for seven years?                                15         Q    You can either clip it to your lapel or you can hold

16          A   Correct.                                                              16   it.

17          Q   How long -- to your knowledge, how long has the                       17         A    Okay, I can try there.     How's that?

18   Children's Center been open?                                                     18         Q    Okay.

19          A   To my knowledge, the Children's Center has been open                  19         A    Better?

20   since the late '90s I believe.                                                   20         Q    I think so.

21          Q   Okay, and what is your background in educational                      21         A    Yeah, okay.

22   sort of your educational background and your training that                       22         Q    So you began as a primary care provider and then

23   enables you to conduct the examination?                                          23   transitioned into the child abuse sort of setting?

24          A   Sure, so I have a Bachelors degree in Nursing that                    24         A    Correct.

25   then gave me sort of as a staff nurse, regular nurse.                            25         Q    What kind of extra training did you receive in order
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                     MR. POWELL:       Tha nk you .
                                                                               -   815

                                                                                                                A      Yes , it cs.

 2                   Now, detec ti ve , I ' d l ik e t o p lay t he c a ll .     Becau se            2          Q      I t ' s now (ind is cernible ) .
 3   th e tec hn o l og y issu e s , if you co uld plea se turn off the                              3          (Vi deo pl a ys at 9:29 a .m. )

     rr,i ,:; rvpho ne h':re .   And I 'm goi r,9 t o as k :,;o u one que st io:1 a fter a                             MR .    BRAY :    Tod a y ' s date is ,Tune 1 ' 'I , '.; 0: 9 .

     b rie f ( indiscernible ) . _                                                                   5   watch, i t ' s r i ght at 3 p. m. in t he a f te r noo n.           ~hi s i s gc in g t o

 6                   THE COURT :      Mr . Powel l , ! f he's goin g t o be an s wer ~ng             6   be a pre te>:t ph one ca li att empted b:.,· Gemma Gedg e t o call

 7   ::i   ql1_ sti on , t he mic r opho ne wi ll                                                    7   Mi c ha el Champagne .         We ari: in o small c o nfer e nc e re am in t :1 e

                     MR. POv/ELL:      Yeah.                                                         8   investigati ons 1-1ing o f the Br oo ks Building.

 9                   THE COURT :      -- need to be t urned back on --                               9                 Go ahead .
10                   MR . POv/ELL:     Yeah.                                                        10                 MS . GEDGE:        Ma king the call .

11                   THE COURT :      -- s o t he rec ord is c l ear .                              11                 11R .   BRAY:     Oka y, pu t it up as loud as y o ;.i ca r,.

12                   MR . POWELL :     You ' re co rre c t , you ' re r i')ht , ~"Jdge .            12                 11S .   GED~E:     Ye ah .

     So rry if you could turn the mi crophone back on for on e q ~est ion                                              MR .    BRAY :    The vo lume s o t ha t we c an ma;'be hear .- :icn:
14   ( indis c ernible I .                                                                          14   he ' s sa yin g .
15             (Vide o plays at 9: 29 a . m. )                                                      15          (Phone r i ngin g)
16                   MR. BRAY:       Today's date i s J un e 18th, 2019 .         By my             16                 THE DE FENDANT :         Hell o?

     wat c n , it's r igh t at 3 p . m. in the aft ern oon .           Thi s i s go ing to          17                 MS . GEDG E:       Michae l ?
18   be a p re te xt ph one c all attemptea b i Gerr,11a Gedge t o ca ll                            18                 THE DE FENDANT:          lvha t ?
19   Mi ch a e l Champagne.         We a r e i n a sma l l con feren ce r oom in the                19                 MS . GEDG E:       We need t o talk .        Pl ease c an l cal~ t o
20   in ves ti ga t i o ns win] of the Broo ks Building .                                           20   you j~st one minu t e please c an I just talk t o you?                     Okay .
2i             /V ideo e nds at ~: 2 9 a.m. )                                                       21                 THE DEFENDANT :          Wha t?

22   BY MR . POWELL:                                                                                22                 MS . GEDGE :       Mi c hael , c an you hear me?
23            Q      So , De tective Bra y , i s tha t your vo i c e ,-,e j ust heard?              23                 THE DEFENDANT:           Yeah.

              A      Tha t 1<a s.                                                                   24                 11S . GEDGE:       Matthew doe sn' t f:n -'.> w I ' rr callin g , okay ?

              Q      And is t hat that cal l?                                                            All r i gh t , now you kn ow how an_ r y he is a nd wh at he wants t o
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                                                                               7 47                                                                                                       7 48

                     MR . POW ELL :    What?                                                             1   you ' re go i ng t o Wd nt us t o part of th e p re text phone ca l l .

 2                   THE COURT :      I assume thi s is going t o be ;omin g i n                         2   th i nk I' d p r efer not         o bri ng it up.

 3   through a wi tness on t he s t a nd ?                                                               3                  THE COURT :        My inc l in a ti on woul d be t o wa it until we

                     MR. POWELL:       Throug h thi s next wit ne ss, Judge .                            4   get c l ose t o that time .           If it ' s 5 : 30 .   If it ' s 4: 10 , and we

 5                   THE COU RT:      So that we wo uld ne e d ha ve the witness                         5   can play a ha lf a n hour o f the pretext c al l , I woul                 rat her do

 6   have the mi c r ophone on because t he re ' s no t an FTR mi c other
                                                                                            C u r,       6   that .      If it ' s 10 til l o r qua rt er t i ll, I thi nk that's a

     than one at this time.             So     hat wou ld be the FTP mi c through ~
                                                                                              \i «)f\    7   diff e re nt an a lysis .

     questioni ng and then the y would have t o tur n it off                                             8                  MS . LANDERS :       Okay .
                                                                                        ✓
                     MS. LANDERS:       And t hen turn it back on ?                                      9                  THE COU RT :       I w,:, uld als o be wonderinq if y e:1 al : f e ·~ ·

10                   TH E COURT :     And t hen , t urn it ba c k o n i f that ' s                      10   l ike we are on time with the witnesses as they are pr ocee Jin q

11   wh at ' s causing tr,e f eedba c k .        ~ Tee(-}                                               11   through with t he amount of time you a nticipated the tr i a l

                     MS. LANDE RS:      Okay .                                                          12   taf:ing .

13                   MR. POWELL :      Okay.     I t hink th is s ho ul d work fine .                   13                  11S . LAl-lDERS:     I do .

14   Okay , t hank you all.           I apprec iat e your time.                                         14                  THE COURT :        Oka y.

15                   THE COURT :      How many wit nesse s do ~,o u a ll have t his                     15                  MS. LA!m ERS:        I feel l i ke with the pace tha t we' r e

16   af te rn oon?                                                                                      16   at , we wi l l fi ni sh our c as e t omor r ow.

17                   MS. LANDERS:       So we ha ve one of Ms. Champagne t hat I                        17                  THE COURT:         Tha nk you .

18   d i d not expect t o last the entire hour .                                                        18                  MR. SC HMONS EES :          I agree.
19                   And the n, De t ective Br ay is in the hallway.           And his                  19                  THE COU RT:        Let ' s bring th e j ury ba c k.

20   t est imony i nc l udes the pre tex t phone ca ll , whi; h is 15 min ut e s .                      20                  And Mr. Pow~ll , are you ca lling the next witness?

     And I kn ow we won ' t ge t th r ough all o f that .                                               21                  MS . LANDERS:        I am.

                     So I don ' t know how th e Cour t exactly to pr oceed i f                          2~                  MR . POWELL :       This is will be Ms . Landers.

     t he Co ur t i s goi ng to want to brea k a li t t l e bit ea r l y before                         23                  THE COURT :        Thanf: you .
24   we start playing t he pretex t pho ne call .                                                       24                  MS. LANDERS :        And then, Mr. Powel l has t he ne xt

                 And then, start right up with t hat tomorrow or if                                     25   witness a f t er that .
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                                           A Ci-irl:•1PF-.G!JE ( iJ l



     about s ome ot he r stuff .

 2                                                                                                                                                                  / CU   Sd id,


 3




 5          Q
                                 his ton7u e ?

                                 so , 1 eah J
                     Okdy , did ~h~t ha pren o ne ti~e er more                  t~ ~ ~   o~ e t i me~         5
                                                                                                                              Ac

                                                                                                                              I...:   --
                                                                                                                   tappe ~e j : ~ ~- ~u .
                                                                                                                                          :. l itl _e

                                                                                                                                          o ;:c.1 ·.,. , ~on




 C          A ~         re than on 0                                                                          ti              A [         ! ovr. • ~ l::1 .;·,: .

            Q        And do you r emember a ny o f the p l ace s wh ere t h~t

 k   ha ppe r. ed?                                                                                                 yo     ~t !nk yo u we re wt,en this ~ as ha ~pe ning?

 9          A        (N ~r1audib le r e spo ns e . )                                                                                  Gii)
10          Q        You ' ve t al d ~s abo~;: some s 1..::"! r:ar,pe:1i r.g a t your

ll   nou se .   Did th at ha ppen at you r house ?

            A    6hir.i: so .)
D



15
     -      Q

     h appened?

            A    C
                     Okay , c an you th ink o f an~ o th~r plsce s wn e r8 it



                        t h in k his hou s e . )
                                                                                                            l}


                                                                                                            14

                                                                                                            15

            Q        Oka:,· ,                pl a ces?                                                      :r.
            A        I do n ' t knew.                                                                       17

lB          Q        Ar.c ·,:hen t ha t wo •1 :l r. acpe:i , would :!":a: ce or. -- -'OU l d                i.c!              A           Gerr,l'T,..:: an o Matt

19   1·ou r clo t.ti-es be on or wou l d y o'J. c l othes b e o ff?                                         19                ()


            A        Sometiffies a : itt le oit o: bo t h .

21          Q        Or.ay.     Le t • s c;; 11: rnosr         le t ' s t a l k spe~i fi ~lly                      co-:l y?

     ab out your body , lik e t he part o! you tha• usually has                                                                A      ~



                                                                                                                   ~    esc ~ons aoo u: ho w yo u •r _ fe ~ lin J, o ka;r           How -- !i rs : c ~ ~l i ,

     priva ~e hapr ~ned ?
        ----
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                                       A   CHAM~J..G!IE   :D )
                                                                                64 5

            Q     Wh ich one?                                                                                   A




 3
            A

            Q

      parts .
                <:I::tr,i n l: bot h or s o .      I c an ' t i ~

                  Ok ay , s o I want t o talk a l it t le            l t about body

                Can you tell me wha t body part arandpa used or i e ' s
                                                                                                   3            A

                                                                                                                Q
                                                                                                                                                                                               -
 5    put it tnis way .        Can you t ell me one o f th e body parts grandpa                    5            A     <i..::•n ' · • hink          so:))
 6    used to t ouch you on you r ~ror,t pr i va .,, ·,                                                                      O~b~ ,    j i d y e~ say : do Lh~fiJ. so o r              a c,n ' t ;:.hini: s c:

 7          A   e i nger )                                                                                      A (          I   d::,n't chHJt: so)
 8                I ' m so r ry , I ca n ' t ?                                                     8                         Ol:a ·./, '.'l'ere the~e any ol hf!r pa r ts o f his bo ·r1 t h ,:-i i             r1,~

 9          A
                ~                                                                                      t c ucne J you u~ your f: un L p rivBte w1 1h?
10          Q     Ok a:; , and how many tim'i!s do yc,u think that happe ne d?                    10            A            ·ies .

11    One t i me , more tita n o ne time ?                                                        11                         And di      he touch ·1ou 0 11 your f ro ri l pt iw, Lr• wi l!, t,i s
12          A     More than one time.                                                                   ro:1t i:,r~ 1, ate?
                                                                                                       - - = - =~-;;;..._ _ __
]3          Q     Wh e n h'i! couched you on you r front pri va te with his                       13            A     Q d,) n ' t        k>1ow.2

14    finger , d id he tou c h you on            he ot her ou tside of yo~r cl othes              14            Q            Okay .     Is that par t es peci a l ly ~ard co :alk ab o•,L.
1:,   o r on the inside or your clotl,es?                                                                                    ( Nonver al r e spur1se . )

            A     I nside .                                                                       16            Q            Oka y .    Wnen yo~ s a y you uDr1     1
                                                                                                                                                                        t   ~ ~~0w ,   do
17          Q     And where were t he places , like the buil d i ngs or                           17   you           svm~ ti mes pe opl~ si.J.y I don'             tnow becaus~ t hQ/ Jon '

18    pla ces where that happened , l ocati ons?                 Did it happen at your            18   wan t    to t o ll: 3.b O UL       somethinq and sumetimcs pc 0p!fJ s a y l rJ,..,n ' 1
19    house ?                                                                                     19   kn o,-, tiec.;use t h>:! y J or.' t f:n ow.
            A     A   little b it .                                                                             And I ' m wonrler: n-;i wn :ch c,f t h OS P t hinJs it is for                       ',' VU


            Q     Di d you sa y a little bi t:                                                    21   rig ht       no·11?       [.o you not trio,-, or do "Jul, n, 1: wan t t o ta lk              JtU U'.:.


            A     iNonau d i ble re sponse . )
23          Q     Oka y .     Anywhere else?                                                                    A            A li t t. l r: bit o f both .
24          A G : ; s e ~nd I think his h~                                                                      Q            A. li tt l e b.:.t o f bot ht    Okay .        Le t 1 s come- - -    I ' m qoi n-J

25     ~              ca n ' t hear you .

                ----,,-.-_ '<I
                                                    ~                                             25

                                                                                                        -
                                                                                                       co come bdc k t o Cha                 in a li t le bit o kay .              Wt ' 1e goi ng     LO     LAlk
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  2    thi ,,k:

                 A       But t e   ( BOO -TA Y ) .

                 Q       Butte , or: a y.      And the n, ,,hat do yo::. call t '.1e part               f

  5    a gir l ' s body is th&t. (;o vered by trie t r.Jp po!.'"t                :   o bathi r, g                5

  6    su i t?       So:r.e kid s call i : boob s , or che st , o r sc 17,e~~.i;1g l :. }:e

       th at .

                         Chest .                                                                                                      ·1 es .

                 Q       She s t , o kay .     A~ o ~he n, a to ; ' s fr0~t pr i~a: e , whe re

       th e pee comes o ut, is i ~ ~J: ay i f : call :hat l ike a boy                                                it do·...·i, .   Co   '/ O IJ   reme:1:l.Jer writi.r.g it d u•.-11.:

11     p r-iva te ?                                                                                             11            A

12               A       (Nonaudi ble r espons e . )                                                            12            Q       Wa s it ea s ie r f o r you t o wr ite i t down th~:, t o s ·1 ~·

                 Q       Ok~ y .    So! want :o ta:k : o y 0u about s ome touch i ng                            13   c ut l:iua ?

       o r. y our f r on t prl'/a"':.e , .: .i.very 1s fr ::>nt r.; r i vace .   rl.nd ai d so:-:-1eo r, e                            Yes .

i5     touc h you on you r fr ont pri ~a t e?

16               A       Ye s.                                                                                  16

                 Q                   Y": hat ' s tn.i:: -- who is th e pers Ln wh 0 touched

18     you on your front private?                                                                               i8            Is th ~c the perso n t hat t ouc hed you 0n your fr cn ~ n: ~~-1~~?

19               A       Is it okay if you c a n use suggest io n, t hen I c a n say

:? O   the                                           o ne .

::!l                    Avery , co uldn ' L hear you .            So I n~~d you t o S3~ it a
22     little bit l ou der;



       the secon
                 A




                 Q
                         Is i l o~a J •· ;J. you c n u se su'] ges r.ior. s a;..::

                          on e o r the f irst o ne:

                         I wa nt to talk a little b it a co ut ~hy .
                                                                                             s a y like



                                                                                      :his is hard              25
                                                                                                                     "/ OUr




                                                                                                                     --       A       ·,es .
                                                                                                                                                           t,_


                                                                                                                                                                                                 --
                                                                                                                                                                                            :i i s body?




                                                                                                                                                                                                           0
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                                                         ALEXANDEft- ( D)
                                                                                                                       36
                                                                                                             607

      1            Q       I want to make sure that I get everything right and                                              1

      2   that I under~tand.                   So is there something that you're thinking                                                  Q           Okay, perfect.    So did you see the Defendant, your
      3   of that you don't want to talk about or is there -- or are you                                                            Grandpa Michael, touch Avery on her front pa rt?
      4   just thinking that maybe there's something that you're not                                                                      A            Yeah.
  5       thinking of right now?                                                                                                           Q       And what part of his body did he use to touch Avery?
      6           A        I thought of something that I don't want to say .                                                              A            His hand.
                                                                                                                                            ---""'.=     =-----
  7                Q       I'm sorry?                                                                                                      Q       Okay .      So his hand .   How many times did you see
  8               A ~thought of something that I don't wa nt to say.                                                        8      Gra nd a Michael touch Avery with his hand?
                                                                                                                                t~'.::::=A:::::::G
                                                                                                                                                 :;:::O
                                                                                                                                                      ::::n=l=y~ o=n=c=
                                                                                                                                                                      e ;;;;
                                                                                                                                                                         J ~:=::::::=:=::=~=== =-
  9               Q        Okay, so there's something you don't want to say.                                                9

 10       Does it involve touchinQ?                                                                                     10                Q        Do you remember where that was?
 11

 12
                  A

                  Q
                           Yeah.
                           And, okay, so let's just wait and I'm going to move
                                                                                                                                          A

                                                                                                                                          Q
                                                                                                                                                   I think -- I don't know.
                                                                                                                                                   Okay, anything -- did you see him touch her with any
                                                                                                                                                                                                              I
 13       on and ask you some different questions.                                              And maybe we'll come                other part of his body?
 14       back to that okay, Olivia?
 15               A        Okay.                                                                                                          Q        Did you remember talking to Michaela about some
 16               Q        So let's talk a little bit about Avery?                                                                  touching~ of
                                                                                                                                              : :Avery's
                                                                                                                                                 ;:=-=     - -with
                                                                                                                                                         body - - -Grandpa's
                                                                                                                                                                    - -- - -   --
                                                                                                                                                                             front  --
                                                                                                                                                                                   part or- --- ' s
                                                                                                                                                                                          Grandpa
 17               l'.      Okay .                                                                                                        part? ...--(- ._
 18               Q       ~d__!_~ad just asked you if you ever saw Grandpa                                                                A        Uh-huh.
 19       Michael doing things to Avery.                                       And I think you said yes?                                  Q        I didn't hear that?
            - - - - - . . ,.............., - ~ ~ - ·   -., .. ,..,,,...,., ~""• ~--,.... =   ~·-~-~---
 20               A        Uh-huh.                                                                                      2                 A        Yeah.
 21               Q        I want to talk about that, okay?                                      I want to talk         2                 Q        I -- and I know that that's probably really, really
 22       about what you saw with your own eyes .                                             I don't want you to       2          hurtful and hard to talk about.              Did you see that happen?
 23       tell us anything that Avery told you what' s 1 happening.                                           I just
 24       want to talk about you saw with your own eyes.                                             Okay, can we do
25        that?         Say yes -- answer --




            J-f'<2~~ {)) i'"~),~                                          ("I-           tfrft\t{ _5\~-- f\'O•W~
l,\J d-)+ f;,IJ.Nt/j 0W v- far ·-f f-}./2 _ f2rv~Y                  1




                                                                                                                                                                                                              -
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                                     ALEXANDER (D)                                                                            ALEXANDER (D)
                                                                   605                                                                                    606

 1           A    I don't know, I guess I got to the back seat:__:_)                     1        Q       How the time in the car when there was licking, how

 2
     ~                                                                                   2   that started?

 3           Q    Okay, what were you wearing?                                           3        A   e::   don't know.::::)

 4         A     ~emember.:;;i-                                                          4        Q       How old do you think you were when that time

 5           Q    When you got into the car, did you have your clothes                   5   happened?

 6   on?                                                                                 6        A   G     or 0 0

 7           A (Uon 't remember. )                                                       7        Q       I didn't hear that?       0-t;it'
 8           Q    Okay.      Is there anything else -- so you were i n the               8        A       1 or:8.

 9   backseat and it was in the car.         Can you tell us what it felt                9        Q       All right, so it's been a couple of years; is that

10   like?                                                                              10   what you think?

11                                                                                      11        A       Yeah .

12           Q    I couldn't hear that?                                                 12        Q       Okay.     Were there ever any times when you saw the

13         A ~Weird.)__                                                                 13   Defendant, Grandpa Michael, doing things to Avery?

14           Q    Weird.      I know, Olivia, is this hard for you to talk              14        A       Yeah.

15   about?                                                                             15        Q       And I'm going to ask you some questions about that,

16                                                                                      16   but I j ust want to before I move on to that subject, I want to




     ---
11           Q    And does it feel really uncomfortable in Court to                     17   make sure I under -- I ask you all of the quest ions I need to

18   have do this?                                                                      10   ask about what happened to your body.

19           A    Yeah.                                                                 19        So we've talked about touching of your front private with

20           Q    Okay.      so you said it felt weird?                                 20   his hand.     And we talked about touching of your front part or

21         A      Uh-huh .                                                              21   your front private with his mouth.         Any other touching of your

22           Q    Anything else that you remember about that?       Do you              22   front private that we haven't talked about?

23   know how it started? Did somebody tell somebody something~                         23        A   (!    don' Snow    .J
24   Did --                                                                             24        Q       Okay, so you shrugged and said~

25         A              Wait, how the wh~~-1=!!.!.~.                                  25        A      Q don't k n i l.

                                     ~I~ 5/ie_ /4:Je1f\ r //0\JvU                             G-0,c:,Adf,C/,             --I)~ 'e..
     i7} vt>S<+ U.)Af i!- t,krr r rv:10 ~ 1rt 1 1{¥)'\e~, r- •7                                  I~ ifl ~(-)Of\ .pJL
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                                       ALE:Y.ANDE:R ID)                                                                               ALEY.ANDER ID)
                                                                           59 9                                                                                            600

           Q      And t e l l m-= 2,s much a s you can abo ut that?      Wh o wa s               ad an outs i de part ?

     in the ca r when i t happened?                                                          2             A   Uh -h uh.

 3         A      Aver y .                                                                   3             Q   And did th i s t ou ch i ng happen o n t he outs i de par t of

           Q      A.vezy.       And you?                                                         your body o r t he inside par t of your body?

 5         A      And yeah .
                                                                                             6                 Oka y .      Ma ybe we'll t al k a   it cle bi t mo re or. about;
 6         Q      Anybody else in t he c ar?              cv,                                              Q


           A      Grandpa .                          ~                                           that i n a little bit.            Any ot her pla ces that you remembe: ~~a t

           Q      I di dn ' t hear th a t?   ~if                                             8   it happened ?

           A      Gr andpa .                                                                 9             A   The f a rm.

10         Q      Okay, anybody els-= besides the three of you?                             10             Q   The farm.        And do you know how man y t i mes i t happ ~n eo,::

11         A      Huh - unh .                                                               11   at the farm?

           Q      And were you go ing s omewh e re ?       Wha t was happe ni ng in         12             A

13   the car?                                                                               13             Q   Was i t o ne time o r mo re, e xc us e me , mo re tf•a r1 c ."'..8

i4         A      We we re do ing to t he farm.                                             14   t i me?

15         Q      Okay, a nd what were -- if you can te ll us , what we r e                 15             A   Mo re .

16   you       what did you have on your body?            What were you we ari ng?          16             Q   More.        Any oth er place s that happen ed?

17         A      I had a T-shir t a nd some pa nts .                                       17             A   My o l d hou~ ~- - - -

18         Q     And did this - - when this touc hin g happe ned, did i t                   18             Q   Your o ld hous e.       And where is your old house :

19   happen over the c lothes o r under the clothes ?                                       19             A   We demoli shed i t.

20         A      Unde r .                                                                  20             Q   And •,1hat -- like wha t pa r t of the -- wa s it in a t owr.

21         Q      Di d it ha ppen o'le r the underwear o r undPr re•                        21   or?

     underwear?
                - ------------- - ----                                                      22             A   Same plac e we live in right now .

23         A                                                                                23             Q   Okay , s o you got l i ke a new trailer?

24         Q     Okay .      One o f the things that we ha ven ' t talked about             24             A   Uh -h uh .

     yet l s t he -- is th at a girl ' s f r ont part has an in s ide part                  25             Q   Oka y , s o it happe ne d i n you r old trai l er?
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                                       ALEXANDER ID)                                                                          ALEXANDER ID)
                                                                      5 95                                                                                     5 96


           A     Th ere was th is mirro r that wha t l oo ks like i t was a                        A     A fr o nt part .

 2   mirror , bu t on the o ther side the re' s people wat c h it.                       2         Q     A •re nt pa rt f or a boy , o kay .   What about the p~rt

 3         Q     Okay, so there 's a mi rror t o you, bu t a r oom behind                3   you sic on , what do you ca ll th a t ?

     it?                                                                                           A     A butt.

 5         A     Uh-huh.                                                                 5         Q     A butt .     And wh a t about the par t on a gir l ' s body

 6         Q     Yeah.        And did -- and I think you said that there was             6   tha t ' s covered by her bat hing sui t top ?

     a person there named Michaela and she was really ni ce?                             7         A     Boobs.

           A     Uh-huh.                                                                           Q     Boobs?      Okay .   So we're goi ng t o start and I'n ju 3t

 9         Q     So you were remember her?                                               9   go ing to     I j ·s t want to t aH: t o you a li ttle bit some o f t! ,e

10         A     Uh-huh .                                                               10   t hings that you t o ld both your mom Gemma and Mi chaela about

11         Q     Okay.        So now , I wanted t o just it talk t o you a              11   grandpa touching you on your bey ?

     little b it about pe ople ' s bod ies.      So we all c an understand              12         A     Uh-huh.

13   what we ' re goi ng t o start talking about, okay?                                 13         Q     So c an you -- fir s t o f all, can you just te l l 11s dLd

14         A     Uh - huh .                                                             14       was there some touchin g on your body?

15         Q     And I want t o make sure t ha t we all kn ow when -- wha t             15         A

                                                                                                         ------
                                                                                                         Uh-huh.




                                                                                                         --
16   word you wan t t o use to t alk about - -                                          16         Q     On a part of your body that is private?

17         A     Uh-huh .                                                               17         A     Uh-huh.

18         Q     - - the things that we're goin g t o tal ~ about.       So             18         Q     Who d id that touch ing?

     when we 're talki ng about the gir ls body , do you have a name                    19         A     Gr.;ndpa.

20   that you want to use t o talk about the part o f a girl ' s body                   20         Q     And s o , you pointed and you said something , but I

     wh ere t he pe e c ome s out ?                                                     21   don ' ~       I heard yo~          ·w ~\\15'
22         A     The fr ont part of a g irl.                                            22         A     Grandpa .

23         Q     Ok ay.       fr o nt part works for you?                               23         Q     Grandpa , o kay.      And what part of your body did he

24         A     Uh-huh.                                                                24   touch?

25         Q     And then, do you have a -- what ab out a         oy part ?             25               My front par t.
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                                                                              535                                                                                              53(

                   THE COU RT:     Anyth i ng e lse be f or e we go o f f t he r ec ord         1   a l l t he way t o my left wit h that gree n piece o f ta pe a l l l he

  2   f o r t he time being , f o l ks ?                                                        2   wa y ove r here .     You ca n c r oss i n f ront o f th e j ury bo~: .

  3                MS. LAN DERS:        No , You r Honor .                                      3   Ex a c tly , th a nk you s o much.

                   MR. POWELL:       Th a nk yo u, Judge.                                       4                  And t hen , sir , i n t he fr ont r ow wit h the mix ed sh i r t ,

  5                THE COU RT:     Mr . Sc hmonsee s ?                                          5   if you coul d come al l th e wa y an d t a ke t ha t sea t in th e bac k?

  6                MR. SCHMONSEES:         No , Your Hon or .   Thank you.                      6   There should be a tab l et a nd a green pie ce of t ape .

  7                THE COURT :     All right , thank you .                                      7                  Ma 'am, i n t he b lu e sweater r i ght t here , i f you coul d

  8          (Re c e s s a t 9 :2 7 a .m., r ecommen c ing at 3 :43 a . m.)                     8   come and have t ha t seat in th e ba ck .          So i f yo u just come all

  9                THE COURT:      All rig ht , we a re o n the re co rd.     Thank             9   t he way a c r oss r i ght the re .    Thank you.

10    yo u f o r jo in i ng us again.      We're going t o have a little b i t of              10                  Sir, in t he b la c k shi r t , if you ' ll come up an d jo in

11    movement, s o that we c a n maximize the s e a ting in the ba c k of                     11   us a s well .        will ha ve you take t he seat ri ght he r e i n f ro nt

12    t he co urtr oom f o r pe ople t ha t wa nt t o observe and ma ximize the                12   of the jury box with a gree n piece of tape .
]3    s ea tin g f or our juro rs.                                                             13                  UNIDENTIFIE[, SPEAKER :       fr ont row .

14         - - - For t he j uro rs , would you p lea s e r a is e you r hand if                14                  THE COU RT:    Front r ow .

15    you have a ny issu e wi h any he a r ing or wi t h any vi sion , su ch                   15                  And, ma' am , in the gold swe ate r , i f you ' 11 i o ir, u,,

16    th at i t would be ve r y hel pful f or you t o be seated i n the                        16   and tak e tha t seat r ight the r e with t he green t ape a s we l l.

17    a c tual j ur y box in the c ou r t r oom?     Anyone have that is su e?                 17   Tha nk you .

18                All r i ght , what I ' m go ing to do then is I am go ing t o                18                  And t hen , s ir, in the b lue s hi rt , if you ' l l be s o

19    have one , two , three , f our, f i ve of you, i s that r i ght , Ms.                    19   kind as t o come up t o the f r o nt r ow of t he jury box and j ust
20    Cha ve z (phone t i c) , fi ve?                                                          20   t ake t hat seat r i ght there.        Exactly .

21                UN ID ENTI FI ED SPEAKER :       Yes.                                        21                  For th os e o f you in t he ba c k of the c our t r oom , you

                  THE COURT:       Five o f you I ' m go ing t o have move up t o              22   ha ve wooden ben c hes t ha t are not terri b ly comforta ble.              You

23    our j ury box.     So I ' m go ing to st art wi t h you, ma ' am , in the                23   sh oul d have f ound a s eat c ush i o n that you ' re now si tt ing o n to
24    purp l e sweat e r in t he fron t.                                                       24   make you a l i ttle b it mor e comfortable .
2.)               If you ' ll be s o kind as t o come up a nd take th e s ea t                 25                  Does an yo ne need a seat cush i on?         No .   Okay , t he s e
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                                                                      - 537

     seats where you' re l oca ted at this time wi ll be your s - at s f o r
                                                                                                                                                                538

                                                                                               f ollowed by the prese ntati on o f the e vi dence when the witness

 2   the remainder o f t he trial.                                                         2   and the exhibit is -- exhibits are presented to you.

 3                  UN IDENTIFIED S PEAKER:    Your Honor , we still have a                3               The n     he jury instr uction when I wi ll expl a in t o you

     juror in the far bac k.                                                                   the l aw t ha t applies t o th e part icu l ar c ha rges in the case.

 5                  TH E COURT:    Oh, my goodness , s ir.   Thank you ve ry               5   And that will in cl ude exp l a in ing what t he State mus t pr ove

     mu ch .     Sir , if you' ll come up and take t hat fr ont r ow s ea t                6   be yond a reasonable doubt f or a gu i lty verdi c t.

 7   right t here.       My apo l og ies.                                                  7               You wi ll rec eive a printed copy of those

                    As I was saying t he seats where you're l oca ted ri ght                   instructi ons.      That's followed by the c losing arg umen t s where

 9   now wil l be your seats f or the rest of the tria l.          If anyone               9   the att orneys wil l have the opportunity t o persuade you how t o

10   be lieves during the tr i al t ha t they're having a p r oblem seeing                10   de c ide the c ase.

11   or hearing or anything like that, and s ome movement in t he                         11               Then you r deliber atio ns, when you will go ba c k t o a

12   courtr oom would be helpful, we can work with that .                                 12   jury r oom, wh i c h will a c tually be here i n the cour tro om.      This

13                  At this t ime, I wi l l have you all rise t o be sworn as             13   will be your ju ry r oom , where you wi l l de c ide whether the State

14   this jury.       Please raise your right hand.                                       14   has proven the Defendant guilty or the De f endant is not gu il ty.

15             (T he jury is sworn . )                                                    15   Then, you will re t urn t o the courtroom f or the return of your
16                  THE COURT :    Please be seated.    Members of the jury, I            16   verdict .
17   will now expl ain some of the rules that apply during a trial.                       17               In this proces s, you have two ma jor r o l es .    The f irst

18   There are eight stages t o most trials a nd I wi ll briefly                          18   is to determine , based on the e viden ce , what really happened .
19   explain each o f those st a ges.                                                     19   We ca ll that -- this decidi ng the facts.
20                  The first is jury selec ti on.     We have jus t corr.pleted          20               The se con d major rule c onsists o f deciding if in
21   that yes terday .                                                                         light of the law as I expla in it t o you and what you decide the

22                  The next is th e explanation o f the ge neral rules .                 22   fa c ts are the Defenda nt is guilty o f a c r i me.

23   And that ' s what I'm do ing right now.                                              23               In pe rformi ng you r role s, you must of course be fair
24                  Tha t ' s f ollowed by the ope ning statements , whe re the           24   a nd i mpartial .     You mus t not all ow -- you mu st f ollow the l aw

25   att orneys will summarize what they expect th e evidence to be ,                     25   -- let me read that sent ence again .        My apologies .
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                                                                                                            ,..~
                                                                           47 3
                                                                                                  :\ \.cl?'
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                                                                                                                                                                      474

 1   a bout people wh o hurt kids .        What was it t ha t you said ?                     1        ~:      MR. SC HMONSEES:           a re you comfortab l e explain i ng

 2                PROSPECTIVE JUROR:        Anybody that hu rt s a child .                   2   why o     would you -- maybe we             ve you a more ' ri va t e.
                                                                                                                       _..;;.__-::::"'lr      '"'""""====:;::=:-
 3                MR . POWELL:    Anybody hurts a c hild .      And you haven't              3                PRos PECTI VE JU ROR:             hea r you . ~

     heard any eviden ce, right?                                                                              MR. SCHMONSEES:     You can ' t hear me ?    Okay . ~         you

 5                PROSPECTIVE J UROR:       No , jus t t he (indis cernible ) .              5              why you don't think you can be fair and impartia l?

 6                MR . POWELL:    So a re you wi ll ing t o withho ld your                   6                PROS PECTI VE JUROR:    I was abused . ,

 7   judgment as t o this Defendant and wh a t ' s alleged here until you                                                         Okay, and that i s tr igge ri ng f or

     the ev i dence unti l the end o f the trial after the State's                               you?

 9   presented its case and the De f ense if it chooses to pr e sent                         9                PROSPECTIVE J UROR :    Exc us e me ?

10   (indiscernible)?                                                                       10                MR. SCHMONSEES:     Is t hat triggering f or you?        Is that

11                PROSPECTIVE JUROR:        I a lready have a preconceived                  11   remindi ng you

12   noti on about pe op l e that hurt chi ldr en .       So it would be hard               12                PROSPECTI VE J UROR:    Yes.

13   f or me to be impartia l .                                                             13                MR. SCHMONSEES:     Okay, then I'm not go ing t o ask you

14                MR. POWELL:     Okay .    All right, no obj ect i on.                     14   any ot he r ques t ions about t hat.

15                THE COURT:     Ms. Co lten, thank you f o r your                          15                Your Honor, I cha lle ng e f or caus e .

16   part i c i pation.   I'm going t o excuse you fr om the jury pan e l.                  16                THE COURT:    Ms. -- Mr. Powell?

17   You c an leave your badge right there on the bench right where                         17                MR. POWELL:    No objection.

18   you're seated .      And you 're free t o go .                                         18                THE COURT:    Ms. Dowdy, thank you f or your

19                PROSPECTIVE JUROR:        Thank you.                                      19   participa ti on.    I' m go in g t o ex cuse you from the pa nel.        You

20                MR. SCHMONSEES :     And the n Ms. Dowdy, c an you chat a                 20   ca n j ust leave your badge right on the c hair wher e y~

21   l ittl e bi t about your conce rn s?      Are you abl e t o he ar me ?                 21   s eated and you're free to go .

22                PROSPECTIVE J UROR:      ~                                                22                MR. SCHMONSEES:     And th en, Mr. Welch, you als o had

23                MR. SCHMONSEES :     Do you think tha t you can be f air        _         23   you r ha nd up?

24   and impartial in thi s c ase ?                                                         24                THE COURT:    Ma 'am?

25                PROSPECTIVE JUROR : -::N~o•._ ....,__                                     25                PROSPECTIVE JUROR:      Yes.




                                                                                                                                                                                  --Q
                                                                                                                                                                                  -.....1
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                                                                        469                                                                                          470

                  You guys all been sitting next door sin ce about noon?                                     That just means t hat you're no t bri ng i ng in your

 2   Oka y , wel l, hope fully, thi s i s a little more in t eres ting.                    2   pr i or experiences , that you 're not go in g t o be t r eated
 3                Ca n e veryone hear me oka y ?

             ~ PROSPECTIVE JUROR:
                                                        l-t-e~·~ ~                         3   emoti onally if you ' re own v i c ti m o f abuse or a f ami ly member

                                            No .
                                                   ~                                           was a vi ct im o f abuse .
 5                MR . SCHMONSEES:    No?     Okay , I 'm going to s pea k a               5                 I ' ve been ta lk ing t he a na logy t oda y abou t in a DUI

 6   li ttle b it l ouder.   Le t me know if that's - - i s th at amplif i ed?             6   t ri al , if you a sk to be a juror a nd in the past, yo u had
 7   Okay.     Is that too l oud?                                                              in jured in a DU I acciden t , you probably wouldn ' t be a go od
 8                Oka y, all right, well, if you do n't he a r my voi c e ,                8   juro r f o r a DUI be c au se you' re go ing t o tr i gger and f l ash back
 9   and t hi s i s going to go f or a l l att orneys and if you ' re on the               9   t o that event .
10   ju ry all part i es , you need t o le t us know.                                     10                 And it would be t oo emot i onal f or you .        And you
11                You actually , if you ' re a member of the j ury , you are              11   wouldn' t be ab le t o j us t t ry the cas e on the ev iden ce

12   go i ng t o be sitting j ust where you a re right now.                               12   presen ted.

13   go i ng t o be a witness up at the witness stand , whi ch is about                   13                 Evide nce presented is going t o be wit nes s es t ak i ng a n
14   40 feet a way f r om where you are and some t imes people couldn' t                  14   oath t o tell t he truth on the witness stand whether it be a
15   hear.                                                                                15   c hild , o r a doc t or, a s oc ial wo rker , or a teacher , or t he

16               So it's real impo r tant t hat you are hear becaus e are                 16   Defendant, oka y?
17   the deciders o f f act .    You guys are the boss , so t o speak , a t               17                 So knowing t hat , i s there anybody wh o feel s like they

18   least in te rms o f what the f ac t s a re, okay ?                                   18   can't be fai r and impartia l r egard ing j us t thi s type of cha r ge?
19               We had a couple ha nds ra is ed about co ncerns with thi s               19                 All ri ght , c an you tell me more about that?
20   type o f c harge , th e allegat i ons wit h se xual abuse c f a c hi ld .            20                 PROSPECTI VE JUROR:     (Indis c erni bl e . )   And I come f rom
21               An d t he re we re two f o lk s who ra is ed their ha nd.                21   a law enfor c ement family .      My dad ' s been a de t ecti ve fo r years
22   Coul d you remind wh o you we r e ?      Okay, three f olks a c tua lly, all         22   and my brot her is a dete ct i ve curren tly.         And my dad i s a P. I.
23   right.                                                                               23   a ft er work and I helped him with (i ndiscernible).
24               And ju s t real ly qui c k, t he l aw r equires that juro rs             24                 MR. SCHMONSEES:     Okay .   So you menti oned that ki nd of
25   try a ca se f air ly and impartially , whateve r t hat means.                        25   persona l hist o ry th ere .    Th e firs t part is probably what
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                                                                                                                                                   c...
                                                                               451                                                                                                452

                   PROSPECTI VE JU ROR:       ( I nd i s cernib l e. )   li ke t o see                                 PROSPECTI VE JU ROR :    ( Indis c ernib l e ) some t hings , but
                                                                                                      /
 2   f ac es .   I ' d already menti oned tha t.        I don ' t like the masks.         I       2         have a hard t i me (ind i s cernible ) .      Sometimes your word s crop

     lik e t o see an express i on.           ~ike the                                            3       of f (in d i scernibl e) .

                   MS . LANDERS :   Do you think t hat if t he de c is io n i s                                        MS. LANDERS :    Maybe this will help.

 5   tha t witnesses are g oing to be weari ng masks , th a t tha t ' s a                         5                    PROS PECTIVE J UROR:     And s o my hearing is

     barri e r f or you?                                                                          6                    MS. LANDERS:     No ?   Hell o ?

 7                 PROSPECTIVE JUROR:         They a r e go ing t o be wearing                    7                    PROSPECTIVE JUROR:       ( I ndiscernible. )

 8   mas ks?                                                                                      8                    MS. LANDERS:     Yes, the - - well , like I s a i d , we ' r e

 9                 MS. LANDERS:     Yeah, is that a barrier f or you that                         9       no t sure.

10   you c an' t                                                                                 10                    PROSPECTIVE JUROR :      I mean , (indi scernibl e) .

11                 PROS PECTI VE J UROR :     Probably no t, but --                              11                    MS. LANDERS:     Yes , the wit ness will ha ve a

12                 MS . LANDERS:    Okay .     So it ' s a preferenc e, but it's                 12       mi c rophone.    Is this better?

13   not a requirement?                                                                          13                    PROSPECTIVE JUROR:       Yeah, t he c l o sest it is t o you r

14                 PROS PECTI VE JUROR:       Preferenc e, a gre e.                              14       mouth --

15                 MS . LANDERS:    Okay.      I think that ' s probably                         15                    MS . LANDERS:    Okay, I ' ll j us t hol d on t o it.

16   e verybody ' s preference really.          I mean, this whol e mask t hing                  16                    PROSPECTIVE JUROR:       And tha t ' s ( ind i s cerni ble )   i---
17   makes i t very hard t o interact li ke human be i ngs.                                      17       witne s ses (indiscerni ble ) c n ' t hea r ever yth in g , then we ~us t

18                  ROSPECT IVE JUROR:        I have a questi on.        Are we go i ng                   got to guess because he y ' re not go ing t o do it twice .
19   t o be out he1 e ?                                                                          19                    MS . LANDERS :   Do n ' t guess.     Le t us kn ow.

20                 MS. LANDERS :    Yea h .                                                      20                    PROSPECTIVE J UROR:      So you 'l l a sk t hem again?

21                 PROSPECTI VE JUROR:        So they ' re go in g to be way out                 21                    MS . LANDERS :   We ' ll have to .

     there?                                                                                      22                    PROSPECTIVE JUROR:       So --

23                 MS. LAN DERS:    Yes , a nd th at ' s another i ss ue.       And I            23                    MS . LANDERS:    I mean , whoeve r e nds up as a juror in
24   a c tually did want t o ask is th e r e anybody who ha s hearing                           24        chis c ase has to be able t o hear the testimony .              We

     issue s that might r equire us to get you additiona l techn o l ogy?                       25        wo r ki ng ha rd t o ma ke sure that t hat happens .        Oka y .
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Exhibit I
679-681
Babysitting
D.A.:  Ok, but in the first conversation you did bring up things going on inside the
        vagina?
Gemma : Yeah
D.A.:    Did you specify it would have been fingers, penis, any other part?
Gemma: No, no. It was just such a horrible thing. I don't want to get into detail. I
        mean, what they told me was enough. Yeah, so I didn't get no details.
D.A.:   Ok, and when you were told that he licked them, did they use the word licked
        or was there a different word, if you can remember?
Gemma: It was licked, definitely. It was my son Stryker. He came to me saying he
        punched grandpa in the stomach, because grandpa got the girls to go in the
        bedroom and get naked or get a blanket around them. He said get, tell them
        to wait in the front room for us. (Who is us?) And he got my son who had
        the baby. The baby's sitting, watching porno in the front room and he made
        him strip off naked, and my son had to get naked sitting there. (The baby
        was one year old. He would be an infant in diapers.) And then Stryker goes, I
        don't know what grandpa did after that. He told me to go to my room and I
        wasn't allowed out after that.
D.A. :  Ok
Gemma: And so he went to his room and obviously, I got it out of Olivia and I said, you
        know what happened in this incident with this and Stryker says he doesn't
        know what happened afterwards. And I asked Ashton and Ashton said he
        didn't dare look. He just was, had his eyes closed and was looking forward.
        And Olivia goes, he licked us, mommy. He licked us. And she had this icky
        face on, ew, and so like he licked us. Why did he lick us?

Jury Trial District Attorney page 604 exhibit 1
D. A. : What about when he licked you or touched you with his mouth. Did that
          happen in one place or more than one place?
Olivia: One place.
D. A.:    And what was the one place that that happened?
Olivia: His car

Grand Jury page 21-22 Exhibit 2
Juror:  Did Avery tell you anything about him licking her?
Gemma : No
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Grand Jury page 27 Exhibit 3
Juror:  So, on your initial conversation with Avery where she said he was inside
         of her, and that it was with his thing ...
Gemma: Yeah
Juror:   Did she tell you that time about any other acts that he had done, about
          touching her with his hands or about licking her or any other things?
Gemma: No ~

Ashton's CARE's Interview , Exhibit 5
CARE's:    Does someone ever want you to be naked when you don't want to be?
Ashton:    No

Stryker Jury Trial page 733 Exhibit 6 First Babysitting Incident (¥
Powell:   Do you remember a time where grandpa babysat you?
Stryker:  Yeah
Powell:   Did anything make you feel uncomfortable during that time?
Stryker:  Yeah
Powell:   What happened?
Stryker:  He made us watch shows like Big Mouth and stuff.
Powell:   Called what?
Stryker:  Like Big Mouth and I think maybe love
Powell:   Ok, when that was happening, who all was there?
Stryker:  Ashton, Olivia and Avery, sometimes
Powell:   Did that happen one time or more than one time?
Stryker:  Twice
Powell:   Oh, go ahead
Stryker:  The girls were just wrapped around in a blanket, naked.
Powell:   How did you know that?
Stryker:  Because when I went out there they like had no clothes on and then
          the like blanket dropped and I just walked back to my room.
Powell:   Did anything else happen on the first occasion before we get to the
          second time that he babysat?
Stryker:  No

Stryker Jury Trial page 736 Exhibit 7 Second Babysitting Incident
Powell:    And who was all in the room that time?
Stryker:   Olivia and Avery, I think.
Powell:    Ok, do you remember if Ashton was there?
Stryker:   I don't think so
Powell:    Do you remember what you were wearing?
Stryker:   No
Powell:    Do you remember what Avery was wearing?
Stryker:   No
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Powell :    How about what grandpa was wearing?
Stryker:    Probably like some jeans, a shirt
Powell:     Regular clothes_
Stryker:    Yeah
Powell:     Did anything else happen that day that made you feel uncomfortable?
Stryker:    No (Note: Stryker never said the girls were naked)




FALSE STATEMENTS BY GEMMA GEDGE               EXHIBIT 1

She said I made Stryker go to his room.
She said I made the one year old get naked.
She said I made Ashton get naked.
She said I had the girls go get naked.
She said Olivia said I licked her.
On the second babysitting incident, Stryker never said the girls were naked. '¥'2- C"\\fX'\i\   0
Videos from Ashton's CARE's interview.
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                                                                                            /0 3



GEMMA GEDGE       GRAND JURY      BABYSITTING PAGES 22-26          EXHIBIT 2    -,k
 Gemma: There was this other incident where Stryker said that they, he was
         babysitting all the kids.
 Juror:  He, being Michael?
 Gemma: Michael. Babysitting all of our kids. Avery is one of the kids and he made
         Ashton sit in the front room with the baby and watch the baby. He made
         Olivia and Avery go into the bedroom and strip down naked and come back
         out with towels. He told them to get towels on and wait for them in the
         front room. Avery and Olivia sat in the front room and waited for him. He
         asks Stryker to sit down and Stryker goes, no, I'm not. What are you doing
         grandpa and he goes, just be quiet and get in your room and Stryker
         went to his room and he said, I don't know what happened after that,
         grandpa, I mean, Gemma. But that's all I know, is this is exactly, so word
         for word, is what he said to me, is what grandpa made the girls go and sit in
         the front room and wait for him. He made Ashton sit down. So after this,
         Stryker went. So I spoke to Ashton and he put on porn on the ...
 Juror:  He, being?
 Gemma: Michael Champagne, yeah, Michael Champagne put on pornography. Sex
         Hub. No, Pornhub.
 Juror:  This is what Ashton had said?
-Gemnia: Yes, yeah but yeah. He's eleven, made him sit in the living room to babysit
          the baby and made him watch this while he did things to the girls.
 Juror:   Ok
 Gemma: And Ashton said that, yeah, he made me sit there with the baby and watch
          1V but I don't know what he was doing behind. And I spoke to the girls and
          he was licking on them and playing with them and stuff.
 Juror:   Ok, so when you say you spoke to the girls, what did - we, we have to
          know what ...
 Gemma: Exactly
 Juror:   So what did Olivia say he did that time with her?
 Gemma: Every time I spoke to Olivia, she said always, it was Avery first, and then
          after awhile, when I, when I said to her, its ok. Everything's fine, you know
          and I, I showed her that, you know, this is, I, I'm not upset. I didn't want
          to show her I was upset. And when she realized that I was, you know,
          taking it all in stride, then she started saying it was done to her and she was
          all like, I didn't like it. It was - it-I don't know why he wanted to, but he
          was-he-he licked on us. He licked on us.
 Juror:   And did she tell you what part he licked?
 Gemma: Yeah, down there, she said.
 Juror:   And was she ... you-you just ....
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Gemma:       Yeah
Juror:       For the ...
Gemma:       Private
Juror:       You just gestured to ...
Gemma:       Vagina
Juror:       Your ...
Gemma:       To her, vagina, yeah
Juror:       And that's what she gestured to you?
Gemma:       Yes, that she ....
Juror:       Ok
Gemma:       Yeah and - and
Juror:       Ok and ...
Gemma:        Yeah
Juror:        Did Avery say that - so about that time in the living room, did Avery ...
              What did Avery say he did to her?
Gemma:        He - she just said that he - he - he - that he touched her.
Juror:        Ok
Gemma:        And that he - he - he - she goes, cause he - she - he touched me.
Juror:        And then she pointed at her ...
Gemma:        Yeah
Juror:        Vaginal area?
Gemma:        Hmm - hmm yeah .

FALSE STATEMENTS BY GEMMA GEDGE                  EXHIBIT 2

Gemma said Ashton watched the baby. o f\ 'R e.. L.o r Q.. A-<::.H rw'C\ w l\ \'c..\W.Jl ,\\Q.. t:,.,-..n-t c:,0, ~
She said I made Olivia get naked and put on a towel.
She said I made Avery get naked and put on a towel.
She said I made Stryker go to his room.
Gemma said I put on pornography. She knew of Sex Hub, then she said I put on
 Pornhub.
She said I was licking Olivia.
She said I was licking Avery.
She then changed her story and said I touched Avery on her vagina.          Tu"'~l)<'L\ 8
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                                                                                             blob

Olivia Alexander Jury Trial Page 604 Exhibit 1
D. A.:       What about when he licked you or touched you with his mouth. Did it
              happen one place or more than one place?
Olivia:      One place
D.A.:         And what was the one place that happened?
Olivia:      His car   (\ D \ \\ E ~ ~bi..:- .S '£ L \ ¥- Q, 6 e,rn m     °'
                                                                           d._(L.,S c c- -,\n~ LL




Avery Champagne        Interview   Page 645 Exhibit 2
The District Attorney asked Avery if any abuse happened at Gemma's house:
D. A.:       I know, did it happen at Gemma's house?
Avery:       I don't think so!

Ashton Alexander CARE's Interview/Video       Exhibit 3

Grand Jury Exhibit 4
Juror:     So, on your initial conversation with Avery, did she tell you about him
           Touching her with his hands or about licking her?
Gemma:     No


Ashton Alexander CARE's Interview/Video          Exhibit 5
Ashton said in his CARE's interview, that grandpa babysat twice. Once he had the baby
while babysitting. The other time, Gemma was at the hospital giving birth. Gemma
testified that the baby was present both times.

GRAND JURY TESTIMONY BABYSITTING Page 23 EXHIBIT 3 -J(
Gemma: My son came to me a couple days ago and said grandpa told the girls to go
         in the bedroom and get naked, come back out with a towel or blanket
         wrapped around them and he told me I had to go in my bedroom. I wasn't
         allowed to stay in the living room.
Juror:  You're talking about Ashton?
Gemma: Stryker told me this and Stryker said he went in the bedroom and didn't
         know what happened so I spoke to Olivia and I said, what happened? And
         she said, well Avery got naked and got a towel around her and he told her
         to go in the front room and wait for him. He tried to get me to do it, but I
         said no. I didn't want to. And I said, well where did you go? And she said
         I went in the bedroom. But then when I told her about the lie detector
         thing, she ended up telling me that she did do it, too. And they went in the
         living room. But I couldn't ask her why he was in my house. fr"1 l ; v \'Y'~ ~
            {AJ \\\\'t, (~ iiJ' ~ Dp ~    5 )~'1'-, ..
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GRAND JURY TESTIMONY          Page 32          EXHIBIT 4       far:
Gemma: And so I'm at the river. The kids are having a blast. So I just, you know, I
         Just said I had enough. I, I want to go now. Well, the girls were on a raft
         and they were going downstream. And I said, I'm going to go, were going
         to go now. I think I'm going to wrap up the kids and go. Well, he went
         downstream to get the girls and he brought them up. I'm, I'm watching.
         I'm standing and in the distance I can see them coming up on the raft. He's
         got his arms around the girls and he's like this and they're like this and they
         are coming up on the raft and they are coming and I'm fine so I'm starting
         to pack up things to go, thinking surely nothing is going to happen in this
         moment. I'm right here, you know, but when I, when I ... we get home
         and, and, and I obviously bring it all out of the water and everything. Later
         on, a couple of days later after all this information is coming in, Olivia tells
         me that on the raft when they were coming up, he had his fingers inside
         them.
Juror:   Ok, and when you say, fingers inside of them, where did she say this?
Gemma: In the vagina, yeah, and playing, messing with them. Playing with them.
Juror:   Ok, and did you say his fingers were actually inside her vagina?
Gemma: Yeah, he was. She said they were in that, he was inside me.
Juror:   Ok
Gemma: I was like, oh my God. Like, I was right there.


             FALSE STATEMENTS BY GEMMA GEDGE

             Gemma said I had my fingers in Olivia's vagina.
             Gemma said I had my fingers in Avery's vagina.
             Gemma said I pushed them up river.
             Gemma said I had my arms around the girls.



EXHIBIT 1:
             Video showing another man pulling them back up river.


Juror:       Did Avery tell you about any touching that happened at the river?
Gemma:       No
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                                                                                          Jo 2




JURY TRIAL TESTIMONY       PAGE 710     EXHIBIT 5 -t{

 Attorney: Ok, you could see the children swimming?
 Gemma: At this point, there was an incident where the girls went downstream on a
           floaty, and I was going to go get them, but then the baby, and so Michael
           went to go get them.
 Attorney: Ok
·Gemma: And when he went to go get them, it was in that moment, were my son said
           to me, I'm pretty sure he's probably touching them right now, and at that
           point is where I left, we .. .                 •
 Attorney: Yeah
 Gemma: I grabbed the girls, I grabbed everyone and I went home.

                                   5 3 - t,
Ashton CARE's Inte·rview Page 20-21 Exhibit 1
Ashton: We went back and then, well my mom and we were all hanging out.
         Everything was fine and then, well, the girls drifted upriver on a floaty, but
         Then rand a went and ot them.
McKayla: Ok
Ashton: And, ah, he ended up playing with them while they were down there.
McKayla: Ok
Ashton: Trying to get them back and then ...
McKayla: Mmmhmm
Ashton: -Well, yeah
McKayla: He eneded up playing with them?
Ashton: I don't know how
McKayla: Oh, ok
Ashton: But ...
McKayla: Ok, I'm just making sure that I understand what you were, like, what words ..
Ashton: Well, my mom ...
McKayla: .. you were using
Ashton: .. said that he was messing with them and stuff.
McKayla: Oh, ok, so she said ...
Ashton: Yeah
McKayla: .. said that? Ok, and where were you when this was happening?
Ashton: Back with mom and Stryker finding more clay.

EXHIBIT 1
            1. Video showing another man pulling them back up river.
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EXHIBIT 3
             2.   This is a different story than Gemma told verses the first one where she
                  says Michael had his fingers in the girls.

EXHIBIT 4
             3. Gemma lied and said Ashton said Michael was "messing with the girls"
                when actually Ashton tells the truth that show Gemma lied under oath.


JURY TRIAL TESTIMONY          EXHIBIT 6 -1(

Gemma:        The girls were on a floaty device. This was actually a river trip where the
              Boys said in the car, there were things on the way there, because I was
              confused, why he was grabby with the girls, like come get in my car, and
              he didn't want us to come in the first place anyway.
D.A.:         And who's "us"?
Gemma:        Me and the boys. Me, Stryker and Ashton. He just wanted to come get
              the girls and go with the girls, and then the boys wanted to go, but he
              didn't want to take them, and I said, well, then I'll go so the boys can go,
              and yeah, yeah, yeah, and yeah, sorry.


Avery CARE's Interview       Exhibit 1

CARE's:       Ok, who was in which car?
Avery:        Because grandpa picked me up to go to the river, but he said, it's your
              decision. Do you want Stryker, Libby, Ashton and Gemma to go, and I
              said, yeah. And then we went to their house and Gemma wanted to go so
              I let her go.
CARE's:       And how did grandpa react when Gemma wanted to go?
Avery:        He was happy.


DECTIVE BRAY INTERVIEW WITH GEMMA               EXHIBIT 7    *
Bray:         So, what did, being that Avery made a disclosure. Firsst, what did Avery
              state to you that Michael was doing to her?
Gemma:        She said that he had entered her with his fingers.
Bray:          Mmmhmm
Gemma:        He rubbed his penis on the outside of her vagina.
Bray:          Ok, so ...
Gemma:        Ok, Y-eah, so yeah, she said ...
Bray:          Using his fingers?
Gemma:         Yeah
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Bray:          Using his penis?
Gemma:         And penis
Bray:          And what else?
Gemma:         And he's licked them.

GRAND JURY INTERVIEW          EXHIBIT 1

Juror:          So on your initial conversation with Avery, where she said he was inside
                of her and that it was his thing
Gemma:          Yeah
Juror:          Did she tell you that time about any other acts that he had done? About
                touching her with his hand or about licking her or any other thin s?
Gemma:           0

                Inconsistent with statements made to Detective Bray.

GEMMA'S LIES TO BOTH JURYS             PAGE 689   EXHIBIT 8 $.

D.A.:          Before making the phone call (pretext phone call) did you and Detective
               Bray sort of talk about things that you might want to bring up with
               Mr. Champagne?
Gemma:         No, the only thing that Detective Bray said to me was to ...
D.A.:          Wait!
Gemma:         Oh yeah, I'm not allowed . My bad. No. He didn't.
D.A.:          So your answer is, no.
Gemma :        No

NOTE:          Gemma lied to the jurys as did the D. A.


PROOF OF FALSE TESTIMONY TO THE JURY              PAGE 74       EXHIBIT 1

Bray:          So, Gemma and I , we discussed kind of the, kind of what we were
               looking to talk about and some kind of, some suggestive topics, and
               she actually did really well, got pretty convincing and she got very
               animated on the phone, as you may or may not know, she is very
               animated when she explains something. So we just kind of let her go.
               It was as if there was questions we thought she could insert
               into her conversation. We would kind of mouth them to her or write it
               down on a piece of paper. (Concerning pretext phone call)

NOTE:          Gemma said "No" to the question of did she talk with Detective Bray
               about the questions she would ask Mr. Champagne during the pretext
               conversation.
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             ~~

Olivia's CARE's Interview   Exhibit 10   A,
CARE's:      Avery, me, ok. (Referring to drawing) So tell me about the touching
             That happened at this time.
Olivia:      I need that.
CARE's:      Ok, so tell me, how about you draw me what happened to you. So who's
             who?
Olivia:      ( no response)
CARE's:      So grandpa and you, ok, then I remember you drew finger in pee pee, so
             how was your body when this happened?
Olivia:      ( no response)
CARE's:      You felt scared?
Olivia:      Mmmhmm
CARE's:      Ok, Ok, and were you very scared and were you laying down or sitting up
             or standing or something else?
Olivia:      ( no response)
CARE's:      Oh, in the water. Ok, where was grandpa?
Olivia:      ( no response)
CARE's:      In the water too. Ok, so you were both in the water. And what were you
             wearing? Tell ... ok, so you said you had nothing on?
Olivia:      ( no response)
CARE's:      Ok, I saw you nod your head. What was grandpa wearing? T shirt, ok.
             I'm having a hard time seeing you. I'm like completely bent over. May
             I sit on the ground?
Olivia:      ( no response)
CARE's:      Ok, that way I could see you better. Ok, and so you were both in the
             Water and he had a t shirt on and you had nothing. Ok and ..
Olivia:
CARE's:      Hmmm, you and Avery had nothing on, ok.
Olivia:
CARE's:      And while you guys, while you were in the river, where was Stryker and
             Ashton? In the water, ok. I saw you nod your head, ok.
Olivia:      But they were playing somewhere else, by the clay. ,
CARE's:      By the clay, ok. Can we maybe sit over here so I don't have to look under
             the table?
Olivia:      ( no response)
CARE's:      I see you moving the pen, but I don't know what that means. Ok, ok, and
             And what did the finger do?
Olivia:      (no response)
CARE's:      Ok, is that what the finger was doing? Or are you showing me something
             else?
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Olivia:       Finger
CARE's:       Finger, so his finger was going like that?
Olivia:       ( no response)
CARE's:       Ok, did anything go inside your body?
Olivia:       (no response)
CARE's: ,1~Hot dog, Avery, but did anything go inside your body?.
Olivia:       (no response)
CARE's:1l ~ Oh, finger went inside. How did that feel in your body?
Olivia:
CARE's:       I see you curled up in a ball, like this, yeah. What's going through your
              mind right now?
Olivia:       I want my mom.
CARE's:       You want your mom, ok. How come you want your mom?
Olivia:       So I can tell her what I say to her and she can tell, say to you .. ..
CARE's:       Did something else touch pee pee?
Olivia:       Avery
CARE's:1~--=> What with Avery? So hot dog in pee pee, ok. Did you see it with your
              own eyes or did somebody tell you?
Olivia :      Avery told me.
CARE's:1:l ➔ Oh, Avery told you. Have you seen it happen with your own eyes?
Olivia :      No

JURY TRIAL      OLIVIA   PAGE 601, 607, 608

D. A.:              So we talked about the car, the farm, and your house. Any other places
                     where there was touching with his hand on your front part?
Olivia:              No! I don't think so!
                     (does not mention the "river story'J
D. A.:               So did you see the defendant, grandpa Michael, touch Avery on her
                     front part?
Olivia:              Yeah
D. A.:               And what part of his body did he use to touch her?
Olivia :             His hand
D. A.: I I ➔ Ok, so his hand. How many times did you see grandpa Michael touch
                     Avery with his hand?
Olivia: 11 4 Only once
D. A.: \ ➔ Did you see him touch her with any other part of his body?
Olivia: \ \ ...::i, JiQ_
D. A.:      _::, Did you remember telling McKayla about some touching of Avery's body .
         11
                     with grandpa's front part or grandpa's boy part?
Olivia:              Uh huh
D. A.: \ \ ~ I, and I know that that's probably really, really hurtful and hard to talk
                     about. Did you see that happen?
Olivia: \\ ➔ NO!
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       JURY TRIAL        GEMMA      PAGE 677

       Gemma:           He's made Olivia watch t he many things he's done to Avery'. -is ~·1rH::t8: 1   f \l
       CARE's INTERVIEW          ASHTON      EXHIBIT 1     (Third part of Exhibit 10)

       CARE's:         So, tell me about what you know that happened?
       Ashton:         I went over to grandpa, and the girls. They were in the water. Yes,
                       grandpa and then he was, like disgusting. That's basically everything
                       and stuff.
       CARE's:         Ok, so grandpa and the girls were in the water.
       Ashton:         Only the girls were naked. Not him.
       CARE's:         How did you know they were naked?
       Ashton:         And so I walked over and grandpa told me, and then I , they were naked
                       when I walked over so I j ust left and went back to Stryker.

       JURY TRIAL       PAGE 726      EXHIBIT 2

       Ashton:         He took us to the river, where there was clay in the river, you know.
                       Livy, maybe Avery, but definitely Livy was there and was naked in the
                       water and Michael said you could look inside. I'm like, no, and I turned
                       ~

                       away.
       D. A.:          I know it's a difficult question, but what was he doing that made you say
                       Ew, and turn away?
       Ashton:         Saying you can look inside and yeah ...

       GRAND JURY         PAGE 30     EXHIBIT 3

       Juror:          Did she, Avery tell you about any touching that happened at the river?
       Gemma:          No

       CARE's INTERVIEW          STRYKER      EXHIBIT 4

       Stryker:        Skinny dipping only happened one time. The girls were by themselves
                       and grandpa was on the shore. There were lots of people around but
                       none of them said anything about the skinning dipping.


       GEMMA LIES TO THE JURY              PAGE 677     ~ €X Hf Bi 'f         I J..
       Gemma:           I've been told by the girls that he put his penis inside Olivia, Avery's .
                        vagina. He's done that with his fi ngers, inside Olivia, at the same time.

,1-A f\l 0-11 AR.E: P R O V lf l\l IN E)(H i QtT 10
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GRAND JURY TESTIMONY         GEMMA        EXHIBIT 15 -'1(

Juror: Do you live together? _
Gemma: Well, due to, I, I met him caring for his sick wife. When she passed, me and
       Matt got together. But he has anger issues. He hurts a lot from life hurting
       him. And, and he has some problems so we don't live together. He has his
       own place.

INTERVIEW WITH DETECTIVE BRAY           JUNE 18, 2019       EXHIBIT 1

Bray:  Who else lives with you besides your boyfriend and Olivia?
Gemma: He's not actually registered here. He has his mail come here, but he sleeps at
       His brother's house or his dad's or not his dad's, but his mother's house and
       he, he kind of couch surfs.
Bray:  Matthew does?
Gemma: Yeah, Matthew does.

BRAY INTERVIEW WITH MATTHEW CHAMPAGNE                    EXHIBIT 2

Bray:    How long have you and Gemma lived together?
Matthew: You know, I pretty much use her address as my mailing address. I'm back
         and forth between my mom's and my brother's house. I really wouldn't
         say I live there.


                                           *
Note: Gemma lied to the Grand Jury..

GRAND JURY       GEMMA       EXHIBIT 16

Juror:   Ok, you have indicated you .have Avery quite a lot?
Gemma: Oh, a lot, yeah. I would probably say 90% of the time ..
Juror:   Ok, does she come over after school?
Gemma: Pretty much, yeah.
Juror:   Ok
Gemma: Comes over after school, stays all weekend, yeah.
Juror:   Ok
Gemma: Things like that, yeah.
Note:  Avery lives 12 miles away from Gemma's house. Avery lives in·Oregon Oty.
       Gemma lives in Canby. Gemma is saying she has Avery 27 out of 30 days
       every month. How would Avery be at her house so often and how would
       Avery get there after school. Gemma committed perjury in her testimony.
Juror: And prior to all this coming up, what was your relationship with Michael?
Gemma: A little iffy. He's very rude. He's dirty minded. And I know its tough for the
        family because he is this ... if the, if none of this was true, he· is the perfect
        grandfather and father. He's fishing and camping and going on hikes and
        walks and adventures and, you know, all this stuff, you know. And he11 come
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           around and fix things in the house and fix bikes for the neighborhood kids
           and stuff. You know, so it would be nice to say it ain't true, you know.




EXHIBIT 17      1(
           Ashton said his sister experienced past violence in their home with thei~
           biological father. He has also concerns about Matthew and his mother
           having violence between them.

BRAY INTERVIEW PAGE 43

Bray:  Has he ever been physical with you? .
Gemma: No, he's never physical with any of us: He just gets verbal.


criminal case, reports of other allegations of sex abuse, and un~ed -;_ll~gati~ns.•I;addition, it

is common for the file to contain a psychological evaluation of one or both of the parents of th.e

alleged victim involved in t.1.e case and such evaluation will generally include statements by the

person being evaluated as well as test results and opinions by the psychologist reflecting on the

credibility of the person being evaluated and the ability of the person to accurately perceive and

relate their experiences. The files may also include the statements of others who could be

potential witnesses in the pending criminal case. Based on a review of the police rep01is and

other evidence in this case, defendant believes those witnesses could include: Gemma Gedge,

Matthew Champagne, Olivia Alexander, Avery Champagne and/or Ms. Gedge's ex-husband, the

father of Olivia Alexa.i.1der.

        From my investigation, I further believe that the evidence be found within that file may

include, but is not limited to: contradictory statements regarding the allegations involved in the

criminal case, reports of other allegations of sex abuse of the alleged victims, prior unfounded

allegations of abuse. and prior reports of abuse by individuals other than the defendant.
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       lJefondant bases the above beliefs on the following facts discovered in the police reports

reviewed:

       •    DHS received 4 reports during 2019 regarding the family of Olivia Alexander, all

            concerning threats or harm by Matthew Champagne. 2 of these reports are currently_

            being assessed and pending. 2 were closed at screening.

       •    DHS also received 4 reports during 2018 regarding the family of Olivia Alexander,

            also all concerning threats or harm by Matthew Champagne.

       •    Between 1986 and 2017, there were 23 reports to DHS regarding Gemma Gedge and

            Matthew Champagne, "for various reasons."


Page 3 of 4 - Memorandum in Support of Motion to Compel Discovery of OHS Records


  CONCLUSIO~

            For the above substantial and compelling reasons, this court should GRANT defendant's

  Motion to Compel Discovery ofDHS records pertaining to Olivia Alexander after conducting an

  in camera review.

            DATED:




                                                       Michael Champagne,
                                                             Defendant, pro se
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POINTS AND AUTHORITIES:

Children's Services Division-or Department of Human Resources, Community Health Services,
Child Welfare Program, as it is now known-files often contain witness statements and
information of an exculpatory nature or which may lead to exculpatory information. All of those
matters should be disclosed to the defendant after an in camera hearing. ORS 135.805 et seq;
')tate v. Warren, 304 Or 428 (1987); State v. Johns, 44 Or App 421 (1980).

')tate v. Graville. 304 Or 424, 746 P2d 715 (1987). "The United States Supreme Court has
recently considered the requirements of due process with regard to confidential government files
in Pennsvlvania v. Ritchie. 480 U.S. 39, 107 S.Ct. 989, 94 LEd2d 40 0987). The court held that
:he trial court should conduct an in camera review of the files compiled and maintained by
Pennsylvania's Children's and Youth Services agency to determine whether they contained
;:vidence mate1ial to guilt or punishment and must turn over exculpatory evidence to defendant.
 Ritchie controls the present case and requires the trial court to review in camera for exculpatory
;:vidence those portions of the file as indicated by the defendant's discovery request." 746 P2d
 716.




'age 4 of 4 - Memorandum in Support of Motion to Compel Discovery of DHS Records




GRAND JURY          GEMMA        EXHIBIT 18     fa
Gemma: She (Olivia) even said there was a passerby. A gentleman that saw the
       Kids naked in the river, naked and grandpas enjoyed the fact. And he yelled
       at grandpa. Olivia said he got angry and said, what are you doing? And,
       and Michael went, mind your own business. These are my kids. Like, you
       know, mind your own business. Go, go on.
Juror: And this is what Olivia told you?
Gemma: This is what Olivia said.              r~~-,
                                             ~ ~+ I 0
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CARE's INTERVIEW       STRYKER

Stryker:    Skinny dipping only happened one time. The girls were by their selves and
            Grandpa was on the shore. There was a lot of people around but no one
            Said anything about the skinny dipping.

CARE's INTERVIEW          OLIVIA   PAGE 1007      EXHIBIT 19 f<

CARE's:     Yeah, ok. So let's go, let's start another paper because now I'm getting
            confused which are your new answers and which are your old answers.
            So thinking back about the first time it happened, tell me ..
Olivia:     That's three years ago.
CARE's:     That was three years ago? Tell me everything that happened.
Olivia:     I don't remember.,
CARE's:     Ok, so what helps you remember it was three years ago? .
Olivia:     Avery. She keeps it on track.
CARE's:     Ok. How does she keep it on track?
Olivia:     Paper. She hides it under her bed.
CARE's:     Ok. What's on the paper?
Olivia:     Every time it happens.
CARE's:     Ok, so does she write it or ?
Olivia:     I think she threw it away.
CARE's:     Oh
Olivia:     Ripped it up and threw it away.
CARE's:     Ok, so how come she was keeping track in the first place?
Olivia:     I don't know.



Olivia:     Huh uhh, I hate it.
CARE's:     Ok, so because of the paper, you know that it was three years ago?
Olivia:     Three or four, Avery said it was three to four.

JURY TRIAL      -OLIVIA

Attorney:    Do you remember telling McKayla that Avery kept a journal about the bad
             stuff that happened?
Olivia:      She did?
Attorney:    I'm just asking you if you remember saying that?
Olivia:      That Avery, yeah .. Avery, wait, Avery kept a journal?
Attorney:    Uh huh, and if you don't remember that ..
Olivia:       I don't remember that
Attorney:    It's ok to say I don't remember.
Olivia:       I don't remember . .
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JURY TRIAL       AVERY

Attorney:      How about a journal where you write about bad things that had happened
               to you?
Avery:         No
Attorney:      You are shaking your head, no.
Avery:         It wouldn't be true because I don't.

DETECTIVE BRAY         PAGE

            D.H.S. case worker, Lasik Bussoff in going into the house inquired, at the
            Residence about that diary and no body found anything, a diary. And I
            believe Avery denied there was one.

JURY TRIAL        PAGE 713      EXHIBIT 20    I(
Attorney: Did you tell Stryker and Ashton that you thought Michael Champagne was
          molesting Avery and Olivia? _
Gemma: I never told them. They told me that. ct-
Attorney: Ok, you never talked to them that ..
Gemma: No
Attorney: You never said grandpa. was messing with the kids?
Gemma: No. They told me that. ~              .

CARE's INTERVIEW           ASHTON     EXHIBIT 1

Ashton:  Ah, I know Avery told my mom stuff and then her mom stuff and her dad
         stuff and then my sister told my mom stuff.
CARE's: Were you there when that happened or did somebody tell you that?
Ashton: Oh, I was in my room. My mom, I think, told me most of the stuff. I've only
         heard little snippets from Livy and Avery.
CARE's: And you heard snippets of what Avery and Livy were saying?
Ashton: Well, I didn't hear much cause I uh, well I just heard like - I only really know
  _ _.,. what my mom told me and I've seen.
      7

JURY TRIAL        OLIVIA     PAGE 601      EXHIBIT 22   ,A
D.A.:       Did it happen at that house one time or more than one time?
Olivia:     I don't remember.
D. A.:      Ok, just tell me as much as you can remember about the time that it
            happened at that house. What room were you in? Who was there?
Olivia:     We were in the livingroom. Avery, Ashton and Stryker were there,
            and we were watching a movie.
D.A.:       And what kind of movie were you watching?
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Olivia :   A grown up movie.
D.A.:      Grown up movie, and when you say grown up movie, what does that
           mean to you?
Olivia:    Like more of a sexual movie.
D.A.:      Did the movie watching with people having sex happen one time or more
           than one time?
Olivia:    I think it was just one time.
D.A.:      When the touching happened, what were you wearing?
Olivia:    We were under a blanket and I wasn't wearing pants.
D.A.:      So, it .. who .. you said you were under a blanket. Who is we?
Olivia:    Me and Avery
D.A.:      And you say you were not wearing pants?
Olivia:    Uh huh
D.A.:      What was Avery wearing, if you know?
Olivia:    I don't remember. __
D.A.:      Did that touching, did that happen on the inside part or the outside part?
Olivia:    I don't know what that means.
D.A.:       Did he touch you on the outside part or the inside part?
Olivia:    Inside
D.A.:      Inside. What did it feel like when he touched you on the inside?
Olivia:    I don't know.
D. A.:     I don't know. Ok. Is there anything about like, that you can remember
           About what the sensation was; tickly or pinchy or pokey or ?
Olivia:    No
D. A.:     Ok, so we've talked about the car, the farm, and your house. Any other
           places where there was touching by his hand on your front part?
Olivia:    I don't think so.
D. A.:     What about when he licked you or touched you with his mouth. Did it
           happen in one place or more than one place?
Olivia:    One place.
D.A. :     And what was the one place that happened?
Olivia:    His car.
NOTE:      Ashton's CARE's interview proves Olivia lied in this questioning by the D. A.
           He said my hands were on my lap and nothing ever happened to the girls.
           Stryker also said nothing ever happened the two days I babysat them.


GRAND JURY TESTIMONY            GEMMA       EXHIBIT 23    'A
Gemma: Livy came to me weeks after it all came out and everything had been said and
       stuff and she said to me that Avery had been face timing her grandpa.
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BRAY INTERVIEW WITH FELICIA

Felicia:   Me, Matt, Gemma and Andrea were all sitting together and Gemma told me
           that the girls had face timed Michael sometime in between that time frame,
           June and say now.
Bray:      Ok, the girls, as in?
Felicia:   Livy and Avery
Bray:       Face timed him prior to being taken into custody?
Felicia:   Yeah, probably, probably, yeah
Bray:       Ok
Felicia:   I don't know where it was. Ah, it didn't sound like he was at Gemma's
           house, so I don't know and she told me she didn't tell anybody.
Bray:       Told, who told you she didn't tell anybody?
Felicia:    Gemma said she didn't say anything to anybody.
Bray:       Ah, so did Gemma indicate where this face time would've occurred at?
Felicia:    Hmmm
Bray:       Whose house?
Felicia:    Hmmm
NOTE:       First, Gemma said Olivia told Avery had been face timing Michael then she.
           tells Felicia the girls have been face timing Michael. Gemma made this up.

BRAY INTERVIEW WITH GEMMA FALSE STATEMENTS PAGE 34                     EXHIBIT 24 I{

Bray:      Did you speak to Michael?
Gemma:     I did not, Matt did. I was in the room where the conversation was
           happening and I could hear Michael through the phone. He was,
           you know, groveling, to my, no. The exact knowledge is that he said,
           he was pleading with him. Please Matt, don't go to the police. I - I will
           take classes again.

BRAY INTERVIEW WITH MATTHEW

Bray:    Who was around you when you had that talk?
Natthew: Just me. I went out to my truck. Our house is a dead zone.

BRAY INTERVIEW WITH GEMMA             EXHIBIT 25    f{
Bray:  Now, I understand that you called and confronted Michael?
Gemma: No, no. He called. Michael was calling my phone off the hook. And
       I - I didn't answer it. And it was going off and going off and ..
Bray:   I'm just reading the deputy's report that
Gemma: Yes
Bray:  "Gemma told me she called Michael and confronted him with what tbs,_
       girls reported."
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Gemma:     He must have had it wrong cause I said that Michael - Michael called us.
Bray:      Ok
Gemma:     He did call us and ..
NOTE:      Gemma called me and said hateful things to me.

DETECTIVE BRAY INTERVIEW WITH GEMMA                PAGE 29       EXHIBIT 26    f5
Gemma: Yeah, there's so much. I'm getting hot in here. Take off all your
        Clothes. My daughter can't listen to that at all and it comes on the radio
        and she's like, turn it off, mom! Turn it, turn it ! I was like, you use to like
       that song. Michael sings it to us when he wants us naked. Its getting hot,
       yeah, yeah.
           ~~     ~
NOTE:   Olivia never calls me Michael. Gemma does and this was never said in any.
       of the girls' testimony, about a song or anything else. Gemma made this up.

GRAND JURY TESTIMONY          FALSE STATEMENT BY GEMMA              EXHIBIT 27
                                                                              •
                                                                                  J5
Gemma:     But, they said when all these incidents come up, I was like, every time you
           guys are alone, every time you guys go fishing or camping or anything with
           grandpa, all these good .. that grandpa keeps on. You know, just doing ...
           and he touches you. And they were like, they were nodding their heads,
           agreeing with it, with it.
NOTE:      I was never out alone with Avery and Olivia fishing or camping. All journeys
           we went on, Ashton and Stryker were with us.

JURY TRIAL      STRYKER     EXHIBIT 27

D.A.:      Ok. Do you ever do fun things with him (Michael) you enjoyed?
Stryker:   We go hiking, railroad tracks to rivers
D.A.:      So a lot of outdoor activities?
Stryker:   Yes

JURY TRIAL      OLIVIA    PAGE 610      EXHIBIT 27

D.A.:      You guys do fun things together too? What are some of the fun things you
           did together?
Olivia:    He would take us lots of places, and he was like, do fun activities. He'd go
           to family things with us. He'd just do lots of fun stuff that were really fun.
           Like this one thing on my brother's birthday, it's called the fishing derby.
           That was one of the really fun things we used to do. We would go to the
           river a lot.

CARE's INTERVIEW      STRYKER
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Stryker:     Nothing bad ever happens when we o hikin and havin fun in the
             moun ams. Nothing ever goes wrong:



GRAND JURY        GEMMA       EXHIBIT 28 i(_

Juror:      Prior to all of this coming up, what was your relationship like with Michael?
Gemma:      A little iffy. He's very rude. He's dirty minded.

BRAY INTERVIEW         GEMMA       PAGE 11

Gemma:       But she came to me and I - and then I said, you know, you are not going to
             be touched down there and everything, and, and, you know, and if anything
             ever happens, you can come to me and say, and, and, then that's when she
             said, I'm pretty sure grandpa's touching Avery, and so yeah! I brought it up
             to Matt and Matt brought it up to Stevo and then Michael called me and was
             like, Oh Gemma . what- what's going on? I've got Steven on the phone
               ellin at me and was like sa in , if if ever is true, if this ever comes out
             that this happened, I'm going to, you know, he's going to, you know, e in
             trouble. He went crazy. Can't believe this is even being brought up, and
             why and all this and everything. And, but nothing happened with Avery, so
             I ~ept my ear to the ground and just started talking to the children a bit,
             and I found out what happened to Michael in the past.
NOTE:      False story made up by Gemma. I never called her. This was perjury.

GRAND JURY         GEMMA      EXHIBIT @I    d-1
Juror:  Prior to all of this coming up, what was your relationship like with Michael?
Gemma: A little iffy. He's very rude. He's dirty minded.
NOTE:  The above proves Jaque never said anything. It's another Gemma lie.

GRAND JURY         GEMMA      PAGE 14

Gemma:       And then, she did, one day she came to me.
Juror:       Tell us how that happened.
Gemma:       I - you know, I can tell you anything? And I said, yeah, you can tell me
             anything. And she said, I think- I think Avery's been touched down there.
             And I was like, Avery, by who? By grandpa. She - she's been touched in
             her private area by grandpa. And, I went, she has? Well, she - she told
             me this, mom. And I was like, ok. So I spoke to Jaque and Jaque was like,
             no. I - I talked to Avery. We ask her all the time if she's ever - and I was
             like, you ask her time? Why do you ask her all the time for? And she goes,
             well, you know what grandpa's like. He's a little dirty, he's a little rude.
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            And I was like, well, yeah, ok so she - she - no she - she could come to
            us. And I said, I said, alright and I left that then I went to Matt and I said,
            Matt, this is what they- jshe said. And I - I spoke to Jaque and well, they
            have and they said that it's -- its impossible. They're - its not like that. Its
            not like that. And so I said, I - I think I'm just going to go behind Jaque's
            back and talk to the - talk to Avery and talk to the girls and see if there's
            any truth.              l_\   9_A
JURY TRIAL      OLIVIA     PAGE 604-605        EXHIBIT 30      PART 1     fs
D.A.:       Ok, what about when he licked you or touched you with his mouth, did that
            happen in one place or more than one place?
Olivia:     One place
D. A.:      And what was the one place that happened?
Olivia:     His car
D. A.:      Ok, who was in the car when that h~ppened?
Olivia:     Just me
D.A.:       Just you and grandpa? .
Olivia:     Uh huh
D.A.:       Tell me a little bit about that
Olivia:      I was in the backseat, and that's really all I know.
D.A.:       How did you get in the backseat?
Olivia:      I don't know. I guess I got into the backseat, I don't know.
D. A.:      What were you wearing?
Olivia:      I don't remember.
D.A.:       When you got into the car, did you have clothes on?
Olivia:      I don't remember.
D.A.:        Can you tell us what it felt like?
Olivia:      Weird
D.A.:        Anything else you remember about that? Do you know how it started? Did
             somebody tell you something?
Olivia:      No, wait, how the whole thing started?
D.A.:         How t he time in the car when there was licking. How that started?
Olivia:      I don't remember.

JURY TRIAL      OLIVIA      PAGE 625       EXHIBIT 30      PART 2

Attorney:    And then you talked about being in the car and I'm sorry to have to ask you
             this but, him licking you?
Olivia:      Yeah
Attorney:     Do you remember telling McKayla that he was outside of the car when that
              happened to you and you were on the inside?
Olivia:      Yeah                                         •
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              remember saying that?
Olivia:       Ok
Attorney:     And remember if you don't remember, what's the rule?
Olivia:       I don't remember.

JURY TRIAL        EXHIBIT 6    PAGE 608

D.A.:         Ok. Did you see him touch her with any other body part?
Olivia:       No
D.A.:         Do you remember talking to McKayla about some touching of Avery's body
              with grandpa's front part or grandpa's boy part?
Olivia:       Uh huh
D.A.:         I didn't hear that.
Olivia:       Yeah
D.A.:         I, and I know that that's probably really, really hurtful and hard to talk
              about. Did you see that happen?
Olivia:       No

During Avery's CARE's interview, she said there was no island or cave at the river we all
went swimming at. In addition, she was never questioned about the sexual content the
way Olivia was.

NOTE: Olivia's story was the "bad touching" happened when I came to get them on an
island where there was also a cave and then we all "walked back". Gemma's story is I
went downstream to get them and the "bad touching" occurred when I was pushing
them back upstream in the water. The video and pictures show a man, a stranger,
pulling them back upstream in the water. The girls were on the turtle floaty, fully
dressed. I was video recording from the shore, also fully dressed.


Gemma's False Statements    Page 2t ~         2:- \
               She told me that grandpa saidJ said to her that, that, that she would
               get taken away. She would get lock... that she would get taken away.
               She would get taken away and grandpa would get taken away.

Gemma Quote: And I don't know who told her it, but that's what she got told, and I
             don't know if that Steven or Jague that told her that or, or whatever,
             but she was terrified that grandpa was going to get taken away.

In Reality:       Gemma said, grandpa said, she would locked up and taken away.
                  Then Gemma said "I don't know who told her." This is for sure a
                  weird, confused lie by Gemma. (Exhibit 2)
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JURY TRIAL      GEMMA      PAGE 677      EXHIBIT 31    *
Gemma:      He told them to get naked and sit in a room and wait for him to come out
            and he's licked them individually, taking turns.

JURY TRIAL      OLIVIA      PAGE 604     EXHIBIT 31

D.A.:       What about when he licked you or touched you with his mouth. Did it
            happen one place or more than one place?
Olivia:     One place
D. A.:      And what was the one place that happened?
Olivia:     His car

GRAND JURY       GEMMA

Juror:      Did Avery tell you anything about him (Michael) licking her?
Gemma:      No

JURY TRIAL      AVERY     PAGE 645

D. A.:       And where were the places, like the buildings or places that it happened?
             Did it happen at Gemma's?
Avery:       I don't think so.

JURY TRIAL       GEMMA      PAGE 698        EXHIBIT 32     -I(

Attorney:    I'm just asking, in general, when you testified at the grand jury, do you
             remember saying that you got concerned that he was a sex offender~
             you started doing research?
Gemma:       I never done research, no.
Attorney:    Never done any research?
Gemma:       No.

DETECTIVE BRAY       INTERVIEW         GEMMA

Gemma:       I tried to find out-what-what happened to Michael, you know, in the
             past. J went on line to access public sources to find out people, if there's
             sex offenders, and all that, and everything. So my mom said she looked
             into it, and we just kept him away. But things just started getting worse
             and worse, but Livy also tells stories.
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GRAND JURY TESTIMONY             GEMMA

Juror:    How did you first become aware that something might be happening with
          the girls?
Gemma:    I started hearing from one of the brother's wives (Jaque) that Michael had
          a prior, events, similar events.
Juror:    Oh, ok. Did you also learn that the defendant had some prior accusations or
          even a conviction for sexually abusing a child?
Gemma:    No, no. The only thing I got told by a family member was that he slapped
          some teenager's ass and they got upset about it. And nothing happened, it
          was nothing. That's what I got told.
Page 713
Gemma: Research means to me going online and finding information, credible by or
           companies or government, that will state that he is a offender or something
           of some kind and I did not do any of that! I asked a family member. I think
           I was just, I think it was my husband, yeah.
D.A.:      So when you're talking about what you did, some people might see that a~ .
           research. That's not how you are using the term, 'rese9rch?
Gemma: No, no.
NOTE:    In the Bray interview, Gemma boasted of how she and her mother did
         research on me. She also said that Jaque, who would be the only "wife" of
         of Matt's brothers, said she spoke of similar events. She also said Jaque told
         her I slapped some girl's ass, which if not true. She lied to both jurys under
         oath.

GRAND JURY       GEMMA      PAGE 21      EXHIBIT 33 -ft_

Gemma:      I just wanted to, just get in the fact that I don't think the girls realized
            that he was hurting them because when I said that, its, you can't, you
            know he hurt you guys, you know, you, you don't want to be speaking
            to him. They were all, they were like, like, grandpa was lovi ng us.
Juror:      Right
Gemma:      Like, so whatever he's done to them, you know, and, and then other things
            like she told me, that he did, oral.
Juror:      OK
Gemma :     He's licked on them .
Juror:      So when you say she ..
Gemma:      Olivia
Juror:      Olivia
Gemma:      How or what ..
Juror:      Ok
Gemma:      Yeah
Juror:       Did Avery tell you anything about him licking her?
Gemma:      No
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JURY TRIAL       OLIVIA     PAGE 604       EXHIBIT 33

D.A.:        What about when he touched you or touched ~ou with his mouth. Did
             that happen in one place or more than one place?
Olivia:      One place
D.A.:        And what was the one place that that happened?
Olivia:      His car
NOTE:     Gemma says "them" meaning both of the girls but Avery never told he that.

BRAY INTERVIEW         GEMMA       PAGE 24      EXHIBIT 34 --fe.

Bray:         Was there any indication by either girl who long this has been going on?
Gemma:        Yes, she said, I got the exact number. She said about three years.
              Avery said for the past three years, that it's been going on.
Bray:         And did Olivia, I know you said Avery made a statement about three
              years. How about Olivia, did she say how long that was going on?
Gemma:        No. She didn't say how long it's been going on.

GRAND JURY        GEMMA

Juror:        So did Olivia or Avery give you any sort of time frame about when these
              acts occurred?
Gemma:        Both of the girls said it's been happening since, Avery, or to Avery, s
              She was - well, they said three years.
Juror:        Ok
Gemma:        Yeah, for the past three years, he's been doing it to Avery. And I think
              for the past year, maybe even a half, he's been doing it to Olivia.
Juror:        That would track when he started taking her after you got pregnant.
Gemma:        Yeah, pretty much, yeah, yeah, yeah
NOTE:     Not what she told Detective Bray when he interviewed her.
E. R. 35]
In June, 2019, Olivia Alexander, current age 10, disclosed to her mother, Gemma
Gedge, that the defendant had been putting his finger in her vagina for the last 3 years.
NOTE:     Gemma said Olivia didn't say anything, only Avery told her about three years.
          Then she told the Grand Jury Olivia said one and one half years. Then the
          D. A. said three years.

BRAY INTERVIEW        GEMMA      EXHIBIT 35 -/>(

Gemma: I'm afraid he's going to take off.
Bray:  Ok. My best explanation to that, to you, is once somebody's arrested, a clock
       starts ticking, ok, and so we become limited in what we can do.
Gemma: How long can you hold him to keep him?
Bray:  And with what information we have, so if he's not arrested, you know, I can
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       gather more information and make a better case.
Pg36
Gemma: So this is the thing, as well. I mean don't you guys go and arrest him?
       I mean, I know you can't just like, on one person's word just go down there
       and arrest a person, because, ou know, eo le lie. You could have someone
       lie. I, you know, I could be a bad person right now and just trying to get him
       in trouble.
Bray:  Hmmm
Gemma: Do you know what I mean? So I can, I understand that.

CARE's INTERVIEW        ASHTON       EXHITIB 36 ~

McKayla: So what are we going to talk about being here today?
Ashton: Ah - ah you can say I don't know. You can, ah, like ah, just don't lie.
McKayla: Mm hmm
Ashton: And it's all truth and the more we say, the more that we get to put him away
         and stuff like that.
McKayla: And who is it that's going to be put away?
Ashton: Grandpa
McKayla: So you told your mom about kind of what you've seen?
Ashton: Yeah
McKayla: Yeah, what made you tell your mom?
Ashton: Knowing that it's not right.
McKayla: What did your mom do next after you told her?
Ashton: She was like, ah, I'm going to wait until it's like, the right time to, like
         confront him, and stuff, about it.
McKayla: Yeah? Ok. And then what happened after she said that?
Ashton: Well, she, ah, just waited until she got a lot more information to, like, really
         nail him down.
NOTE: Here he shares information his mother told him.

BRAY INTERVIEW          GEMMA       PAGE 14      EXHIBIT 37 -/)..

Bray:       So there was a time where Olivia talked to you about what's going on with
            her?
Gemma:      Yes, and it was like, the third time she mentioned something had gone on
            with her. And then it was like, a little time had passed and I said to her I
            was going to have to speak, I had to figure out how I was going to, you
            know, blow it all up.

JURY TRIAL        GEMMA       PAGE 699

Attorney:   So you've asked your daughter about being sexually touched . She denied it.
            How many times, would you say you asked her prior to June, 2019, about
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           about being sexually touched?
Gemma: I've never.
NOTE: Above in the Bray interview, she said three times Olivia mentioned something
         had gone on with her prior to June, 2019
Pg 696
Attorney: Prior to June, 2019, you had gotten wind of something in Mr. Champagne's
           12ast. How long prior to 2019?
Gemma: A couple months before.
Attorney: And you asked your daughter before, Olivia, had any bad touching ever
           occurred to you, and she said, no.
Gemma: Correct

JURY TRIAL      OLIVIA      PAGE 621

Attorney: Ok, did your mom ever ask you if anyone .. how many times had your
          mom ever asked you about people touching you?
Olivia:    I don't remember.
Attorney: Can you try real hard -- and we'll come back to that in a minute and
          Then I'm not going to bother you about it if you can't remember.
Olivia:   Probably like twice.
Attorney: Twice prior to you talking to your mom?
Olivia:   Oh, talking to, probably like four times.
NOTE: This shows Gemma lied in the Jury Trial.

BRAYINTERVIEW         GEMMA       PAGE 41      EXHIBIT 38       PART 1 OF4     -A
Gemma:      I want my daughter knowing that if something happens to her like this,
            she can go to the law and trust in it to have justice. To get things done
            right, you know. That they~re, it isn't just going to be between the family,
            and he's going to just get beaten up by one of the boys, or something
            like that, you know. I - no - he - no. · No. Arid I said this and they said,
            all right. Well, then we were going differentways, and he grabbed Avery
            and left and we didnt see them (Steven, Jaque and Avery) for weeks.
NOTE: Two days later was Avery's birthday and Gemma talks about how Steven and
      Jaque had no presents or cake so she baked a cake. "So Steven and Jaque
      used us because they were so angry at us because we were going to go to the
      police. But they just had to stomach it and put up with it so that - that Avery
      could get her gifts and her cake and her pie.

NOTE: See how quickly Gemma tells a lie. She said she hadn't seen Steven, Jaque and
      Avery for weeks, when in reality, she talks about how she threw a birthday
      party for Avery two days later (after the river incident).
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                                           5b

JURY TRIAL        GEMMA       PAGE 690       EXHIBIT 40 ~

D. A.:      So obviously, Olivia is your daughter and you love her very much. Do you
            have yourself an opinion of her sort of character for truthfulness?
Gemma:      My opinion is she's truthful.

JURY TRIAL        GEMMA        PAGE 700

Attorney: • You were - just testified, on direct that you don't have any concerns
           About Olivia's truthfulness but that's not what you told the Grand Jury
            during your testimony, is it? In fact, you said that she tells a lot of - I
            think it must be an English word called "porkies" or tall tales.
Gemma:      Porkies
Attorney: Yeah
Gemma:      Yeah, that is an English word, yeah, but she's a kid. She tells the truth and
            lies just like all the other children do.
Attorney: Why don't you tell me if this is you voice?
Audio recording: Livy's a storyteller. She'll tell a fib to get attention. She will.
Attorney: Was that your voice?
Gemma:      Yeah
Judge:      There's an objection.
D. A.:        I don't object to the question about was that her voice, but I'm going to
             just object and will continue to object to improper character witness.
Attorney:     It's a prior sworn statement and it's inconsistent.
Pg 702
Attorney:     The general rule under 608.2 is that specific instances of conduct are not
              admissible, but to prove truthfulness or untruthfulness, does not bar their
              introduction to prove motive or bias. Number one. Number two, the
              witness stated during direct testimony that she finds Olivia to be truthful is
              directly contradicted by her sworn testimony under oath, that she said her
              child is not truthful. I mean, she opened the door then to the defense
              inquiring about how her child's not truthful, which I think includes the two
              specific instances which she alluded to or her child accused her of abusing
              her.
D.A.:         I would simply disagree. I think he's entitled to cross examine her on
              whether or not she has previously made a sworn statement that her child
              has been untruthful. And does that change her opinion that she's provided
              to the jury? And if it doesn't, he's stuck with an answer. If it does, then
              there's a different answer.
Judge:         I'm going to allow the answer to remain as it relates to the previous
              testimony regarding her opinion of her daughter's truthfulness.
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 STATEMENTS ATTESTING TO OLIVIA'S UNTRUTHFULNESS PART 2 OF 4
 (step dad)
 Matthew:     Olivia is known to tell like a million lies, fabricate things or make
              them bigger than they are.
 (from
 CARE's
 Interview)
 Avery:       Because she usually lies, bosses people around
 CARE's:      Are you telling me she's bossy and she lies? What does she lie about?
 Avery:       She's used to lying. ..
 Stryker:     Well, Livy did lie a lot, but I think that's what happened.
 CARE's:       So what did Livy lie about?
 Stryker:      She always lies that she had a boyfriend. She lies that she has a pool
               mansion.
 Gemma:        But this 1s Olivia for you, you know, she likes the attention. She'll make
               up stones.
 Gemma:        Livy1s a story teller. She'll tell a fib to get attention, she will.
 Bray Interview with Gemma
 Bray:          Ms. Gedge did explain, she was apprehensive about reporting any of this
               prior to checking into and being relatively convinced it happened because
               Olivia has lied to her and other's in the past.
 Gemma:        Livy would come to me with more stuff but Livy also likes to tell stories.
               So we have, we've had to speak to Olivia about over exaggerating stories
               and things.
 Gemma:        Like Olivia wanted me to believe her more than ever because obviously
               I had. a hard time believing her right in the beginning because, like I said,
               she's got a track record of lying.
 Gemma:        I don't want to destroy Michael, especially with Olivia and her track
               record of having a bit of a story telling mentality.
 Grand Jury
.Page 30      The Jury also later heard a recording of a CARE's interview, in which
               Avery Champagne also suggested that Olivia Alexander is given to
               telling false stories.
 Juror:        You're saying Olivia has a history of telling lies?
 Gemma:        Yeah, so!

BRAY INTERVIEW          GEMMA       EXHIBIT 40        PART 3 OF 4

Gemma: So we have, we've had to speak to Olivia about over exaggerating stories
       and things so yeah, I wasn't about to start ruining Michael's life by these
       accusations until I was a hundred percent sure or at least, at least a little
       bit more certain that it wasn't just her trying to get attention.
Gemma: She even went over to the neighbors and told them neighbors the reason
       she's got false teeth is cause me and Matt punched her in the face. She
     Case 3:25-cv-00347-CL        Document 1-1      Filed 02/28/25    Page 110 of 141        13:3


            fell at the swimming pool and broke her teeth. This is Olivia for you, you
            know, she likes the attention. She'll make up stories.
Gemma:      She would go and say that I - I left her with the babysitter once and she ran
            out of the house and went to the neighbors that mom left her on her own.
            I have no one watching her, and she left me and I'm like, and she's crying so
            I got the neighbors calling, I should call services. Really, you know, you
            can't leave your eight year old daughter alone. I'm like, she's not. Go over
            to the house. There's a babysitter there. And so she said, ah so we have,
            we've had to speak to Olivia about over exaggerating stories and things ..
            So, yeah ..
Gemma:      But things just started getting worse and worse. Livy would come to me
            with more stuff, but Livy also tells stories.
Gemma:      She fell in the swimming pool and knocked her teeth out, and she went
            across the street to the neighbor's house and they were like, Oh heavens,
            how'd you do this. Oh, my brother punched me in the face, like this.
            So they came to me, oh what are you doing letting your brother punch, I'm
            Like, no, she's telling porkies. She fell in the pool.
Gemma:      (talking to Avery) Livy's come to me and, and said grandpa's touched you
            down in your private area, and Livy's right here, and I said - and I said, but
            you, you know as well as I do what Olivia's like, and she can lie, and I want
            To make sure she isn't a liar.

JURY TRIAL        GEMMA       PAGE 690      EXHIBIT 40      PART4 OF 4

D. A.:      So obviously Olivia's your daughter and you love her very much. Do you
            have yourself an opinion on her sort of character for truthfulness?
Gemma:      My opinion is she's truthful.

My Attorney, Mr. Schmonsees Page 695-696

Attorney:  You previously testified, under oath, downstairs in what we call the Grand
           Jury Room. Do you remember that?
Gemma: Yes, I do.
Attorney: You were -you just testified on direct that you don't have any concerns
           about Olivia's truthfulness. But that's not what you told the Grand
           jury during your testimony, is it? In fact, you said that she tells a lot of
           porkies, or tall tales.
Gemma: Porkies, yeah, that's an English word, yeah, but she's a kid. She tells the
           truth and lies just like all the other children do.
Attorney: Why don't you tell me if this is your voice.
Recording: Livy's a story teller. She tells a fib to get attention , she will. ,
Attorney: Was that your voice?
Gemma: Yes, that was.
Attorney: It's a prior sworn statement and it's inconsistent.
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Gemma's False Statements About Me (Michaen Making Ashton Get Naked At The River.
BRAY INTERVIEW      GEMMA      PAGE 25     EXHIBIT 41     PART 1 A

Gemma:    At the river, he made them strip down naked, including my son. t,-
Bray:     He made your son strip down naked?
Gemma:    I confronted- I mean, he said, mom, he didn't make me,kind of- he
          made the girls and then he said, well, the girls are naked so you must, you
          might as well and my son said, o~.

GRAND JURY       GEMMA       PAGE 27

Gemma:     The only other thing is the, when they - when he takes them to the river,
           He, he, makes the get naked. He makes them strip off naked. ~
Juror:     Ok
Gemma:     And he made my son strip off·naked once too. And it took me awhile to get .
           it out of my son too. He was very embarrassed. He broke down in tears
           after the third time of me asking what happened, because OIMa yet was the
           one that was saying what had happened.
Juror:     So I j ust want to make sure I understand. So Olivia tofd you that one of the
Page 29    times at the river1 grandpa had also made Stryker take his clothes off?
Gemma: Not Stryker, Ashton.
Juror:     Ashton, ok. And that ..
Gemma: All of them took his clothes off, but Ashton told me as well.
Juror:     So what I was going to say, one of the, Ashton confi rmed with you that
           what Olivia said ..
Gemma: Said was true.
Juror:     Was true, ok. Did Avery tell you that he had them take their clothes-off?
Gemma: Yeah :                                                                    •
NOTE__,, Gemma lied three times about Ashton getting naked at the river at the same
   /   • time Olivia and Avery got naked at the river. .

JURY TRIAL      GEMMA       PAGE 692      EXHIBIT 41      PART2

Gemma:     My little son, Ashton said that he made him get naked in the river, with the
           girls. He made the girls get naked and then he said to the boys, you might
           as well get naked. If not, you can go sit in the car. And so my son got ~
           naked, as well.

CARE's INTERVIEW       OLMA

CARE's:    Can I say the whole thing you wrote down?
Olivia:    Uh huh
CARE's:    Ok, he said it was ok to be naked in the water, so we did what he said.
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Gemma:     Every time I spoke to Olivia, she said always it was Avery first.
NOTE: Olivia said, in the Trial she only saw me touch Avery with my hand. She
      couldn't remember where or when.

JURY TRIAL       GEMMA       PAGE 677      EXHIBIT 42 -1(

Gemma:       He has tried to get Olivia to touch and put his penis in her mouth, and
             touch it with her hands.

BRAY INTERVIEW         GEMMA

Bray:    I asked Olivia if he has ever asked her to touch him. She was like, no.

JURY TRIAL       OLIVIA     PAGE 621

Attorney: Ok, did your mom ever ask you if anyone ... how many times had your mom
          ever ask you about people touching you?
Olivia:   I don't remember.
Attorney: Can you try real hard ... and we'll come back to that in a minute and then
          I'm not going to bother you about it, if you can't remember.
Olivia:   Probably, like twice.
Attorney: Twice prior to talking to your mom?
Olivia:   Oh, talking to, probably like four times.
NOTE: This shows Gemma lied in the Jury Trial.
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CARE's INTERVIEW        ASHTON       PAGE 16

CARE's:       So grandpa and girls were in the river.                 •
Ashton:     ( ?"eah, only the girls were naked, not him)
CARE's:     'How did you know they were naked? I don't want to guess.
Ashton:       Ah, so I walked over and well, grandpa told me and then I -they were
              naked when I walked over so I left and went back to Stryker:

CARE's INTERVIEW        OLNIA       PAGE 11-12

CARE's:      Hmm, you and Avery had nothing on and while you guys, while you were
             In the river, where was Stryker and Ashton?
Olivia:      In the water
CARE's:      In the water, ok. I saw you nod your head, ok.
Olivia:      But they were playing somewhere else.

JURY TRIAL       ASHTON       PAGE 726

Ashton:      He took us to the river where there was clay in the river. You know, Livy,
             maybe Avery, but I definitely Livy was there, was naked in the water.
             And Michael said you could look inside. I'm like, no and I turned away.
D.A.:        I know it's a difficult question but what was he doing that made you say _
             Ew, and walk away?
Ashton:      Saying you could look inside, and yeah.

CARE'S INTERVIEW WITH ASHTON             PAGES 22-23, 28-34     8AB'Y S1TTi NG          PB DQ E
McKayla:     Ok
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Ashton:      I think the girls were naked on the couch and they were sitting in a blanket
             naked, I think. .
McKayla :    Ok, the girls were sitting close to each other. Where were you and when
             this was happening?
Ashton:      I had to stay in the living room where they were because I had the baby,
             so I couldn't go anywhere else.
McKayla:     Ok, but Stryker's the one who said that they were naked under the
             blanket?
Ashton:      That's what Stryker said.
McKayla:      Ok, and where was - was - where was grandpa, or was he even there or
Ashton:       He was there. He was right next to them but not in the blanket. Right
              next to them.
McKayla:      So what's your relationship like with grandpa?
Ashton:       Well, he would take the -Avery and Livy and Stryker everywhere and just
              leave me behind.
McKayla:      Oh, other than that and the bad words, any other stuff he didn't want you
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            you to talk about?
Ashton:     Him making us watch, like, ah, sex movies and stuff.
McKayla:    Ok, tell me about that
Ashton:     Well, this was another time that I would have left, but I had the baby.
            It was the same time, ah well, I said, oh, grandpa, this is against my
            mom's rules and we're not allowed to watch this stuff, and he was like, oh
            you're with me, so you're allowed to watch anything you want, and I was
            like, ok. That- but that's against my mom's rules, and he still did it
            anyways. When the baby was born, he did it and then when I was
            watching the baby, he did it, and I was like, ok, I'm just going to tell my
            mom.
McKayla:    Hmm, so you didn't want to ·:· hmm.
Ashton:     He didn't find out that I told my mom about that!
McKayla:    So he did it one more time?
Ashton:     Yes, he did it twice.
McKayla:    Twice, ok. So once when baby Matt was born ...
Ashton:     Yes
McKayla:(   Ok, and then one more time when you were watching him ...
Ashton:     Yes, and my mom and Matt went to a concert.
McKayla:     Ok, when who went to the concert?
Ashton:      Ah, my mom and Matt.
McKayla:     Oh, your mom and Matt. So who else was watching the movie?
Ashton:      Livy, Avery, and ah, Stryker was in the room.
McKayla:     So you had to take care of the baby all by yourself.
Ashton:      Yeah, basically.
McKayla:     Yeah, and then, when - so tell me more about, kind of how it started.
              Like - like, where you guys were when ah, you guys watching the
              movie.
Ashton:      In the living room
McKayla:     In the living room, and ah, tell me about, kind of how, like where
              people sat. Where were you with the baby? Where-was grandpa?
             Where was Olivia and Avery?
Ashton:      So, ah ...
McKayla:     Do you want to draw a layout for me?
Ashton:      Can I? Yeah it, we have, like, a, like a, house that goes to the corner of
             the room and then sideways.
McKayla:     So that way, yeah. Just, you can draw me a layout of the living room and
             then, you can make like, where you guys were watching the movie.
Ashton:      Like, here and then it turned, but this is longer and like - like - right here
              would be me. And like here, this is grandpa, and this is Livy, this is
              Avery.
McKayla:     Mm hmm, ok. And where was the TV or was it on the TV or was it on
              something else?
Ashton:      TV
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McKayla:    The movie, ok.
Ashton:     The 1V would be like, up here.
McKayla:     Oh, ok. So tell me more about the movie that he showed you guys.
            Like, what was going on in the movie?
Ashton:     Ah, like, ah, ah, God, this is hard to describe without being awkward. Ah,
            so, like, ah, so it was - they were on a bed, both naked, ah with just
            nothing on. And then, well I think the guy in the movie was sticking his
            thumb in the girl's private. And then, she was rubbing up and down on
            his private, like ...
McKayla:    Ok, were they grownups, kids?
Ashton:     Grownups
McKayla:    Teenagers?
Ashton:     Grownups
McKayla :   Ok, when the movie was happening, what was grandpa doing?_
Ashton:     Ah, I think j ust sitting and watching or sitting and smiling and watchi ng.
            Either he was probably watching and talking to the girls.
McKayla :   Ok, what were the girls doing?
Ashton:     Sitting, watching and laughing.
McKayla:    Ok, and were they like, were, ah, I know you were telling me about a, a
            Different time when they, just, like had a blanket on .
Ashton:     Well, the same
McKayla:    So what would be ...
Ashton:     Exact thing happened again.
McKayla:    Ok, so when the, when you guys were or when the movie was on, what
            were ah - what were Livy and Avery wearing or could you tell what
            they were wearing?
Ashton:     No, their - it was j ust their blanket. It was like this. The blanket from
            here down and all you could see is their knees poking - like holding up
            the blanket and then like, hitting the floor, and then you couldn 't see
            anything.
McKayla:    Ok, and the blanket was over grandpa as well or not?
Ashton:     Ah, I don't think so.
McKayla:    And where were his hands when you guys were watching the movie?
Ashton:     I think on his lap, I think.
McKayla:    Did anything ever happen, like was he wearing clothes, was he not
            wearing clothes?
Ashton:     Wearing clothes
McKayla:    Did anything happen to his clothes while you guys were watching the
             movie?
Ashton:     No
McKayla:    Ok, I'm going to write down that this is the living room.
Ashton:     Ok
McKayla:    Living room, and because you told me that these like - your grandpa
            was sitting on Matt's usual seat and that your mom's seat is usually
      Case 3:25-cv-00347-CL      Document 1-1      Filed 02/28/25    Page 116 of 141



             kind of at the end of the couch ...
Ashton:      So this would be Matt's seat at the edge, like this would be where
             normally I would sit, if I sat next to my mom.
McKayla:     So, since I'm talking to you, I'm going to write down your house, ok?
             And then the time you were telling me about when, when Matthew was
             born and there was another movie like that on.
Ashton:      The same one.
McKayla:      Basically the same. How were people sitting that time?
Ashton:       I was sitting here and then ...
McKayla:      Ok, did they have a blanket on that time as well? Yeah? Ok, what about
              grandpa? Did he have the blanket on?
Ashton:       No, ah, maybe, I don't recalL I don't know.
McKayla:      I appreciate you telling me, "I don't know."

STATEMENTS MADE BY GEMMA GEDGE
   All the following statements, she says that Olivia told her. I believe Gemma made
   them up.

Quote:        Olivia said that Avery said thatlhis is not going to happen to me much
              longer because he likes you better. And that he's not going to touch
              me anymore (this is Avery to Olivia), that he wants you now.

Gemma:        Olivia told me, these were her words, (says Gemma). She says,
              mommy, he says he come in my room at night and touches me at
              night, and the he could touch me in the daytime because I like it in the
              nighttime.
Bray:         So that's what he told her?
Gemma:        yeah, yeah, to, to, in order to touch her. Yeah, yeah, I'm assuming
              that's what he said, yeah.

Gemma:         Olivia said she don't remember the incident happening but she stated
               she was eight. Her grandpa told her that while she was sleeping, he
               put his private in her backside. She said she was sleeping and it was
               Just - she found out after grandpa told her.

JURY TRIAL      OLIVIA

D.A.:          What kind of touching did grandpa say he did?
Olivia:        My front part.
D. A.:         Ok, so his front part on your front part?
Olivia:        My front part.
D.A.:          So grandpa told you he touched you on your front part, but you don't
               remember that happening because you were sleeping?
Olivia:        Yeah
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    AYlg.._ , ~ 1 F} , ,\¼_ ~~ C'{'(\ ~ e)(lµ,, b~-t                         o, ·;+ ~ ~ ..s
    ~i- "!Jo, /WQ,V'1.) A~ ~ 1(<..u~'t vt O\J :s fru.) -r& v\&.oo
    6o\ -r t-l~  V      5 .g <2.
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                ,   •.s  I       \ 1'0 A \)o o-t- ~ /0 \V R-\Q..     f\ rt:s
    0l"2:: 1-r w A s A~ T \-½v '5 ).-k. ~Ln- w,-kvJ .;s \+a)S'
   ~1::: a:;>)s9:1a1n1            ~+ . . ·Ar R T\:\iA-1~ \::\D e a2 -e:¾Jc             ,, 5o Av~vl
    9 o, T\-kL. H-oi- "Do 1 \ f\Y' ;i- o t ·, v rlf4 To\R                             \-kl('      vDcW'\
     f}'ooo t- i t-1 .S 1-Je.. To\ & ,)¼_ c \-h IP-r-o('~ c.of'~r f)\uoo't'"
    , t\ lv t¼n 5)-\Q.. c9-,tl '.:)\     S ~\-B. Scle sew I± t,0 1+\t
                                                                                             -tC'l-\-- ·u --
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             '1> o we U,,,~ o?e.:ci or- <i .9 ..:S +e-h~--0) e r·{
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                             Q() e,
       lA) e_, $ €, e,_ ½,,) t"f A't' e uQ. V ~ ~ (!) ; U (;/!, f) \-1 0 T
           ·, "'5 S r\--e-6 1 ~ \ K., .n  ~ '()6 0 , 'Bo         r ', V f)i ""t"e,
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                    Co wOT T w O                       V ectw_, ' ~Ro
     '"Po we \\'        T~ r::::. Aq (:}-, C\ r e_\ /:rt"'s. 10 f) u<1-, '()--
    S tkz__ Tot~ o ~ TNL t()~~.0Y161-.PY' 1- 0s"Q,                 ~,- ~
    lY' o o + H Ar fl- To u '0C\ Q.., \ o , o u '- \-\ ~ cY) r\a.('
    fr, u A-te A h.9- -r ¼,\s 5 brt o f P ~use.. l-\-A-p~r,eJ
     fY' ore...- -r~f\A cSY'Q.... , , ()'..e..) AY1 $l 'q m ~ fi2.. T\-lM ~
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    \ 00~<:5Y),.   f1 c9-8- i+, 6Y) p.\\.'1 ~ 'S t +- 0Z.Q..,\ A ~ ,o
    Cou() 't , w o. ~Y' ~ ~\~o t-ou-0 t-3 wH,GH ,.s
    1 ~ s o &-6'('(\ ~ c. \-\ f\r'\ Q.. W \-\"2 ( e.., o \\ \J 'if~ -r ¼
    Vi'_c.+, 'Y\,, OL, u, ~ ,o\~ ff\? G -a c9q t2-> ~ \i·c\c~~
     l5 S l ~    \ 1 c. ~f}- U ~,   A~ ·, -\- Re..LP-t-QS \ 0         C,,.::v(\'t

   3 . :So~m1 wl-wtQ., ol~luff\-s ,\--¼.. \J,~-+~m ~
   Lj o\J l--\Q..{')'('9 -r* ct~ ' e-f',~+ -, D'(\ C>f \-tow ~ ~,5
    \-\-frp p.a. X'ac9- , n T ~ C Ar) D D w L \ \<.v ';) -Y
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                                                                                             '}) Aq Q;   L.l
       '40D ~ \) Re..mQO'\~x-- ,\-tQ... w~'i t-\.Q,(' +-Ac~
   I \ 00 ~bl > -r ~ w P-L-f ~ ' Tcrne- c \--!f'0q~9-, T ~
    ~~ ~ \-t-Qr boJlVJ LAl10}uf\9~ CH+1'<'<l-"Q w ~ n
    S \-¼_ S f.:\'\ c9,. ~ t l?- .e.XT W i "2. I( bl- !
                a·                                                 ~
                 'PR. o se c u + of', ~ \ r:D l 5Cu'(\6luc't"~
      L\{Q_ Q f D '5'2.GU f c."'C' fD ~ ~ f\ D t '-f O c \4 :foC i' \\Q.,
    Ct:Q ~, t\ r Ht 1 o ~ 9\6 v-a.v"(Y)a.·<vt w tt n e.t, s Co~ro@&)
    or Al\v tQee To H-;-s at ka.-r o u.>(\ (S?Q.~ S§S\~\
   . ..n:±-e9\ f~ -\-'7 C5'c a A-+ tk o f- o t f i                                b o \~-l-<2 r
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                             n-t 'C)          ,,
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     ~Y' b o-\\4 ol:: o \ '1 \J\~~ 'Tx:r\...a..{' \1, -e-\v~ s'\\rl. ,
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    fY\ ~b'~ -r \-\-a-s e. S-\D '<' , f1,.S lFQ A '()6V't w ~ '0 ~
    b Pt~ ~ ~ {)"¾ , \\.e ~ 6u {' C \-h \~ ,-cl n. ,
        :!-fl TAcl O \1 u~fi 6 ~~ £)_ ·;:r~ \-\..ir C-Dfte-t\.P Q
    °t'£S+LlYX1'1\<j \tu'1 T~ '\) (~--t-r i c..T fr-,-t~y-0 ~ ,
     s \--\e, '5~\ ~ ~ ,ouc.r\.oP- ~ {.)'{\~.Q("' e \)\~(\"'cl,~
     oYl \-\~f' @r i VA,--\-~
                        (,                               ~'\ 1'0                       '
   ~     .(l1..   ~ ~-'db ,.. ~ fn M ~ b<d.,t!}.      (l...   "-:J~Af\~ ~v c'"'
         "T \-\a.o s \{Q.... S +Pr-t..a 9= :S ~lf f'':\ ;+ w 0 ":::I 1)<Jf'Q,,
    w      \-\-o..f' - ~""s.            s,~
                                    w ~ s-- A \ \ u·~e. x. ru·,&~r .
    l , ts:e, l r .. ;r: I l.\J As- - , t -- :1. <Dot\-t" n '<' 61Q W\-tq
   \-t<L w(Jnt..08-To '<:) ct \-k_ 41 Pr5- \-\~- \"¾ \ ~c~B-
    oY\ lJ ':) ~ \ ~ \ \ (_ \:::<L.-~ 01\ us -.
   ~L) Ca~--., t'Q~J. s \-\e., ' '€..,\ \ '-t\OV w Hpi (¥ f:rri' \~ \,, K.QP:~ .
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     \±e- T\:t,A•t ~ ,ouc.\-t.(!P- \¾X:.
    ''°\'.       '""
      -'-1V,6 Y-     0:'<' !)I-
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                                t~Y'.J ,S\¾ (yP"' ort--e-& l-7"'" \~('
     VMH,~\ ~~e.~ s
    'GQ., rnfi' -~. ., ·\-\-mm- f\ 1"' ~ ':\ 0 :& ~
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               ~ -e. mmi? ~ U'<' ::{ -rR, ~\                        1)f½je ~ ---~1'1-'7~ l

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     f0 y'f()O'.J (/4 > \:¼ \ , L 'f'--e 9-, U ':::) > ~'A~ '$ )\.e., \\ f.8-:
    l71:}1 - 'i'"'- ~=i ~ ~ c.,e 6Y\, "2-,y) > E\Y't}. SD Ll~ \~
     ~ - cMJL l5-S) W\:t'--' <!,£ ~ \"i<:.¥- u ~ . .

        G e m mA: 0 eb?q                  ,Q_,   t5 e, bl 1'"' 1' \\(s z: p -c ~o&-0
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     f'\Y\8. \¼ £l\J2. UQY\ ¼ILA, o\ g t\ S\.l-16'() qQ,t \'\ ~):'..Qp_i

                       0   L1 L)}   fr   f Q ~\)YY\ 712-"i A\
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                                                                                        'ff\q~ b
    ~ '{) t -e mer A~ t::e st \ t'(Y6f- V\ ~ 1c o-t t\. 1 ~ ,;ruv 4
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   B        6rA            Jv-r                        Q,, - '-{"-08- ', Y)fo   A.-\-, ~

  , s f:9\·r Y'9\ o \, l1 1 fr ;s A-.: fJ... K L \c ~-e ~ \-\-o..-'C' ~-\-~
     ,-        T \-\ftt"" J:. b .r,. ~ '5 P.r-"t T\..\Q.. C ~ \\c9-re () \ 5 GV -r ,~
  ([; ,fL f'('\R_ ec we.\l                  G {¼~ :Pp..\S e.., -r-es+,°W'&'y\4
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   -SA:~~ V'9\ 0 I '1 V; A 5 ~ \ b1. ~ L,c ~-e9 ~<"' w \~'f\
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  ~'D, A. ''           u 0 I f',uJ ~ v i :S <Q:1-- u F\I (jJ 1'<>-+a..·-V-, "X'- 1>1
      ¼ +, Y 5 1' 'lJ·Q Pfe e ~ 0q ~ \ n w-~ ~"'€.t O \ \ u ·; ~~
   -NJ-5--\-,cY'o)"~ ~, ~~\ 'D~1Jiv'8--~-r ut>vB- ~~ ~S-
                                       ti


   ,o To u" H \¼ r O" 0 t+, 6)' o... , ~ Q\.~ s w \·-h ~ \--lL- w0 s
    .b ~'o\,1 Sf-l\·\{'1 AV\~ 5\-\JL PrS v~ J:L-Oc· ,"'2.- 'b \ pf\ \:.e)t
   W ,t H ~ (>+, ,. F\h £l A"\' T\\~~ T<~, 0\ \\(\ I\ -Sa.,9--
  11\;l ~u?~~nfl-ro c\1o9- \\\a_ ,'1"-S,&e..- ~ \.\ar ':ft<f(\T'
  I oJ r , v ~'\-e.l T '\-\ '4-~ -r\\-e.. J.,~rP-1() ~ D0 ~\ \ S Av
  I t;f}y\ ,e.V' ·, ..s+~-t..e"S t,,~~1~~t d-'5 ,)-+f)t' ASHT\Sn
       ·D r ,.e,w of w Here /1 JI w-a y-e,, s ✓~f-r, rq       J-l,Q n
        t }+;-$ ff t9dJpQ{\r;&.,. A V) tfL-f.t.€_(_p,5 1-tTc;n)
       TA l K.fl fl. R r:::.csut- &    fQl'Y) e-}() 'o <l re ,L ~ T \-MJL-
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  Lj o, tAviS. w 0 ~ be. I~j b ~~n 0~ -r }~ Q \ \¼v"
   ,r~~ \::} t_c AO~ ~--¼... WA-S rk>I ~ l'j 6 &by
    ty),A-f+ H-0:lJ (-} y,JI NJi uJ f).S ID6 f)'j 4\°! ~ ~
    ~ e c 8V?:e.-: lk di'¢,' .P t- w eri-' TO J D a l
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      ~ &o,~ '    6°t - b        S+Y-'1 C Tf)\f S 8<ont)'t' .
   ~~ b o+ ~, r,.e:, l-t i, Q <?R re & , \-\ 0+ ffi fb9::L k , c0
   (J Y\C O(() R~--t p ~ \Q_, aY'\ ob ottt "Dft:1 $. d'... ~'1 '5 ~ ¼ ~




    ro e. kA<tl (A,,         0-K A         £ -r ~~ :fo )~() 4 -t Wfa •
     • v ~ r- ,,f\ t ~)'\
           •
                                           • ~ \. \ . d ~ (;:t,-'t 3
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  r.
         c   ke Yj If; ,,    I() r £)._ -n.111,~ \t 8'1>!, fl 'c I fl O1:,o;'.;
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    6<_e • A \J , '12. tD vi\ t- j('.. \"--~    1
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   10 J\-w.,\ x- r n t -.er y ·;-0 t> • -r_~          & -& Qp't ~e~
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    1 l:-\At" ~ Dr P. \O\Jc \-\ \~r s :0--¥oAl l~ l

        :L)(S-trfct 0:TIOR-Oe.Vl            C. ~e,\:t~6'°' D \\v d\ ~ \ , ,e..~
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                         ffi O r ~ :t )±A)') CIY' Q,,, :1' { d\12.. ►~
   o')'\ Q T r N\.g,.., M'
   ~Q { w r A" ~ ·D Of\\ ~ 6D e. rn b.o c 1
   ,.'[) ,A ✓'' T ie- \\ IY" L 0 ~ ff\o GH . ~ '40:U c.AY\
   ~ IT'£ mI\IOC e ()ou't .,.. \4Q__ f l - ~ 1't¼-t- ;i l:1e-p&9l\J2
   0 T Tt-\-fl          t'e:vE, ~   1       t-\:o L\S @~ :t\Wl,N~~
  i' l rurA-''               v er- _As \--l Tan             Y' b- :S-tv- ~r
   ,WQr-Q. i-~tQ-< P>n~ W\Q, l,v"-Q.t Q,, W ~tGti., {\°1                      O}iJ 'V i-Q.~

  l<D,AI'. BY'bl w\-l~t- K;Y\9: of fY' Y \~,e W ~'f .Q_
  Ir, k1 AL? W A t-c.1+:"1 r'9 S
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    m ~rQ,, 12"¥- ~ ~ j.VAL roov rc.e.- ~
  l":D,A;" ~,£ Thee mc, v f\Q, w ·i-t* (Y>:Qc~"1
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             1


       -r \\ n m2.- T f ~
   ~    l1v-,&....~ x_ -r ~-rat -;-t w ~ 6 ; 1v - -t Cf'f'Q_, , \ ('{'.a.\
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       vw~re.- kl ov w -e-:ec,V'\ °! ~                       .
       Ol 1u 1A- ,'\ w ·e,, W € r~ O'{\J o, r ·P b \ ~Y\~"'
       0 Y' 2-: L    A::> a t L0-e.-P r ', Y\ ?\ (P ~ y'\- t s _·~
       ~,a;' S o, ~t- , w\-to ... ~ '1 C5l2 ~e-,~ 'iffi2 w~
  1.       of\(}Qr ~ \::)\f?'<\~, iAJ \-\o \                                        W·'e. S
                  '" v f      .......               'f\               V'-il



          \ i v ~ A--~      "D 61\-tr I('<\ 6W e,o ~ -r \.\.trt fY\ ~ ·~l
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       iooc,, \--le ~ 10:u dY) , \~ ·1 Y'~,D-IQ.,?
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       't[)_A ;"'          2_ 0 S)'\+ g \"--SW, ~) \+,Pi- P \oo ""t- 7' ~
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        'B\l u~fl' BD
        , A;'' 4 2¼D~ er Q)cxJT tv \~(1 t-k>... \ ,G\::e 9-- Y'-' \
          0 lfS :hw c Ho £ y au W -+ \-t tt \ :,;:. O' t.i~t:\ .. 'O, g -, +
           }± p~o. a I o ti)' Q, p \ ~ c e.
                p .                                            i'('    f'0 6l'-Q., 1 " ;AlyJ '1~                  61   \~C,O,   2
       /Q(, v iA''                           o~e. ~ \ p c ~
       "'() ~e.f\D Lo tt .A't wA s -r¼.e t!'r~ ~ t,o.e,~ -r ~iAL
         µ ~ p p ~ )'.' (2 &- 7.
           ~ l ,- uTA➔btr - C-A-R 1
           tr8 p lY' t±                 VG      "PQ.f~L>I' ~
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       t"J, A,,' So 8vt.c Yi '1         ()t -P\¾> \\0 \' t)O::\ , A~                  o \;tfi ~
       To \»., \4.tl.t {P b'(Y\ Q YoO"L{t ,. -\- , .5 HQ, To\ 9._ -n~. (; 1-1 J} '9. ~41 S
           Ca O'kp A b o v't: ;-1-. iv H-4t1 S Ju d, -µ 5 t½2- -5 (.) r"-                                                  5 1 - k .




           5 ,4\.0 j+ w ,-+ No r         h~~             ~iEJ.-
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            m         ~   )   J-J-u-r :Do'.:J Av~ rt}, \                                                    •
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                              OoIE                                                              Qpc,   \O
     We ll c2 I', v1~ APB- 6 <2 ,pl')\~ '.BD-t+t m~JL-'2.- u@
   rlvo St-or i~~ Ml T H ,-s Pe r 'iu r ~B- e ~&.c,, p.\ !
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       T·i" ~ ~ ~ e c e:u )12., 'o ~  I'S) f?-:M~ \:¼n9=:o t- 'f) Qr~ {)
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  ,?EM s ""t- cA.F&-or l-l £: WI..- oP>'I\TS dY\ ; " ,. 1--12, :R.•wi-v- ~
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           'L)       -
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   Gemro Ua.- IDPi~e~~ t Ht?a1 °'0--t "B.'F=4/J.) Pl~9.
                e)


   tl~ ~ ~Q_ ft\1 5 ??:'D S--t"' ~ p l5 f ~ O t<--eSl df'ce,   e
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   t-k, ffi AJ.e ~, rn 9\ Q;'t f\ ~ ~ & "'i O :I \-g. %,we To~
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   rLX fl')tn ,, 1:v ,e. \o --L Q n 10\ 9- ~ \I\ I \\-<i C\', '-' \ 5
   t \.\ At \¼ ~ v t' ·H:,..'.) (Pa Df~ .., {\~ -&,.Q O \ 1\f ·u h 0 vQtv(S
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